     Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 1 of 160. PageID #: 24517




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                  MDL No. 2804
OPIATE LITIGATION
                                              Case No. 17-md-2804
This document relates to:
                                              Judge Dan Aaron Polster
Case No. 1:18-op-45749-DAP

THE BLACKFEET TRIBE OF THE
BLACKFEET INDIAN RESERVATION,
                                              PLAINTIFF’S CORRECTED OMNIBUS
                                              OPPOSITION TO DEFENDANTS’
        Plaintiff,
                                              MOTIONS TO DISMISS
v.

AMERISOURCEBERGEN DRUG
CORPORATION, et al.

        Defendants.
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 2 of 160. PageID #: 24518


                                               TABLE OF CONTENTS
                                                                                                                            Page(s)

 INTRODUCTION ................................................................................................................... 1
 ARGUMENT ......................................................................................................................... 4
 I.         THE BLACKFEET TRIBE HAS STANDING AND ITS CLAIMS ARE NOT
            PREEMPTED............................................................................................................. 4
            A.         The Blackfeet Tribe Has Article III Standing to Bring this Lawsuit. ........ 4
                       1.         The Blackfeet Tribe Has Parens Patriae Standing........................ 5
                       2.         The Blackfeet Tribe Also Has Article III Standing to
                                  Pursue Its Own Proprietary Losses. ............................................... 8
            B.         The Tribe Has Standing to Recover Health-Related Costs. ..................... 11
                       1.         The Tribe Seeks to Recover Its Own Healthcare Expenses,
                                  Not the Costs of IHS-Provided Care. ........................................... 11
                       2.         Defendants’ Argument that MCRA Limits the Tribe’s
                                  Recovery is Misplaced and Misunderstands the Law. ................. 13
            C.         The Tribe’s Claims Are Not Preempted by the Federal FDCA or
                       by Any FDA Action. ................................................................................ 15
                       1.         The Tribe’s Claims with Respect to Branded Drugs Are
                                  Not Preempted. ............................................................................ 15
                       2.         The Tribe’s Claims Involving Generic Drugs Are Not
                                  Preempted. ................................................................................... 21
 II.        DEFENDANTS’ GENERAL DEFENSES SHOULD BE REJECTED ................................. 29
            A.         Plaintiff’s Claims Are Not Barred by the Statute of Limitations............. 29
                       1.         The Discovery Rule Applies to Plaintiff’s Claims. ..................... 31
                       2.         The Continuous Violations Doctrine Applies to Plaintiff’s
                                  Claims. ......................................................................................... 34
            B.         The Free Public Services Doctrine Does Not Bar Plaintiff’s
                       Claims. ..................................................................................................... 35
            C.         The Blackfeet Tribe Plausibly Alleges that Defendants
                       Proximately Caused the Tribe’s Injuries.................................................. 36
                       1.         Plaintiff Sufficiently Pleads Proximate Cause under
                                  Montana Law. .............................................................................. 37
                                  a.         Under Montana Law, Proximate Causation Is
                                             Established if Injury Is the Foreseeable Result of
                                             Defendants’ Actions......................................................... 37
                                  b.         The Tribe Alleges in Detail How Its Injuries Were
                                             Foreseeable to Defendants. .............................................. 39



                                                                   i
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 3 of 160. PageID #: 24519


                                           TABLE OF CONTENTS
                                                                                                                          Page(s)

                             c.          In this Case, Intervening Acts and Criminal
                                         Conduct Are Foreseeable and Do Not Break the
                                         Causal Chain. ................................................................... 41
                  2.         Plaintiff Satisfies the Proximate Cause Standard for Its
                             RICO Claims................................................................................ 44
                             a.          Plaintiff’s Injuries Are the Direct Consequence of
                                         Defendants’ Conduct. ...................................................... 45
                             b.          The Actions of Doctors and Criminal Actors Do
                                         Not Interrupt the Causal Chain for Plaintiff’s RICO
                                         Claims. ............................................................................. 51
        D.        Plaintiff Has Sufficiently Pleaded Its Claims under Rules 8 and
                  9(b). .......................................................................................................... 51
                  1.         Rule 9(b) Applies Only to Plaintiff’s Montana Common
                             Law Fraud and Statutory Consumer Protection Claims and
                             Its RICO Claims........................................................................... 53
                  2.         Plaintiff Pleads Its Montana Fraud and RICO Marketing
                             Claims with Sufficient Particularity............................................. 55
                  3.         Plaintiff’s RICO Supply Chain Claim is Pleaded with
                             Sufficient Particularity ................................................................. 60
                             a.          Plaintiff Does Not Improperly “Group Plead.”................ 63
                  4.         Plaintiff Pleads Its Claims against the Generic
                             Manufacturers with Sufficient Particularity................................. 64
                  5.         Plaintiff Adequately Pleads Claims Against the Pharmacy
                             Defendants. .................................................................................. 68
 III.   PLAINTIFF HAS PROPERLY PLEADED ITS STATE LAW AND FEDERAL
        COMMON LAW CLAIMS......................................................................................... 69
        A.        Plaintiff Has Adequately Pleaded Its Federal Common-Law
                  Nuisance Claim. ....................................................................................... 69
                  1.         Plaintiff Has Pleaded All the Required Elements of Federal
                             Nuisance. ...................................................................................... 69
                  2.         Application of Federal Common Law is Appropriate Here......... 71
                  3.         Federal Common Law is Not Displaced by the CSA or
                             DEA Regulations. ........................................................................ 72
        B.        Plaintiff Has Adequately Pleaded Its State Law Statutory Public
                  Nuisance Claims. ..................................................................................... 76
                  1.         Plaintiff Has Alleged an Interference with a Public Right. ......... 78



                                                               ii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 4 of 160. PageID #: 24520


                                          TABLE OF CONTENTS
                                                                                                                      Page(s)

                  2.         Plaintiff’s Public Nuisance Claim is Not a Disguised
                             Product-Liability Claim. .............................................................. 81
                  3.         An Interference to Property Rights is Not Required. ................... 84
        C.        Plaintiff Pleads a Montana Common-Law Public Nuisance Claim. ........ 86
        D.        Plaintiff Has Properly Pleaded Negligence Claims Against All
                  Defendants. .............................................................................................. 90
                  1.         Plaintiff Has Properly Pleaded the Existence of a Duty. ............. 91
                             a.         Defendants Owe a Common Law Duty of
                                        Reasonable Care............................................................... 91
                             b.         Plaintiff Does Not Seek To Enforce Statutory
                                        Duties. .............................................................................. 99
                  2.         Defendants Cannot Win Rule 12(b)(6) Dismissal by
                             Denying the Operative Facts. ..................................................... 105
                  3.         Plaintiff Has Properly Pleaded Negligent
                             Misrepresentation. ...................................................................... 105
        E.        Plaintiff Has Properly Pleaded an Unjust Enrichment Claim. ............... 109
        F.        Plaintiff Has Properly Pleaded a Claim for Civil Conspiracy. .............. 113
 IV.    PLAINTIFF PROPERLY PLEADS ITS RICO CLAIMS ............................................... 116
        A.        RICO Provides the Appropriate Civil Remedy Under the
                  Circumstances of this Case. ................................................................... 117
        B.        Plaintiff’s Injuries Establish RICO Standing. ........................................ 120
        C.        Plaintiff Pleads a Cognizable RICO Claim Pertaining to the Opioid
                  Marketing Enterprise. ............................................................................ 125
        D.        Plaintiff Pleads a Cognizable RICO Claim Pertaining to the Opioid
                  Supply Chain Enterprise. ....................................................................... 125
                  1.         The Distributor Defendants Controlled and Participated in
                             the Opioid Supply Chain Enterprise. ......................................... 125
                  2.         Felony Violation of § 843(a)(4)(A) of the CSA is an
                             Actionable Racketeering Activity Pursuant to RICO
                             § 1961(1)(D). ............................................................................. 128
                  3.         Distributor Defendants’ Role in Setting Opioid Quotas Is a
                             Proper Component of Plaintiff’s RICO Claim........................... 131
 V.     CONCLUSION....................................................................................................... 133




                                                            iii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 5 of 160. PageID #: 24521


                                          TABLE OF AUTHORITIES
                                                                                                                     Page(s)

 Cases

 Adam v. Mt. Pleasant Bank & Trust Co.,
    387 N.W.2d 771 (Iowa 1986) ....................................................................................114

 Akkerman v. Mecta Corp.,
    72 F. App’x 652 (9th Cir. 2003) ..................................................................................30

 Ala. Coushatta Tribe v. Am. Tobacco Co.,
    46 Fed Appx. 225 (5th Cir. 2002) ..........................................................................49, 50

 Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez,
     458 U.S. 592 (1982) ...................................................................................................5, 6

 American Dental Ass’n v. Cigna Corp,
   605 F.3d 1283 (11th Cir. 2010) .................................................................................126

 Am. Elec. Power Co. v. Connecticut,
    564 U.S. 410 (2011) ...............................................................................................69, 75

 American Pipe & Construction Co. v. Utah,
   414 U.S. 538 (1974) .....................................................................................................34

 Anza v. Ideal Steel Supply Corp.,
    547 U.S. 451 (2006) .....................................................................................................47

 Arias v. DynCorp,
    752 F.3d 1011 (D.D.C. 2014) ............................................................................122, 123

 Arnold v. Alphatec Spine, Inc.,
    No. 1:13-cv-714, 2014 WL 2896838 (S.D. Ohio June 26, 2014) ................................62

 Ashley Cty. v. Pfizer,
    552 F.3d 659 (8th Cir. 2009) .......................................................................83, 111, 112

 Association of Washington Public Hosp. Districts v. Philip Morris Inc.,
    241 F.3d 696 (9th Cir. 2001) .......................................................................................49

 Associated Management Services, Inc. v. Ruff,
    424 P.3d 571 (Mont. 2018) ........................................................................................109

 Audit Servs., Inc. v. Nelcon, Inc.,
    No. CV 13-92-BU-DWM, 2014 WL 12600452 (D. Mont. Aug. 7, 2014) ..................54

 Ayres v. Gen. Motors Corp.,
    234 F.3d 514 (11th Cir. 2000) ...........................................................................132, 133


                                                               iv
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 6 of 160. PageID #: 24522


                                          TABLE OF AUTHORITIES
                                                                                                                    Page(s)

 Baltimore Cty. v. Cigna Healthcare,
    238 F. App’x 914 (4th Cir. 2007) ..............................................................................106

 Bank of Am. Corp. v. City of Miami,
    137 S. Ct. 1296 (2017) ......................................................................................... passim

 Barnes v. City of Thompson Falls,
    979 P.2d 1275 (Mont. 1999) ............................................................................86, 87, 88

 Barrett v. Holland & Hart,
    845 P.2d 714 (Mont 1992) .........................................................................................106

 Bassett v. Lamantia,
    417 P.3d 299 (Mont. 2018) ..........................................................................................38

 Bell Atlantic Corp. v. Twombly,
     550 U.S. 544 (2007) ...................................................................................................115

 Belue v. State,
    649 P.2d 752 (Mont. 1982) ..........................................................................................89

 Beverly v. McCullick,
    505 P.2d 624 (Kan. 1973) ..........................................................................................114

 Bible v. United Student Aid Funds, Inc.,
    799 F.3d 633 (7th Cir. 2015) .....................................................................................127

 Bottrell v. Am. Bank,
    773 P.2d 694 (Mont. 1989) ........................................................................................105

 Bridge v. Phoenix Bond & Indem. Co.,
    553 U.S. 639 (2008) .......................................................................................45, 96, 118

 Buckman Co. v. Plaintiffs’ Legal Comm.,
    531 U.S. 341 (2001) .....................................................................................................29

 Busta v. Columbus Hosp. Corp.,
    916 P.2d 122 (Mont. 1996) ..............................................................................37, 41, 93

 Camden Cty. Bd. of Chosen Freeholders v. Beretta, U.S.A. Corp.,
   273 F.3d 536 (3d Cir. 2001).........................................................................................83

 Canyon County v. Syngenta Seeds, Inc.,
    519 F.3d 969 (9th Cir. 2008) ...............................................................................47, 122

 Carl Kelley Const. LLC v. Danco Techs.,
    656 F. Supp. 2d 1323 (D. N.M. 2009) .......................................................................107

                                                               v
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 7 of 160. PageID #: 24523


                                          TABLE OF AUTHORITIES
                                                                                                                     Page(s)

 Carpenter v. United States,
    484 U.S. 19 (1987) .......................................................................................................60

 Cataldo v. US Steel Corp.,
    676 F.3d 542 (6th Cir. 2012) .................................................................................30, 64

 Cent. Reg’l Emps. Ben. Fund v. Cephalon,
    No. Civ.A.09-3418 (MLC), 2010 WL 1257790 (D.N.J. Mar. 29, 2010) ....................59

 Cerveny v. Aventis, Inc.,
    855 F.3d 1091 (10th Cir. 2017) .............................................................................19, 20

 Charles v. Front Royal Volunteer Fire & Rescue Dep’t, Inc.,
    21 F. Supp. 3d 620 (W.D. Va. 2014) ...........................................................................31

 Christian v. Atlantic Richfield Co.,
    358 P.3d 131 (Mont. 2015) ....................................................................................34, 35

 City of Chicago v. Purdue Pharma L.P.,
     2015 WL 2208423 (N.D. Ill. May 8, 2015) ......................................................... passim

 City of Cincinnati v. Beretta U.S.A. Corp.,
     768 N.E.2d 1136 (Ohio 2002) ...................................................................48, 81, 82, 83

 City of Cleveland v. Ameriquest Mortgage Securities,
     615 F.3d 496 (6th Cir. 2010) .......................................................................................47

 City of Everett v. Purdue Pharma L.P.,
     No. C17-209RSM, 2017 WL 4236062 (W.D. Wash. Sept. 25, 2017) ......36, 37, 38, 98

 City of Flagstaff v. Atchison, Topeka & Santa Fe Railway Co.,
     719 F.2d 322 (9th Cir. 1983) .......................................................................................35

 City of Miami v. Bank of America Corp.,
     800 F.3d 1262 (11th Cir 2015) ..................................................................................112

 City of Milwaukee v. Illinois and Michigan,
     451 U.S. 304 (1981) ...............................................................................................70, 74

 City of New York v. Beretta U.S.A. Corp.,
     315 F. Supp. 2d 256 (E.D.N.Y. 2004) .............................................................37, 48, 82

 City of New York v. Smokes-Sprites.com, Inc.,
     541 F.3d 425 (2d Cir. 2008), rev’d on other grounds,.......................................121, 122

 City of Perry v. Procter & Gamble Co.,
     188 F. Supp. 3d 276 (S.D.N.Y. 2016)..........................................................................83

                                                               vi
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 8 of 160. PageID #: 24524


                                          TABLE OF AUTHORITIES
                                                                                                                    Page(s)

 Cleveland v. U.S.,
    531 U.S. 12 (2016) .....................................................................................................123

 CNH Am. LLC v. Int’l Union, United Auto., Aerospace and Agric.
   Implement Workers of Am.,
   645 F.3d 785 (6th Cir. 2011) .....................................................................................106

 Counts v. General Motors, LLC,
    237 F. Supp. 3d 572 (E.D. Mich. 2017).....................................................................116

 Cty. of Cook v. Wells Fargo,
    No. 14 C 9548, 2018 WL 1469003 (N.D. Ill. Mar. 26, 2018) .....................................46

 Cty. of Oakland v. City of Detroit,
    866 F.2d 839 (6th Cir. 1989) .....................................................................................122

 Cty. of Santa Clara v. Atl. Richfield Co.,
    137 Cal. App. 4th 292 (2006) ..........................................................................33, 34, 82

 Cusenbary v. Mortensen,
    987 P.2d 351 (Mont. 1999) ....................................................................................37, 42

 Darty v. Grauman,
    419 P.3d 116 (Mont. 2018) ........................................................................................111

 Delorme v. United States,
    354 F.3d 810 (8th Cir. 2004) .........................................................................................7

 Detroit Bd. Of Educ. v. Celotex Corp.,
    493 N.W.2d 513 (Mich. Ct. App. 1992) ......................................................................83

 District of Columbia v. Beretta, U.S.A., Corp.,
    872 A.2d 633 (D.C. 2005) ...........................................................................................93

 Doe v. Miami Univ.,
    882 F.3d 579 (6th Cir. 2018) .................................................................................19, 64

 Dorsett v. Sandoz, Inc.,
    699 F. Supp. 2d 1142 (C.D. Cal. 2010) .......................................................................20

 Doyle v. Clark,
    254 P.3d 570 (Mont. 2011), superseded on other grounds ...............................101, 102

 Drager v. PLIVA USA, Inc.,
    741 F.3d 470 (4th Cir. 2014) .......................................................................................18



                                                              vii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 9 of 160. PageID #: 24525


                                           TABLE OF AUTHORITIES
                                                                                                                      Page(s)

 Eklund v. Trost,
    151 P.3d 870 (Mont. 2006) ..................................................................................94, 100

 Essex Ins. Co. v. Moose’s Saloon, Inc.,
    166 P.3d 451 (Mont. 2007) ........................................................................................102

 Estate of Strever,
    924 P.2d 666 (Mont. 1996) ..........................................................................................94

 Faust v. Utility Solutions, LLC,
    173 P.3d 1183 (Mont. 2007) ......................................................................................101

 Ferron v. Metareward, Inc.,
    698 F. Supp. 2d 992 (S.D. Ohio 2010) ........................................................................52

 Fischer v. Ocwen Loan Servicing, LLC,
    No. CV-14-94-BLG-SPW-CSO, 2014 WL 6685987 (D. Mont. Nov.
    25, 2014) report and recommendation adopted, No. CV 14-94-BLG-
    SPW-CSO, 2014 WL 11498231 (D. Mont. Dec. 11, 2014) ................................54, 106

 Fisher v. Swift Transp. Co., Inc.,
    181 P.3d 601 (Mont. 2008) .................................................................................. passim

 Four R Cattle Co. v. Mullins,
    570 N.W.2d 813 (Neb. 1997).....................................................................................114

 Fulgenzi v. PLIVA, Inc.,
    867 F. Supp. 2d 966 (N.D. Ohio 2012), rev’d, 711 F.3d 578 (6th Cir.
    2013) ..........................................................................................................23, 24, 26, 27

 Gen. Elec. Capital Corp. v. Posey,
    415 F.3d 391 (5th Cir. 2005) .....................................................................................106

 Georgia v. Tenn. Copper Co.,
    206 U.S. 230 (1907) .....................................................................................................76

 Gibby v. Noranda Minerals Corp.,
    905 P.2d 126 (Mont. 1995) ........................................................................................101

 Gladstone Realtors v. Vill. of Bellwood,
    441 U.S. 91 (1979) .......................................................................................................10

 Gourneau ex rel. Gourneau v. Hamill,
    311 P.3d 760 (Mont. 2013) ..........................................................................................92

 Gov’t of the United States V.I. v. Takata Corp.,
    67 V.I. 316 (Super. Ct. 2017).......................................................................................82

                                                               viii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 10 of 160. PageID #: 24526


                                           TABLE OF AUTHORITIES
                                                                                                                    Page(s)

  Grable & Sons Metal Prod., Inc. v. Darue Eng’g & Mfg.,
     545 U.S. 308 (2005) ...................................................................................................104

  Graveley Ranch v. Scherping,
     782 P.2d 371 (Mont. 1989) ..............................................................................30, 35, 85

  Gucwa v. Lawley,
     731 F. App’x 408 (6th Cir 2018) ...............................................................................124

  Haker v. Sw. Ry. Co.,
     578 P.2d 724 (Mont. 1978) ..........................................................................................89

  Hale v. Enerco Grp., Inc.,
     No. 1:10 CV 00867-DAP, 2011 WL 49545 (N.D. Ohio Jan. 5, 2011) ........................52

  Harmon v. Billings Bench Water Users Ass’n,
     765 F.2d 1464 (9th Cir. 1985) .....................................................................................54

  Haroco, Inc. v. Am. Nat’l Bank & Trust Co. of Chi.,
     747 F.2d 384 (7th Circ. 1984) ....................................................................................118

  Harrington v. Crystal Bar, Inc.,
     306 P.3d 342 (Mont. 2013) ........................................................................................105

  Hatch v. Dept. of Highways,
     887 P.2d 729 (Mont. 1994) ........................................................................................105

  Havasupai Tribe of Havasupai Reservation v. Arizona Bd. of Regents,
     204 P.3d 1063 (Ariz. Ct. App. 2008) ...........................................................................13

  Hawaii Health & Welfare Tr. Fund for Operating Engineers v. Philip Morris,
    52 F. Supp. 2d 1196 (D. Haw. 1999) .........................................................................124

  Hayes v. AMCO Ins. Co.,
     No. CV 11-137-M-DWM, 2012 WL 5354553 (D. Mont. Oct. 29, 2012) .................106

  Heinrich v. Waiting Angels Adoption Servs., Inc.,
     668 F.3d 393 (6th Cir. 2012) .......................................................................................62

  Hemi Group, LLC v. City of N.Y.,
    559 U.S. 1 (2010) ...............................................................................................121, 122

  Hinkle v. Shepherd Sch. Dist. No. 37,
     93 P.3d 1239 (Mont. 2004) ..........................................................................................38

  Holmes v. Securities Investor Protection Corp.,
     503 U.S. 258 (1992) ............................................................................................. passim

                                                               ix
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 11 of 160. PageID #: 24527


                                              TABLE OF AUTHORITIES
                                                                                                                              Page(s)

  Hoover v. Langston Equip Assocs., Inc.,
     958 F.2d 742 (6th Cir. 1992) .......................................................................................64

  Hot-Shot Motorworks v. Falicon Crankshaft Components,
     No. 3:13 CV 1322, 2014 WL 346435 (N.D. Ohio Jan. 30, 2014) ...............................62

  Hunt v. McNeil Consumer Healthcare,
     6 F. Supp. 3d 694 (E.D. La. 2014) ...............................................................................20

  Ill. Dep’t of Revenue v. Phillips,
       771 F.2d 312 (7th Cir. 1986) .............................................................................121, 122

  Illinois v. City of Milwaukee,
       406 U.S. 91 (1972) ...........................................................................................71, 73, 74

  Illinois v. City of Milwaukee,
       599 F.2d 151 (7th Cir. 1979), rev’d on other grounds ..........................................70, 74

  In re Actimmune Mktg. Litig.,
      No. C 08–02376 MHP, 2009 WL 3740648 (N.D. Cal. Nov. 6, 2009) ........................59

  In re Bextra & Celebrex Mktg. Sales Practice and Prod. Liability Litig.,
      MDL No. 1699, 11-CV-00310, 2012 WL 3154957 (N.D. Cal. Aug. 2,
      2012) ............................................................................................................................59

  In re Chrysler-Dodge-Jeep Ecodiesel Marketing, Sales Practices, and
      Products Liability Litigation,
      295 F. Supp. 3d 927 (N.D. Cal. 2018) .......................................................................116

  In re Daou Sys., Inc.,
      411 F.3d 1006 (9th Cir. 2005) .....................................................................................53

  In re Darvocet, Darvon, and Propoxyphene Products Liability Litigation,
      756 F.3d 917 (6th Cir. 2014) .......................................................................................28

  In re Duramax Diesel Litig.,
      298 F. Supp. 3d 1037 (E.D. Mich. 2018).....................................................................61

  In re Fair Fin. Co.,
      834 F.3d 651 (6th Cir. 2016), reh’g denied (Sept. 23, 2016) ......................................64

  In re Fosamax (Alendronate Sodium) Prods. Liab. Litig.,
      852 F.3d 268 (3d Cir. 2017), cert. granted sub nom. ............................................18, 19

  In re Ingram Barge Co.,
      2016 WL 1450027, 2016 U.S. Dist. LEXIS 49319 (N.D. Ill. Apr. 13, 2016) .............75


                                                                     x
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 12 of 160. PageID #: 24528


                                           TABLE OF AUTHORITIES
                                                                                                                    Page(s)

  In re Neurontin Mktg. & Sales Pracs. Litig.,
      712 F.3d 21 (1st Cir. 2013) .................................................................................. passim

  In re Opioid Litigation,
      No. 400000/2017, 2018 WL 3115102 (N.Y. Sup. Ct. June 18, 2018) ................ passim

  In re Sclater,
      40 B.R. 594 (Bankr. E.D. Mich. 1984) ..........................................................................8

  In re Testosterone Replacement Therapy Prod. Liab. Litig. Coordinated
      Pretrial Proceedings,
      159 F. Supp. 3d 898 (N.D. Ill. 2016) .........................................................................107

  In re Testosterone Replacement Therapy Prod. Liab. Litig. Coordinated
      Pretrial Proceedings,
      No. 14 C 1748, 2017 WL 1836435 (N.D. Ill. May 8, 2017) .......................................20

  In re Vertrue Mktg. & Sales Practices Litig.,
      712 F. Supp. 2d 703 (N.D. Ohio 2010), aff’d, 719 F.3d 474 (6th Cir. 2013) ..............39

  In re Wells Fargo Mortg.-Backed Certificates Litig.,
      No. 09-cv-013756-LHK, 2010 WL 4117477 (N.D. Cal. Oct. 19, 2010) .....................34

  In re Whirlpool Corp.,
      684 F. Supp. 2d 942 (N.D. Ohio 2009) ..................................................................61, 62

  Int’l Bhd. of Teamsters, Local 734 Health & Welfare Tr. Fund v. Philip Morris Inc.,
      196 F.3d 818 (7th Cir. 1999) .......................................................................................49

  Inyo Cty., Cal. v Paiute Sho-Shone Indians of the Bishop Cmty. of the Bishop Colony,
     538 U.S. 701 (2003) ...................................................................................................121

  Jackson v. Sedgwick Claims Mgmt. Servs., Inc.,
     731 F.3d 556 (6th Cir. 2013) .....................................................................116, 117, 124

  Jackson v. State,
     956 P.2d 35 (Mont. 1998) ..........................................................................................101

  James v. Arms Tech., Inc.,
     820 A.2d 27 (N.J. 2003)...............................................................................................81

  Janis v. Nelson,
     No. CR. 09-5019-KES, 2009 WL 4505935 (D.S.D. Nov. 24, 2009) ..........................31

  Johnson v. Columbia Falls Aluminum Co., LLC,
     No. DA 08-0358, 2009 WL 865308 (Mont. March 31, 2009)...................................102


                                                               xi
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 13 of 160. PageID #: 24529


                                            TABLE OF AUTHORITIES
                                                                                                                       Page(s)

  Kasala v. Kalispell Pee Wee Baseball League,
     439 P.2d 65 (Mont. 1968) ............................................................................................86

  Kiger v. State,
     802 P.2d 1248 (Mont. 1990) ........................................................................................44

  Knight v. City of Missoula,
     827 P.2d 1270 (Mont. 1992) ........................................................................................30

  Koontz v. Bank of Am., N.A.,
     No. CV 15-108-M-DLC, 2016 WL 595290 (D. Mont. Feb. 12, 2016) .....................106

  Laborers Local 17 Health & Benefit Fund v. Philip Morris, Inc.,
     191 F.3d 229 (2d Cir. 1999).........................................................................................49

  Lang v. Ocwen Fin. Servs., Inc.,
     No. CV 10-151-BLG-RFC, 2011 WL 1303749 (D. Mont. Mar. 8,
     2011), report and recommendation adopted, No. CV-1O-151-BLG-
     RFC, 2011 WL 1258346 (D. Mont. Apr. 1, 2011) ......................................................53

  Lexmark Int’l, Inc. v. Static Control Components, Inc.,
     572 U.S. 118 (2014) .................................................................................................5, 11

  Lone Star Ladies Inv. Club v. Schlotzsky’s Inc.,
     238 F.3d 363 (5th Cir. 2001) .......................................................................................54

  Lopez v. Great Falls Pre-Release Services, Inc.,
     986 P.2d 1081 (Mont. 1999), .................................................................................92, 94

  Louisiana v. Borden, Inc.,
     Civ. A. No. 94-3640, 1995 WL 59548 (E.D. La. Feb. 10, 1995) ..................................8

  Louisiana v. Texas,
     176 U.S. 1 (1900) ...........................................................................................................5

  Lujan v. Defs. of Wildlife,
     504 U.S. 555 (1992) .......................................................................................................5

  Mason v. SmithKline Beecham Corp.,
    596 F.3d 387 (7th Cir. 2010) ...........................................................................18, 19, 20

  Masters Pharm., Inc. v. Drug Enf’t Admin.,
    861 F.3d 206 (D.C. Cir. 2017) ...........................................................................129, 130

  McCarthy v. Olin Corp.,
    119 F.3d 148 (2d Cir. 1997).........................................................................................93


                                                                xii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 14 of 160. PageID #: 24530


                                           TABLE OF AUTHORITIES
                                                                                                                     Page(s)

  McCormick v. Brevig,
    980 P.2d 603 (Mont. 1999) ..........................................................................................31

  McDaniel v. Upsher-Smith Laboratories, Inc.,
    893 F.3d 941, reh’g en banc denied (6th Cir. 2018)..............................................28, 29

  McNair v. Berger,
    15 P.2d 834 (Mont. 1932) ............................................................................................38

  McNally v. Gray,
    483 U.S. 350 (1987) .....................................................................................................60

  Merck Sharp & Dohme Corp v. Albrecht,
     138 S. Ct. 2705 (2018) ...........................................................................................18, 19

  Michaels Bldg. Co. v. Ameritrust Co.,
     848 F.2d 674 (6th Cir. 1988) .......................................................................................52

  Michigan v. U.S. Army Corps of Engineers,
     667 F.3d 765 (7th Cir. 2011) .....................................................................69, 70, 73, 74

  Michigan v. U.S. Army Corps of Engineers,
     758 F.3d 892 (7th Cir. 2014) .......................................................................................70

  Minnesota v. Ri-Mel, Inc.,
     417 N.W.2d 102 (Minn. Ct. App. 1987) ........................................................................8

  Moe v. Confederated Salish & Kootenai Tribes of Flathead Reservation,
    425 U.S. 463 (1976) .......................................................................................................7

  Montana Petroleum Release Compensation Board v. Capitol Indem. Co.,
    137 P.3d 522 (Mont. 2006) ........................................................................................110

  Mugler v. Kansas,
    123 U.S. 623 (1887) .....................................................................................................89

  Mutual Pharmaceutical Co. v. Bartlett,
     570 U.S. 472 (2013) .....................................................................................................22

  N.A.A.C.P. v. AcuSport, Inc.,
     271 F. Supp. 2d 435 (E.D.N.Y. 2003) .........................................................................37

  Native Village of Kivalina v. ExxonMobil Corp.,
     696 F.3d 849 (9th Cir. 2012) .......................................................................................72

  Nehring v. LaCounte,
     712 P.2d 1329 (Mont. 1986) ..............................................................................100, 105

                                                              xiii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 15 of 160. PageID #: 24531


                                            TABLE OF AUTHORITIES
                                                                                                                      Page(s)

  Newman v. Lichfield,
     272 P.3d 625 (Mont. 2012) ............................................................................90, 93, 105

  New York v. Actavis, PLC,
     No. 14 CIV. 7473, 2014 WL 7015198 (S.D.N.Y. Dec. 11, 2014), aff’d
     sub nom. New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d
     638 (2d Cir. 2015) ........................................................................................................65

  New York by Vacco v. Mid Hudson Med. Grp., P.C.,
     877 F. Supp. 143 (S.D.N.Y. 1995).................................................................................8

  Northern Cheyenne Tribe v. Roman Catholic Church ex rel. Dioceses of
     Great Falls/Billings,
     296 P.3d 450 (Mont. 2013) ........................................................................................110

  Oberson v. U.S. Dep’t of Agric., Forest Serv.,
     514 F.3d 989 (9th Cir. 2008) .....................................................................37, 38, 40, 41

  Oklahoma Tax Commission v. Citizen Band Potawatomi Indian Tribe of Oklahoma,
     498 U.S. 505 (1991) .....................................................................................................71

  Oregon Laborers-Employers Health & Welfare Tr. Fund v. Philip Morris Inc.,
     185 F.3d 957 (9th Cir. 1999) .........................................................................41, 49, 111

  Paatalo v. First Am. Title Co. of Mont., Inc.,
     No. CV-13-128-BLG-SEH-CSO, 2014 WL 2002839 (D. Mont. May 14, 2014) .......56

  Paatalo v. J.P. Morgan Chase Bank, N.A.,
     No. CV-10-119-BLG-CSO, 2011 WL 13130862 (D. Mont. May 18, 2011) ..............62

  Palsgraf v. Long Island Rd. Co.,
     162 N.E. 99 (N.Y. 1928) ..............................................................................................92

  Parsons v. U.S. Dep’t of Justice,
     801 F.3d 701 (6th Cir. 2015) .........................................................................................5

  Penelas v. Arms Tech., Inc.,
     No. 99-1941 CA-06, 1999 WL 1204353 (Fla. Cir. Ct. Dec. 13, 1999),
     aff’d, 778 So.2d 1042 (Fla. Dist. Ct. App. 2001).......................................................112

  People v. Conagra Grocery Prods. Co.,
     17 Cal. App. 5th 51 (2017) ..........................................................................................81

  People of State of Ill. ex rel. Scott v. City of Milwaukee, Wisc.
     366 F. Supp. 298, 301 (N.D. Ill. 1973) ........................................................................73



                                                               xiv
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 16 of 160. PageID #: 24532


                                            TABLE OF AUTHORITIES
                                                                                                                        Page(s)

  Pequot Pharm. Network v. Connecticut Hospice, Inc.,
     No. CV-GC-2015-104, 2015 WL 9601099 (Mash. Pequot Tribal Ct.
     Dec. 10, 2015) ..............................................................................................................29

  Perry v. American Tobacco Company,
     324 F.3d 845 (6th Cir. 2003) ...................................................................41, 48, 49, 111

  Peterson v. Eichhorn,
     189 P.3d 615 (Mont. 2008) ........................................................................................105

  Peterson-Tuell v. First Student Transp., LLC,
     339 P.3d 16 (Mont. 2014) ..........................................................................................101

  Pik-Coal Co. v. Big Rivers Elec. Corp.,
      200 F.3d 884 (6th Cir. 2000) .......................................................................................48

  PLIVA, Inc. v. Mensing,
     564 U.S. 604 (2011) ............................................................................................. passim

  Pom Wonderful LLC v. Coca-Cola Co.,
     134 S. Ct. 2228 (2014) .................................................................................................29

  Poole v. Poole,
     1 P.3d 936 (Mont. 2000) ..............................................................................................95

  Prater v. Livingston Ave. Child Care, LLC,
     No. 2:14-CV-490, 2015 WL 1439322 (S.D. Ohio Mar. 27, 2015)..............................62

  Prindel v. Ravalli Cty.,
     133 P.3d 165 (Mont. 2006) .................................................................................. passim

  Quapaw Tribe of Oklahoma v. Blue Tee Corp.,
     653 F. Supp. 2d 1166 (N.D. Okla. 2009) .................................................................7, 13

  Ray v. Spirit Airlines, Inc.,
     836 F.3d 1340 (11th Cir. 2016) .................................................................................126

  Reaves v. Cable One, Inc.,
     No. 1:11-cv-03859-MHH, 2015 WL 12747944 (N.D. Ala. Mar. 16, 2015) ...............34

  Rheinfrank v. Abbott Labs., Inc.,
     680 F. App’x 369 (6th Cir. 2017) ................................................................................20

  Ringo v. Lombardi,
     No., No. 09-4095-CV-C-NKL, 2010 WL 3310240 (W.D. Mo. Aug. 19, 2010) .........76



                                                                 xv
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 17 of 160. PageID #: 24533


                                             TABLE OF AUTHORITIES
                                                                                                                         Page(s)

  Robins v. Global Fitness Holdings, LLC,
     838 F. Supp. 2d 631 (N.D. Ohio 2012) ..............................................................125, 126

  Rookhuizen v. Blain’s Mobile Home Court, Inc.,
     767 P.2d 1331 (Mont. 1989) ......................................................................................104

  Rosebud Sioux Tribe v. United States,
     No. 3:16-cv-03038-RAL, 2017 WL 1214418 (D.S.D. Mar. 31, 2017) .........................6

  Samson v. State,
     69 P.3d 1154 (Mont. 2003) ....................................................................................92, 94

  Schumacker v. Meridian Oil Co.,
     956 P.2d 1370 (Mont. 1998) ..............................................................................113, 114

  Sedima, S.P.R.L. v. Imrex Co.,
     473 U.S. 479 (1985) ...........................................................................................117, 118

  Serv. Emps. Int’l Union Health & Welfare Fund v. Philip Morris Inc.,
     249 F.3d 1068 (D.C. Cir. 2001) ...................................................................................49

  Shadday v. Omni Hotels Mgmt. Corp.,
     477 F.3d 511 (7th Cir. 2007) .......................................................................................93

  Shell Offshore, Inc. v. Greenpeace, Inc.,
     No. 3:15-cv-00054, 2015 U.S. Dist. LEXIS 76306 (D. Alaska June 12, 2015) ..........72

  Shors v. Branch,
     720 P.2d 239 (Mont. 1986) ..........................................................................................35

  Shows v. Silver Shield Mining and Milling Company,
     375 P.2d 522 (Colo. 1962) .........................................................................................114

  Sidney Hillman Health Center of Rochester v. Abbott Laboratories,
     873 F.3d 574 (7th Cir. 2017) .................................................................................48, 59

  Starkenburg v. State,
      934 P.2d 1018 (Mont. 1997) ........................................................................................94

  State v. Lead Indus. Ass’n. Inc.,
      951 A.2d 428 (R.I. 2008) .............................................................................................83

  State v. Philip Morris,
      1998 Mont. Dist. LEXIS 732 (1st Jud. Dist. Mont., Lewis and Clark
      Cty. 1998) ..............................................................................................................85, 89



                                                                 xvi
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 18 of 160. PageID #: 24534


                                              TABLE OF AUTHORITIES
                                                                                                                            Page(s)

  State ex rel. Condon v. City of Columbia,
      528 S.E.2d 408 (S.C. 2000) .........................................................................................30

  State ex rel. Dept. of Environmental Quality v. BNSF Ry. Co.,
      246 P.3d 1037 (Mont. 2010) ........................................................................................85

  State ex rel. Fields v. Dist. Ct. of First Judicial Dist.,
      541 P.2d 66 (Mont. 1975) ............................................................................................86

  State ex rel. Miller v. Philip Morris Inc.,
      577 N.W.2d 401 (Iowa 1998) ......................................................................................49

  State of West Virginia, ex rel. Morrisey v. AmerisourceBergen Drug Corp.,
      C.A. No. 12-C-141, 2014 WL 12814021 (Boone Cty. Cir. Ct., W. Va. Dec. 12,
      2014). .....................................................................................................................80, 97

  Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, Inc.,
      171 F.3d 912 (3d Cir. 1999).........................................................................................49

  Strayhorn v. Wyeth Pharmaceuticals, Inc.,
      737 F.3d 378 (6th Cir. 2013) ...........................................................................18, 21, 28

  Sturgeon v. Carter,
      15 F.R.D. 350 (D. Mont. 1954)....................................................................................54

  Sullivan v. Cherewick,
      391 P.3d 62 (Mont. 2017) ..........................................................................................113

  Sunburst Sch. Dist. No. 2 v. Texaco, Inc.,
     165 P.3d 1079 (Mont. 2007) ......................................................................................105

  Table Bluff Reservation (Wiyot Tribe) v. Philip Morris, Inc.,
     256 F.3d 879 (9th Cir. 2001) .........................................................................................6

  Tally Bissell Neighbors, Inc. v. Eyrie Shotgun Ranch, LLC,
      228 P.3d 1134 (Mont. 2010) ........................................................................................88

  Teva v. Superior Court,
     217 Cal. App. 4th 96 (2013), cert. denied, 135 S. Ct. 1152 (2015) .................26, 27, 28

  Tex. Industries, Inc. v. Radcliff Materials, Inc.,
     451 U.S. 630 (1981) .....................................................................................................71

  Thayer v. Hicks,
     793 P.2d 784 (Mont. 1990) ..............................................................................37, 38, 93



                                                                  xvii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 19 of 160. PageID #: 24535


                                           TABLE OF AUTHORITIES
                                                                                                                      Page(s)

  Thieltges v. Royal Alliance Assocs., Inc.,
     334 P.3d 382 (Mont. 2014) ..........................................................................................34

  Town of W. Hartford v. Operation Rescue,
     915 F.2d 92 (2d Cir. 1990).................................................................................121, 122

  Travelers Indem. Co. v. Cephalon, Inc.,
     32 F. Supp. 3d 538 (E.D. Pa. 2014), aff’d, 620 F. App’x (3d Cir. 2015) ..............53, 59

  Travelers Indemnity Co. v. Cephalon, Inc.,
     620 F. App’x 82 (3d Cir. 2015) ...................................................................................59

  Travelers Prop. Cas. Co. of Am. v. Actavis, Inc.,
     16 Cal. App. 5th 2016 (Cal. Ct. App. 2017) ..............................................37, 38, 48, 50

  Traxler v. PPG Indus., Inc.,
     158 F. Supp. 3d 607 (N.D. Ohio 2016) (Polster, J.) ....................................................52

  Tricontinental Indus., Ltd. v. PricewaterhouseCoopers, LLP,
      475 F.3d 824 (7th Cir. 2007) .............................................................................106, 107

  United States v. Caronia,
     703 F.3d 149 (2d Cir. 2012).........................................................................................58

  United States v. Ira S. Bushey & Sons, Inc.,
     363 F. Supp. 110 (D. Vt.), aff’d, 487 F.2d 1393 (2d Cir. 1973) ............................69, 70

  United States v. Jamieson,
     427 F.3d 394 (6th Cir. 2005) .......................................................................................63

  U.S. v. Moore,
     423 U.S. 122 (1975) .............................................................................................50, 124

  United States v. N. Trust Co.,
     372 F.3d 886 (7th Cir. 2004) .......................................................................................30

  U.S. v. Philip Morris USA, Inc.,
     449 F. Supp. 2d 1 (D.D.C. 2006), [aff’d in pertinent part, vacated on
     other grounds in part, 566 F.3d 1095 (D.C. Cir. 2009)] .............................49, 118, 119

  United States v. Students Challenging Regulatory Agency Procedures (SCRAP),
     412 U.S. 669 (1973) .......................................................................................................5

  United States v. Turkette,
     452 U.S. 576 (1981) and Pub. L. 91-452 ...................................................................117



                                                              xviii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 20 of 160. PageID #: 24536


                                           TABLE OF AUTHORITIES
                                                                                                                    Page(s)

  United States v. Van Dyke,
     605 F.2d 220 (6th Cir. 1979) .......................................................................................63

  United States v. Walgreen Co.,
     846 F.3d 879 (6th Cir. 2017) .......................................................................................61

  United States ex rel. Bledsoe v. Cmty. Health Sys., Inc.,
     501 F.3d 493 (6th Cir. 2007) .......................................................................................52

  United States ex rel. Chorches for Bankr. Estate of Fabula v. Am. Med.
     Response, Inc.,
     865 F.3d 71 (2d Cir. 2017)...........................................................................................56

  United States ex rel. Franklin v. Parke-Davis,
     147 F. Supp. 2d 39 (D. Mass. 2001) ............................................................................56

  United States ex rel. Pogue v. Am. Healthcorp., Inc.,
     977 F. Supp. 1329 (M.D. Tenn. 1997) .........................................................................56

  U.S. ex rel. Prather v. Brookdale Senior Living Communities, Inc.,
     892 F.3d 822 (6th Cir. 2018) .......................................................................................57

  United States ex rel. SNAPP, Inc. v. Ford Motor Co.,
     532 F.3d 496 (6th Cir. 2008) .......................................................................................52

  Strom ex rel. United States v. Scios, Inc.,
      676 F. Supp. 2d 884 (N.D. Cal. 2009) .........................................................................56

  United States ex rel. Thompson v. Columbia/HCA Healthcare Corp.,
     20 F. Supp. 2d 1017 (S.D. Tex. 1998) .........................................................................56

  U.S. Fidelity and Guar. Co. v. Camp,
     831 P.2d 586 (Mont. 1992) ..........................................................................................42

  Vermont Agency of Nat. Res. v. U.S. ex. rel. Stevens,
     529 U.S. 765 (2000) ...................................................................................................121

  Vess v. Ciba-Geigy Corp. USA,
     317 F.3d 1097 (9th Cir. 2003) ...............................................................................53, 54

  Volk v. Goeser,
     367 P.3d 378 (Mont. 2016) ........................................................................................109

  W. Sec. Bank v. Eide Bailly LLP,
     249 P.3d 35 (Mont. 2010) ..........................................................................................106



                                                              xix
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 21 of 160. PageID #: 24537


                                             TABLE OF AUTHORITIES
                                                                                                                          Page(s)

  Wallace v. Midwest Fin. & Mortg. Servs., Inc.,
     714 F.3d 414 (6th Cir. 2013) .................................................................................40, 45

  Washington v. Purdue Pharma L.P. et al.,
    Order, No. 17-2-25505-O ............................................................................................98

  Wellborn v. Bank of N.Y. Mellon Corp.,
     557 F. App’x 383 (5th Cir. 2014) ......................................................................120, 122

  Williams v. Duke Energy Int’l, Inc.,
     681 F.3d 788 (6th Cir. 2012) .......................................................................................52

  Wombold v. Assoc. Fin. Serv. Co.,
    104 P.3d 1080 (Mont. 2004), overruled on other grounds ........................................102

  Wyeth v. Levine,
     555 U.S. 555 (2009) .........................................................................................16, 18, 19

  Yuhaz v. Brush Wellman, Inc.,
     341 F.3d 559 (6th Cir. 2003) .......................................................................................57

  Statutes

  18 U.S.C. § 1341 ................................................................................................................60

  18 U.S.C. § 1343 ................................................................................................................60

  18 U.S.C. § 1961(1)(D)............................................................................................128, 130

  18 U.S.C. § 1961(3) .........................................................................................................120

  21 U.S.C. § 801 ................................................................................................................103

  21 U.S.C. § 823(a) ...........................................................................................................129

  21 U.S.C. § 842(a)(5).......................................................................................................128

  21 U.S.C. § 843 ................................................................................................................131

  21 U.S.C. § 843(a)(4)(A) .................................................................................128, 130, 131

  21 U.S.C. § 903 ..................................................................................................................73

  25 U.S.C. §§ 1601 et seq....................................................................................................13

  25 U.S.C. § 1621e ..............................................................................................................13

  25 U.S.C. § 1621e(a)) ........................................................................................................14

                                                                  xx
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 22 of 160. PageID #: 24538


                                           TABLE OF AUTHORITIES
                                                                                                                     Page(s)

  25 U.S.C. § 1621e(e)(3)(A) ...............................................................................................14

  25 U.S.C. § 1621e(k) ...................................................................................................13, 14

  25 U.S.C. §§ 5301 et seq....................................................................................................11

  42 U.S.C. §§ 2651 et seq........................................................................................13, 14, 15

  49 U.S.C. § 30118 et seq..................................................................................................132

  MONT. CODE ANN. § 7-32-2205.......................................................................................101

  MONT. CODE ANN. § 7-32-2208.......................................................................................101

  MONT. CODE ANN. § 27-20-102(3) ....................................................................................31

  MONT. CODE ANN. § 27-30-101.........................................................................................84

  MONT. CODE ANN. § 27-30-101(1) ..............................................................................76, 78

  MONT. CODE ANN. § 27-30-102(1) ....................................................................................77

  MONT. CODE ANN. § 30-14-133...........................................................................................8

  MONT. CODE ANN. § 45-8-111 ...........................................................................................77

  MONT. CODE ANN. § 50-46-205(2)(b) .............................................................................102

  MONT. CODE ANN. § 50-71-201.......................................................................................101

  MONT. CODE ANN. § 61-8-107.........................................................................................100

  MONT. CODE ANN. § 61-8-302.........................................................................................101

  MONT. CODE ANN. § 61-8-302(2) ....................................................................................101

  MONT. CODE ANN. § 61-8-302.........................................................................................100

  MONT. CODE ANN. § 61-8-303.........................................................................................100

  MONT. CODE ANN. § 61-8-346.........................................................................................100

  MONT. CODE ANN. § 61-8-711.........................................................................................101

  MONT. CODE ANN. § 61-8-716.........................................................................................101

  Pub. L. 91-452, § 904(a), 84 Stat. 947 .............................................................................117


                                                              xxi
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 23 of 160. PageID #: 24539


                                             TABLE OF AUTHORITIES
                                                                                                                          Page(s)

  Pub. L. No. 94-437, § 2(d), 90 Stat. 1400 ..........................................................................14

  Pub. L. No. 102-573, § 209, 105 Stat. 4526 ......................................................................14

  Pub. L. No. 111-148, § 10221(a), 124 Stat. 119, 935 (2010) ............................................14

  Regulations

  21 C.F.R. § 1301.74 .........................................................................................................129

  Exec. Order No. 13175 § 3(a) (Nov. 6, 2000) .....................................................................6

  72 Fed. Reg. 36,487 .........................................................................................................129

  72 Fed. Reg. 36,500 .........................................................................................................130

  72 Fed. Reg. 36,501 .................................................................................................129, 130

  Mont. Admin. R. 24.174.1201(6) ....................................................................................103

  Rules

  Fed. R. Civ. P. 8 ......................................................................................................... passim

  Fed. R. Civ. P. 8(a) ....................................................................................................54, 106

  Fed. R. Civ. P. 8(a)(2) ....................................................................................53, 54, 67, 106

  Fed. R. Civ. P. 8(c) ............................................................................................................30

  Fed. R. Civ. P. 8(c)(1) ........................................................................................................30

  Fed. R. Civ. P. 9(b) .................................................................................................... passim

  Fed. R. Civ. P. 12(b)(6).............................................................................................. passim

  M.R.C.P. 9(b) ...................................................................................................................106

  Other Authorities

  H.R. Rep. 91-1444 (1970), as reprinted in 1970 U.S.C.C.A.N. 4566 .................43, 44, 123

  Moore’s Federal Practice § 9.03 [1] [d] (3d ed. 2005) ....................................................106

  Nell Jessup Newton et al., eds., COHEN’S HANDBOOK OF FEDERAL INDIAN
     LAW (2005) ....................................................................................................................6

  Restatement (Second) of Torts § 286 (1965) ...................................................................104

                                                                 xxii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 24 of 160. PageID #: 24540


                                        TABLE OF AUTHORITIES
                                                                                                             Page(s)

  Restatement (Second) of Torts § 286 cmt. d............................................................100, 105

  Restatement (Second) of Torts § 288B ............................................................................104

  Restatement (Second) of Torts § 302B ..............................................................................98

  Restatement (Second) of Torts § 435A ..............................................................................96

  Restatement (Second) of Torts § 447.................................................................................51

  Restatement (Second) of Torts § 548A ..............................................................................96

  Restatement (Second) of Torts § 821B (1) ........................................................................70

  Restatement (Second) of Torts §821B (2)(a) ...............................................................76, 79

  Restatement (Second) of Torts §821B (2)(a) at cmt. b ......................................................79

  Restatement (Second) of Torts § 870.................................................................................96

  Restatement (Second) of Torts § 929 cmt. b....................................................................105

  Restatement (Third) of Torts: Phys. & Emot. Harm § 14 cmt. a (2010) .........................104

  William L. Prosser and W. Page Keeton, The Law of Torts § 52 (5th ed. 1984) ..............70




                                                         xxiii
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 25 of 160. PageID #: 24541




                                       INTRODUCTION
          The opioid epidemic has engulfed Plaintiff the Blackfeet Tribe of the Blackfeet

  Indian Reservation (the “Tribe” or “Plaintiff”) in an unfolding tragedy with no

  foreseeable endpoint. In 2014, Native Americans experienced the highest prescription

  opioid overdose death rate of any racial or ethnic group. Blackfeet Tribe First Amended

  Complaint (ECF No. 6, under seal) (“FAC” or “Complaint”) at ¶ 684. One Blackfeet

  Tribe tribal leader has described the epidemic as a “modern-day small pox.” Id. at ¶ 688.

  “We had no time to resolve our grief then, and we are again enduring unresolved grief as

  we lose our people to these substances. We have no chance to heal.” Id.

          The public health crisis has overwhelmed the Tribe’s resources. According to

  Tribal Health Department statistics, over half of newborn infants are born with an

  addiction condition, and this statistic has risen at an alarming rate. Id. at ¶ 686. The Tribe

  lacks the necessary resources for treatment, and the few options that are available are

  geographically isolated. Id. at ¶¶ 691-92. Despite extremely high rates of opioid use

  among pregnant women on the Reservation, only two inpatient treatment centers in the

  State of Montana regularly admit pregnant women, and they are located four or six hours

  away. Id. at ¶ 691. There is no medical detox facility on the reservation, and the Tribe

  does not have the resources to build or staff one. Id. at ¶¶ 692-93. Yet, when the Tribe

  instituted a needle exchange program, 5,500 needles were dispensed in the first year

  alone. Id. at ¶ 687.

          Defendants admit that the Court is addressing a “nationwide crisis,” while

  denying that they may be held accountable for it. See Mem. of Law in Support of the

  Manufacturer Defendants’ Joint Motion to Dismiss the Tribes’ Amended Complaints,




                                                1
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 26 of 160. PageID #: 24542




  ECF No. 27-1 at 1 (“Mfr. Mem.”); see also Mem. of Law in Support of Generic

  Manufacturers’ Motion to Dismiss Plaintiff’s First Amended Complaint, ECF No. 26-1 at

  1 (“Gen. Mem.”) (“opioid crisis”). But the worst public health emergency in modern

  times was not caused by any natural disaster, act of war, or a biological plague. Rather, it

  was orchestrated by the pharmaceutical industry for profit. Marketing Defendants

  relentlessly misrepresented the safety of opioid prescription drugs, convincing the

  medical community and the public that opioids were safe—essentially, that high doses of

  pharmaceutical-grade heroin could treat run-of-the mill pain without significant risk of

  addiction. The Marketing Defendants succeeded in the ubiquitous dissemination of

  misinformation, thereby preventing doctors and their patients from making informed

  treatment decisions. These Defendants converted a confined, niche market into a massive

  profit-making enterprise. Without their orchestrated machinations to cause skyrocketing

  opioid prescriptions, the opioid epidemic would not have occurred, and would not have

  become the crisis it is today.

          After the market for dangerously addictive drugs was inflated, all of the

  Defendants flooded it, supplying opioids in quantities that they knew or should have

  known exceeded any legitimate market need, and failing to carry out their affirmative

  obligations to guard against diversion of these powerful narcotics. Marketing, Distributor,

  and National Retail Pharmacy Defendants1 alike disregarded their legal obligations to


  1
    The Complaint defines “Marketing Defendants” (the Actavis, Cephalon, Endo, Insys, Janssen,
  Mallinckrodt, and Purdue defendants) and “Distributor Defendants” (AmerisourceBergen, Cardinal,
  McKesson, Advantage Logistics, Albertson’s, ANDA, Associated Pharmacies, Dakota Drug, Smith’s,
  CVS, Walgreens, and Walmart.) (Although included in the Complaint in the definition of “Distributors,”
  the latter three are separately broken out for some purposes in that document as “National Retail
  Pharmacies”). FAC ¶¶ 37-96. The defendants have divided themselves somewhat differently for purposes
  of their motions. A subset of the Marketing Defendants, consisting of Watson Laboratories, Inc., Actavis
  Pharma, Inc., Actavis LLC, Par Pharmaceutical, Inc., Par Pharmaceutical Companies, Inc., and for some
  purposes, Mallinckrodt LLC, SpecGx LLC, and Teva Pharmaceuticals USA, Inc., have moved as the


                                                      2
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 27 of 160. PageID #: 24543




  maintain effective controls against diversion, to report suspicious orders and prescribers,

  and to cut off drug supplies to illegitimate channels. They facilitated black markets for

  diverted prescription opioids and a concomitant rise in heroin and fentanyl abuse by

  individuals who could no longer legally acquire—or simply could not afford—the

  prescription drugs.

          Yet, according to Defendants, they bear no responsibility for the devastating

  effects of the dangerous drugs they marketed and distributed. Defendants seek to dismiss

  the Tribe’s claims on a variety of grounds, the vast majority identical to the arguments

  made in motions to dismiss other complaints in this MDL. Aside from minor additions

  and variations to prior arguments, the motions in this case differ from the prior motions in

  three respects: (1) Defendants make arguments about standing and preemption that relate

  specifically to the Tribe’s status as a sovereign Indian nation; (2) Defendants’ arguments

  addressed to the Tribe’s state-law claims implicate the law of Montana, which has not

  previously been briefed to this Court in this MDL; and (3) Generic Manufacturers have,

  for the first time, filed their own motion raising grounds for dismissal they believe are

  distinct as to them. In this opposition, the Tribe responds in detail in these three areas,

  while responding more summarily with respect to issues previously briefed and, wherever

  possible, cross-referencing the prior briefing of other MDL plaintiffs to avoid



  “Generic Manufacturers.” The remainder of the Marketing Defendants, plus Mallinckrodt LLC, SpecGx
  LLC, and Teva Pharmaceuticals USA, have separately moved as “Manufacturer Defendants.” CVS,
  Walgreens, and Walmart have filed a separate motion in which they refer to themselves as “Moving
  Defendants.” In this brief, the terms “Marketing Defendants” and “National Retail Pharmacies” have the
  meanings defined in the Complaint (as do the separately-defined terms “RICO Marketing Defendants,” see
  FAC ¶ 766, and “RICO Supply-Chain Defendants,” see FAC ¶ 799). (For brevity, “National Retail
  Pharmacies” are sometimes referred to as “Pharmacies.”) The terms “Manufacturer Defendants” (or
  “Manufacturers”), “Distributor Defendants” (or “Distributors”), and “Generic Manufacturer Defendants”
  (or “Generic Manufacturers”) refer to the defendants who have so identified themselves in their motions;
  these terms are used primarily to identify which defendants have raised particular arguments.



                                                     3
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 28 of 160. PageID #: 24544




  duplication.2 As discussed below, neither the Plaintiff’s sovereign status nor the law of

  Montana provide any basis to dismiss the Tribe’s claims. Nor do the issues raised by the

  Generic Manufacturers provide grounds to dismiss claims against those defendants.

  Thus, despite the new issues raised by the Defendants, the motion to dismiss the Tribe’s

  claims should be denied in their entirety for the reasons set forth in prior briefing and

  below.

                                               ARGUMENT

  I.       THE BLACKFEET TRIBE HAS STANDING AND ITS CLAIMS ARE NOT
           PREEMPTED
           A.      The Blackfeet Tribe Has Article III Standing to Bring this Lawsuit.

           Only the Pharmacies argue the Blackfeet Tribe lacks Article III standing to bring

  this lawsuit, in one paragraph cross-referencing their Summit County briefing. This

  cursory standing argument is unavailing. First, under a standing analysis, a sovereign

  tribal nation like the Blackfeet Tribe is not the same as a political subdivision like

  Summit County. Like states, tribes retain sovereign powers that predate the formation of

  the United States and are recognized by federal law. The Tribe therefore has standing to

  assert its claims related to the well-being of the Tribe under its parens patriae authority.

  Second, the Tribe has separately satisfied the requirements for Article III standing to

  pursue its own proprietary losses.

           Article III standing is established when a plaintiff alleges that it suffered an

  “injury in fact” that is “fairly traceable” to the defendant’s conduct and “that is likely to




  2
    Plaintiff refers primarily to the Omnibus Memorandum (Doc. # 654) filed by Plaintiffs County of
  Summit, Ohio, and City Of Akron, Ohio in opposition to the various motions to dismiss filed in that case,
  referred to herein as “Summit Opposition” or “Summit Opp. Mem.”).



                                                      4
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 29 of 160. PageID #: 24545




  be redressed by a favorable judicial decision.” Bank of America Corp. v. City of Miami,

  Fla., 137 S. Ct. 1296, 1302 (2017). An injury in fact is one that is concrete and

  particularized as well as actual or imminent. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

  (1992). “At the pleading stage, general factual allegations of injury resulting from the

  defendant’s conduct may suffice . . . .” Id. Finally, causation sufficient to satisfy Article

  III need not be proximate, nor need it be direct. Lexmark Int’l, Inc. v. Static Control

  Components, Inc., 572 U.S. 118, 134 n.6 (2014); Parsons v. U.S. Dep’t of Justice, 801

  F.3d 701, 713 (6th Cir. 2015); see also United States v. Students Challenging Regulatory

  Agency Procedures (SCRAP), 412 U.S. 669, 688 (1973) (“attenuated line of causation to

  the eventual injury” sufficient to establish standing) (parenthetically quoted in Parsons).

  The Tribe’s allegations more than satisfy this standard.

                  1.      The Blackfeet Tribe Has Parens Patriae Standing.

          The Blackfeet Tribe of the Blackfeet Indian Reservation of Montana is a federally

  recognized tribe and has a formal nation-to-nation relationship with the United States

  government. Because of the Tribe’s status as a sovereign tribal nation, it can assert

  claims in a parens patriae capacity.

          The Supreme Court first recognized states’ authority to bring parens patriae

  actions based on “quasi-sovereign” interests in Louisiana v. Texas, 176 U.S. 1, 19 (1900)

  (explaining that “the state of Louisiana presents herself in the attitude of parens patriae,

  trustee, guardian, or representative of all her citizens”). “Quasi-sovereign” interests,

  distinct from fully sovereign interests (such as the ability to make and enforce legal codes

  or to ensure the recognition of borders), and also distinct from a sovereign’s own

  proprietary interests, “consist of a set of interests that the State has in the well-being of its

  populace.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 602


                                                 5
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 30 of 160. PageID #: 24546




  (1982). These interests include, but are not limited to, the “health and well-being—both

  physical and economic—of its residents.” Id. at 607. In Snapp, the Supreme Court held

  that Puerto Rico is “similarly situated to a State” in that it had “a claim to represent its

  quasi-sovereign interests in federal court at least as strong as that of any State.” Id. at 608

  n.15.

          Federally recognized tribes are also “similarly situated” to states in that they

  possess sovereign powers, but theirs necessarily predate those bestowed upon the states

  and even the formation of the United States itself. Tribal sovereignty is recognized by

  federal law, including by treaties, acts of Congress, executive branch policies and

  regulations, and federal court decisions. See generally, Nell Jessup Newton et al., eds.,

  COHEN’S HANDBOOK OF FEDERAL INDIAN LAW (2005); Exec. Order No. 13175 § 3(a), 65

  Fed. Reg. 67249, 67250 (Nov. 6, 2000) (“Agencies shall respect Indian tribal self-

  government and sovereignty, honor tribal treaty and other rights, and strive to meet the

  responsibilities that arise from the unique legal relationship between the Federal

  Government and Indian tribal governments.”). Because of its sovereign status, a tribe,

  like a state, can invoke parens patriae standing when it “‘allege[s] injury to a sufficiently

  substantial segment of its population,’ ‘articulate[s] an interest apart from the interests of

  particular private parties,’ and ‘express[es] a quasi-sovereign interest.’” Table Bluff

  Reservation (Wiyot Tribe) v. Philip Morris, Inc., 256 F.3d 879, 885 (9th Cir. 2001)

  (citing Snapp, 458 U.S. at 607). And, as is true with states, “the health and safety of all its

  members is part of the Tribe’s sovereign governmental interests.” Rosebud Sioux Tribe v.

  United States, No. 3:16-cv-03038-RAL, 2017 WL 1214418, at *4 (D.S.D. Mar. 31, 2017)

  (internal citation omitted). Accordingly, numerous federal courts have implicitly or




                                                 6
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 31 of 160. PageID #: 24547




  explicitly approved parens patriae standing for Native American tribes. See, e.g., Moe v.

  Confederated Salish & Kootenai Tribes of Flathead Reservation, 425 U.S. 463 (1976)

  (Indian tribe had standing as a tribe, apart from the claims of individual tribal members,

  to challenge state motor vehicle tax); Delorme v. United States, 354 F.3d 810, 816 (8th

  Cir. 2004) (noting tribe can have standing to sue to protect its own interests or, in

  appropriate situations, the interests of its members through a parens patriae action)

  (citation omitted); Quapaw Tribe of Oklahoma v. Blue Tee Corp., 653 F. Supp. 2d 1166,

  1179 (N.D. Okla. 2009) (“Indian tribes, like states and other governmental entities, have

  standing to sue to protect sovereign or quasi-sovereign interests”).

         The Tribe’s Complaint sets forth the elements necessary to invoke parens patriae

  standing. First, the Tribe has articulated a quasi-sovereign interest in the health and

  physical and economic well-being of its tribal members that is separate and apart from

  the private interests of its members. See, e.g., FAC ¶¶ 679, 681, 852 (alleging that the

  Defendants’ misconduct has damaged the Blackfeet Nation by contributing to social ills

  such as violence, delinquency, child neglect, family dysfunction, opioid addiction, crime,

  poverty, property damage, damage to public spaces, decreased productivity, loss of tax

  revenue, and increased expenditures and diversion of the Blackfeet Nation’s resources).

  The Tribe also alleges emotional harm to the Nation as a whole in the context of

  historical trauma. FAC ¶ 688. Second, the Tribe’s allegations establish that Defendants’

  misconduct has affected all or substantially all of the Blackfeet Nation’s members. See,

  e.g., FAC ¶ 686 (“56% of Blackfeet Nation newborn infants are born with an addiction

  condition.”); FAC ¶ 700 (alleging that Defendants’ conduct “has hit the people of the




                                                7
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 32 of 160. PageID #: 24548




  Blackfeet Nation, approximately two thirds of whom live on the Blackfeet Reservation

  lands, hardest of all”).

           The Tribe’s parens patriae standing extends, moreover, to its claim under the

  Montana Consumer Protection Act (MCPA). The Montana Code specifically provides

  that private parties may maintain a cause of action as a result of unfair or deceptive trade

  practices. MONT. CODE ANN. § 30-14-133. Blackfeet invokes its parens patriae authority

  to assert the claims on behalf of its consumer citizens who were deceived by Defendants’

  pervasive marketing, distribution, and dispensing schemes. See FAC ¶¶ 474-651; ¶¶ 700-

  720; ¶¶ 586-635.3

           The Blackfeet Tribe has adequately pled a quasi-sovereign interest in the health

  and physical and economic well-being of a substantial majority of its members. This

  Court should recognize the Blackfeet Tribe’s status as a sovereign nation as well as its

  authority to assert parens patriae standing under Article III.

                    2.       The Blackfeet Tribe Also Has Article III Standing to Pursue Its
                             Own Proprietary Losses.

           The Blackfeet Tribe also has standing to assert claims of damages to its own

  proprietary interests. The Pharmacy Defendants argue that the harms alleged by the



  3
    Defendants argue that because the MCPA expressly provides standing to the Montana Department of
  Justice and district attorneys, but does not mention tribes, tribes are precluded from suing in parens patriae
  for violations of the Act. See Mfr. Mem at 30-31. But several courts, addressing similar state statutes, have
  held that a state statute’s silence as to parens patriae standing does not act as a bar for such standing. See,
  e.g., In re Sclater, 40 B.R. 594, 596-97 (Bankr. E.D. Mich. 1984) (recognizing parens patriae standing to
  sue under a consumer protection law even though it provided no express statutory authority); Minnesota v.
  Ri-Mel, Inc. 417 N.W.2d 102, 112 (Minn. Ct. App. 1987) (allowing suit to proceed in parens patriae
  despite “no express statutory authority” for standing). Courts have reached similar conclusions in
  connection with federal statutes. See, e.g., Louisiana v. Borden, Inc., Civ. A. No. 94-3640, 1995 WL
  59548, at *3 (E.D. La. Feb. 10, 1995) (holding that although the statute did not grant state standing, the
  state could bring the action as parens patriae in an antitrust suit); New York by Vacco v. Mid Hudson Med.
  Grp., P.C., 877 F. Supp. 143, 146 (S.D.N.Y. 1995) (holding that the state could bring claims as parens
  patriae under the Americans with Disabilities Act and the Rehabilitation Act even though neither act
  explicitly provided standing to attorneys general to bring suit).


                                                         8
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 33 of 160. PageID #: 24549




  Blackfeet Nation here are non-justiciable generalized grievances, referring to their prior

  argument in the Moving Defendants’ Summit Brief (ECF No. 497-1, at 4-7). Mem. in

  Supp. of MTD by CVS et al., 1:18-op-45749-DAP (ECF No. 21-1) (hereinafter “Pharm.

  Mem.”) at 3.4 Pharmacy Defendants also assert that the Blackfeet Tribe has not

  sufficiently “set itself apart” from other injured parties or pleaded a direct injury to itself.

  Id.

             The Tribe has adequately pled that Defendants’ conduct has resulted in injury to

  the Tribe itself, not just individual members of the Blackfeet Nation. Defendants argue

  that the harms claimed by the Tribe “are at most the consequence of injury to others,”

  Pharm. Mem. at 3, but even if that assertion captured all of the harms to the Tribe, that

  would not alter the fact that the Tribe itself has been injured as a result of Defendants’

  conduct in a concrete and particularized way and therefore has Article III standing to

  pursue its claims.

             The Tribe has alleged that it has made, and will be required to make, direct

  payments from the public coffers to address the opioid crisis. The direct costs to the Tribe

  include costs of “medication-assisted treatment, residential treatment, recovery housing,

  detoxification programs, and prevention efforts . . . as well as programs which provide

  education and naloxone to opioid users and family members.” FAC ¶ 678. In addition,

  the Tribe alleged an increased volume in child abuse and neglect referrals, increased costs

  from drug-related crime, and increased costs from non-drug offenses, such as burglary,

  elder abuse, or domestic violence, that also are related to opioid use. FAC ¶¶ 679, 690.

  These specific tribal expenses more than satisfy Article III requirements, and Defendants’


  4
      Plaintiff incorporates by reference the Summit Opp. Mem. at 106-109 (ECF No. 654).



                                                       9
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 34 of 160. PageID #: 24550




  claims regarding “general grievances” should be rejected. See Bank of America Corp. v.

  City of Miami, Fla., 137 S. Ct. 1296, 1301-1304 (2017) (holding that government’s

  allegations that unlawful racially discriminatory mortgage-lending practices impaired

  racial composition of the city, frustrated city’s interests in integration and in promoting

  fair housing, and disproportionately caused foreclosures and vacancies in minority

  communities, decreasing property values, reducing property tax revenues and forcing

  City to spend more on municipal services sufficient to show that city was aggrieved and

  had standing); Gladstone Realtors v. Vill. of Bellwood, 441 U.S. 91, 110-11 (1979)

  (holding that village had standing to challenge discriminatory housing practices because

  “[a] significant reduction in property values directly injures a municipality by

  diminishing its tax base, thus threatening its ability to bear the costs of local government

  and to provide services”).

         Defendants conflate the two types of injury at issue here: the injury to tribal

  members’ health and well-being, in which the Tribe has a quasi-sovereign interest, and

  the injury to the Tribe’s own proprietary interests. The Tribe can bring claims based on

  both types of injury and does so in this lawsuit; that it has pled facts supporting both

  claims brought in its parens patriae capacity and for its own damages does not convert

  the harm into a generalized grievance.

         Pharmacy Defendants also assert that the Tribe’s alleged harms are “indirect” and

  “cannot . . . be traced” to Pharmacy Defendants. Pharm. Mem. at 1. But as discussed below,

  the FAC sufficiently alleges that Plaintiff’s injuries were caused by Defendants, including

  the Pharmacy Defendants. See discussion infra Section II.D.4. The FAC details

  Defendants’ excessive distribution of narcotics into the sparsely populated geographic area




                                               10
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 35 of 160. PageID #: 24551




  that is home to the Blackfeet Nation. FAC ¶¶ 696-700. In pleadings that are sealed, the

  Tribe quantifies the volume of dangerously addictive drugs delivered into the Blackfeet

  Nation geographic area. Id. at ¶ 696. In sealed Paragraph 696, the Tribe provides examples

  of opioids shipped by certain pharmacies. Id. But even if this Court were to find proximate

  cause lacking with respect to any of Plaintiff’s claims, Plaintiff would still meet the much

  lower traceability requirements for standing. See Bank of Am. Corp., 137 S. Ct. at 1302;

  Lexmark, 134 S. Ct. at 1391 n.6.

           The Tribe has adequately pled injury, causation, and redressability under Article

  III, and Defendants’ arguments to the contrary should be rejected.

           B.       The Tribe Has Standing to Recover Health-Related Costs.

           The Manufacturer Defendants contend that the Tribe cannot recover two

  categories of healthcare expenses: (1) the costs of medical care directly provided by the

  Indian Health Service (“IHS”), and (2) medical costs funded under the Indian Self-

  Determination and Education Assistance Act, 25 U.S.C. §§ 5301 et seq. (“ISDEAA”).5

  Mfr. Mem. at 19-23. Neither argument is correct.

                    1.       The Tribe Seeks to Recover Its Own Healthcare Expenses, Not
                             the Costs of IHS-Provided Care.

           First, the Manufacturers argue that the Tribe lacks standing to recover healthcare

  expenses “[t]o the extent that the Tribes seek to recover the costs of medical care

  provided directly by IHS.” Mfr. Mem. at 20. The simple answer is that the Tribe does not



  5
    Although the Manufacturer Defendants’ subheading for this argument section broadly states that “the
  Tribes cannot recover the costs of providing health care,” Mfr. Mem. at 19 (cap. om.), Defendants’
  arguments involve only two categories of healthcare expenses. Defendants do not challenge the Tribe’s
  right to recover for health-related expenses funded from non-IHS and non-ISDEAA sources, such as taxes,
  royalties, tribal government enterprises (including gaming revenues), grants, etc. Nor do they challenge the
  Tribe’s right to recover non-healthcare expenses, such as increased costs for social services, courts, and law
  enforcement.



                                                       11
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 36 of 160. PageID #: 24552




  seek to recover the costs of medical care provided to its members directly by the IHS, but

  rather its own costs.6

           Manufacturing Defendants rely on a single unpublished opinion, Acoma Pueblo v.

  Am. Tobacco Co., in which the plaintiffs sought to recover from cigarette manufacturers

  an alleged $5.5 billion spent on Indian healthcare for tobacco-related illnesses since 1962.

  No. 99-CV-1049, slip op. (D. N.M. July 30, 2001), filed at Morris Decl. Ex. B, ECF No.

  933-4, and cited in Mfr. Mem. at 20. In this opinion, which has never been cited by

  another court, the court concluded that federal statutes “rest[ed] the bottom line for Indian

  health care generally in the federal government and specifically in the Indian Health

  Service.” Id. at 10. Regardless of the accuracy of that conclusion in 2001, it is

  inapplicable today, with IHS now operating only 17% of the healthcare facilities in the

  Indian Health Care System. Because the Acoma decision focuses on the costs of medical

  care provided directly by IHS, the case is inapposite here, where the Tribe is seeking to

  recover its own costs to stem the relentless spread of the opioid epidemic.




  6
    The Indian Health Care System is not monolithic, and direct health care services by the IHS constitute a
  minority of it: of the 597 Indian health centers, clinics, and health stations, 83% are tribal-operated. See
  Indian Health Serv., IHS Profile (July 2018), https://www.ihs.gov/newsroom/factsheets/ihsprofile/
  (calculated based on “Facilities” data listed on fact sheet). On the Blackfeet Indian Reservation, there are
  two small IHS facilities: Blackfeet Community Hospital in Browning, a 28-bed facility, and Heart Butte
  Health Station, a four-day-a-week clinic, in Heart Butte. The health-related costs to the Tribe are broader
  than the costs of direct medical care provided by IHS’s two facilities. See FAC ¶¶ 686-93, 852, 883. For
  example, the Blackfeet Nation runs an addiction-treatment center in Browning that includes two beds for
  pregnant women—and greater capacity is desperately needed. Id. ¶ 691. In addition, the Tribe has also
  invested in efforts such as a needle-exchange program. Id. ¶ 687. Moreover, in order to abate the harms
  Defendants have caused, the Tribe seeks future costs of the services necessary to overcome the opioid
  epidemic, Id. ¶¶ 692-94, 966-973, 1124, which will necessarily fall to the Tribe due to the chronic
  underfunding of the IHS.



                                                       12
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 37 of 160. PageID #: 24553




                   2.       Defendants’ Argument that MCRA Limits the Tribe’s
                            Recovery is Misplaced and Misunderstands the Law.

          The Manufacturer Defendants’ second argument – that the Tribe cannot recover

  medical costs funded under the ISDEAA because the Medical Care Recovery Act, 42

  U.S.C. §§ 2651 et seq. (“MCRA”) provides the Tribe no remedy – rests on a

  mischaracterization of Plaintiff’s claims and a misreading of the relevant statutes.

  MCRA, which is incorporated into the Indian Health Care Improvement Act, 25 U.S.C.

  §§ 1601 et seq. (“IHCIA”), allows the Tribe to bring subrogation-types actions to recover

  certain medical expenses from third-party tortfeasors. But the remedies in MCRA are in

  addition to, not instead of, other available remedies. For that reason, the extent of the

  Tribe’s subrogation rights under IHCIA and MCRA is not relevant here, where the Tribe

  is exercising its established right to recover damages that it, itself, has suffered as a result

  of Defendants’ actions.7 25 U.S.C. § 1621e(k).

          The Manufacturing Defendants mischaracterize the Tribe’s claims through a

  convoluted statutory argument. Citing IHCIA, 25 U.S.C. § 1621e, Defendants assert that

  MCRA “governs” the Tribe’s claims and leaves the Tribe “no remedy.” Mfr. Mem. at 21.

  To understand why Defendants’ arguments are misplaced, it is important to understand

  IHCIA and its relationship to MCRA.

          Congress enacted IHCIA in 1976, authorizing appropriations and expanding

  health care service programs available through IHS, in recognition that “the unmet health


  7
    Tribes like the Blackfeet Nation, just as any sovereign, can bring suit to recover for the harms others
  cause them, including under tort theories. See, e.g., Quapaw Tribe of Oklahoma v. Blue Tee Corp., 653 F.
  Supp. 2d 1166, 1183 (N.D. Okla. 2009) (holding that the Quapaw Tribe has standing to assert common-law
  claims for natural resource damages on behalf of tribal members); Havasupai Tribe of Havasupai
  Reservation v. Arizona Bd. of Regents, 204 P.3d 1063, 1068-69 (Ariz. Ct. App. 2008) (tribe, on its own
  behalf and on behalf of its members, brought tort claims including fraud, misrepresentation, intentional
  infliction of emotional distress, negligence, gross negligence and negligence per se).



                                                     13
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 38 of 160. PageID #: 24554




  needs of the American Indian people are severe and the health status of the Indians is far

  below that of the general population of the United States.” Indian Health Care

  Improvement Act of 1976, Pub. L. No. 94-437, § 2(d), 90 Stat. 1400. At its inception,

  however, IHCIA did not give tribes the right to bring subrogation-like claims to recover

  medical expenses from health plans and responsible third parties. In 1992, Congress

  amended IHCIA to allow tribes the right of recovery in such cases. See Indian Health

  Amendments of 1992, Pub. L. No. 102-573, § 209, 105 Stat. 4526. In 2010, under the

  Patient Protection and Affordable Care Act, Congress expanded the tribal right of

  recovery further, explicitly adding “third-party tortfeasor” to the list of entities from

  whom tribes can recover. See Pub. L. No. 111-148, § 10221(a), 124 Stat. 119, 935 (2010)

  (enacting S. 1790, 111th Cong. § 125 (as reported by S. Comm. On Indian Affairs, Dec.

  16, 2009)) (codified at 25 U.S.C. § 1621e(a)).

         The 2010 amendments made clear that the tribal right of recovery in this

  subrogation-like context is the same as that provided to the federal government under

  MCRA, by explicitly incorporating MCRA by reference. 25 U.S.C. § 1621e(e)(3)(A). As

  a result, the 2010 amendments to IHCIA expanded tribal rights to recover through

  subrogated claims. Indeed, IHCIA contains a savings clause that expressly states that the

  statute does not limit a tribe’s right of recovery under other laws:

         Nothing in this section shall be construed to limit any right of recovery
         available to the United States, an Indian tribe, or tribal organization under
         the provisions of any applicable, Federal, State, or tribal law, including
         medical lien laws.

  25 U.S.C. § 1621e(k). Thus, nothing in IHCIA or MCRA limits a tribe to the new

  subrogation-like remedy in MCRA.




                                                14
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 39 of 160. PageID #: 24555




           Here, MCRA is inapplicable because the Tribe is not asserting the subrogation-

  type claim created by the statute. The Tribe’s action is not an aggregation of thousands

  of personal injury claims, with the Tribe merely the health insurer who paid the bills. On

  the contrary, the Tribe seeks to recover, in nuisance, negligence, and otherwise, for the

  opioid epidemic inflicted on its community.8 Such costs are independent of whether any

  particular patient has or would have a right of action against Defendants or anyone else

  for any injuries.

           Finally, to the extent the Manufacturing Defendants are contending that MCRA

  preempts the Tribe’s common-law and statutory claims, this argument should be rejected.

  MCRA’s express savings provision, quoted above, makes clear that Congress had no

  intention to preempt state law or to occupy the field with respect to health-care claims.

  MCRA does not preempt state law; on the contrary, the right to recovery under MCRA

  depends upon the viability of the underlying state-law tort claim.

           C.       The Tribe’s Claims Are Not Preempted by the Federal FDCA or by
                    Any FDA Action.

                    1.       The Tribe’s Claims with Respect to Branded Drugs Are Not
                             Preempted.

           Manufacturer Defendants argue that the Tribe’s claims are preempted by the

  federal Food, Drug, & Cosmetic Act (“FDCA”) because their opioid products, and the

  labels for them, were approved by the Food & Drug Administration (“FDA”). See Mfr.




  8
    This is made clear by the scope of the remedy the Tribe seeks, which includes the cost of providing future
  healthcare services. Such future services are the Tribe’s own damages and clearly do not, and could not,
  sound in subrogation. Similarly, the Tribe’s costs for past healthcare services arise from the unprecedented
  scope of the epidemic and the extent to which the Tribe and its resources have been overwhelmed in trying
  to respond to it.



                                                      15
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 40 of 160. PageID #: 24556




  Mem. at 42-48. This argument should be rejected for the reasons set forth in the Summit

  Opposition. See Summit Opp. Mem. at 114-22, §II.B.

         In Wyeth v. Levine, the Supreme Court held that state-law claims involving FDA-

  approved drugs that would require the manufacturer to provide warnings different from

  or in addition to those approved by the FDA are not preempted where (as is generally the

  case for branded drugs) the manufacturer is permitted to make unilateral changes to the

  drug’s approved label. 555 U.S. 555, 567-70 (2009). In Levine, the Supreme Court

  reiterated and applied its prior preemption jurisprudence, pursuant to which, in order to

  show that a claim is preempted by “conflict” or “impossibility” preemption, a defendant

  must show that it would have been impossible for it to comply with both state-law and

  federal law duties – that is, that federal law would have prohibited it from doing what the

  plaintiff says it ought to have done. Id. at 573; see also PLIVA, Inc. v. Mensing, 564 U.S.

  604, 618 (2011) (“[S]tate and federal law conflict where it is impossible for a private

  party to comply with both state and federal requirements.”) (citation and internal

  quotation marks omitted).

         As explained in the Summit Opposition, Plaintiff’s claims here are not preempted

  with respect to brand name drugs because (a) the Marketing Defendants are alleged to

  have made fraudulent misrepresentations, none of which had been approved by the FDA

  or appeared in the labels for the drugs; and (b) as Levine makes clear, the Marketing

  Defendants were free, in any event, to make unilateral changes to their labels for their

  branded drugs.

         Manufacturer Defendants here make an additional argument, not presented in the

  Summit County case, that Plaintiff’s claims are preempted because FDA’s rejection of a




                                              16
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 41 of 160. PageID #: 24557




  certain citizen’s petition, known as the “PROP petition,” shows that FDA would not have

  permitted Manufacturer Defendants to make unilateral changes to their labels in order to

  provide stronger warnings. In particular, they argue that FDA’s denial of the petition

  shows that FDA would have rejected label changes with respect to the use of opioids for

  non-cancer chronic pain, as well as with respect to dosage and duration of treatment. For

  this reason, they contend it would have been impossible for them to provide the

  information Plaintiff says they ought to have provided. This argument is without merit.

         FDA’s denial of the PROP petition does not establish that the Manufacturer

  Defendants could not comply with their state-law duties for two reasons. First, with

  respect to the use of opioids for chronic pain, contrary to Manufacturer Defendants’

  argument, Plaintiff’s claims do not turn on the contention that these Defendants should

  not have marketed their opioids products for non-cancer chronic pain. Rather, as

  described above, Plaintiff alleges that Manufacturer Defendants were precluded from

  using falsehoods and misrepresentations in such marketing. Each of these falsehoods is

  described in detail in the Complaint, which clearly demonstrates that the gravamen of

  Plaintiff’s claim is not the promotion of opioids for non-cancer long-term use, but rather

  promotion for that use (and others) through fraudulent misrepresentations. See, e.g., FAC

  ¶¶ 150, 202, 210, 225, 237, 254 (describing misrepresentations about the risks and

  benefits of using opioids generally and specifically for chronic pain). No label change

  was required for the Manufacturer Defendants to stop using these fraudulent

  misrepresentations in connection with marketing opioids for their approved uses,

  including for chronic pain. For this reason, FDA’s decision not to distinguish between

  cancer and non-cancer chronic pain has nothing to do with the claims asserted here. See




                                              17
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 42 of 160. PageID #: 24558




  In re Opioid Litigation, No. 400000/2017, 2018 WL 3115102, at *9 (N.Y. Sup. Ct. June

  18, 2018) (holding that allegations of plaintiff governmental entities in opioid litigations

  were “not based upon the same theories and scientific evidence presented in the PROP

  petition”).

           More broadly, the arguments about the PROP petition lack merit because the

  denial of that petition does not establish that it was impossible for defendants to comply

  with both state and federal law. As already noted, branded drug manufacturers are not

  generally precluded from making unilateral changes to their labels. See Levine, 555 U.S.

  at 569-70. On the contrary, FDA regulations specifically allow for such changes,

  including changes to marketing materials (which Defendants take great pains to point out

  are part of a drug’s “label”). Id.9 A drug manufacturer may nonetheless argue that the

  FDA would have prohibited a particular change, but the manufacturer bears a heavy

  burden in doing so. It must come forward with “clear evidence” based on the

  administrative record that if it had updated its label pursuant to its duties under state law,

  FDA would have intervened and rejected the label change. See Levine, 555 U.S. at 571;

  see also In re Fosamax (Alendronate Sodium) Prods. Liab. Litig., 852 F.3d 268, 285-86

  (3d Cir. 2017) (holding that manufacturer must show by clear and convincing evidence

  that FDA would have rejected warnings plaintiff claims were necessary), cert. granted

  sub nom. Merck Sharp & Dohme Corp v. Albrecht, 138 S. Ct. 2705 (2018); Mason v.



  9
    For this reason, the Manufacturers’ citations to Strayhorn v. Wyeth Pharmaceuticals, Inc., 737 F.3d 378,
  391 (6th Cir. 2013), and to Drager v. PLIVA USA, Inc., 741 F.3d 470, 479 (4th Cir. 2014), both of which
  address impossibility preemption in the context of generic manufacturers, are inapposite here. (For the
  reasons discussed below, Strayhorn is also distinguishable and inapposite with respect to Plaintiff’s claims
  against the Generic Manufacturers. Drager, which involved a contention that the generic manufacturer
  should have changed its label, is so far inapposite that, unlike the branded Manufacturers, the Generic
  Manufacturers do not even cite it.)



                                                       18
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 43 of 160. PageID #: 24559




  SmithKline Beecham Corp., 596 F.3d 387 (7th Cir. 2010) (requiring evidence more

  persuasive than was available in Levine); Cerveny v. Aventis, Inc., 855 F.3d 1091, 1099

  (10th Cir. 2017) (considering whether manufacturer presented clear evidence that FDA

  would have disapproved of the warnings suggested by plaintiffs and whether a reasonable

  juror could conclude that FDA would have approved those warnings).

         This issue, however, presents a factual question that cannot be resolved at the

  pleading stage. See Doe v. Miami Univ., 882 F.3d 579, 588 (6th Cir. 2018) (holding that

  on a motion to dismiss, a court “must construe the complaint in the light most favorable

  to the plaintiff and accept all allegations as true”). Although the Federal Circuit Courts of

  Appeals are split as to whether the question of what FDA would have done or did do with

  respect to proposed changes following approval of a drug presents a pure question of fact

  for a jury or a mixed question of law and fact for the court, see Fosamax, 852 F.3d at 293

  (summary judgment not appropriate on issue of impossibility preemption where there

  was a disputed issue of fact as to whether FDA would have rejected the warnings

  plaintiffs contended were required under state law; issue was for the jury); Mason, 596

  F.3d at 396 (based on administrative record, finding plaintiffs’ claims not preempted

  because defendant “did not meet its burden of demonstrating by clear evidence that FDA

  would have rejected a label change warning”); Cerveny, 855 F.3d at 1099 (noting the

  issue, but declining to resolve it because the record before it showed that facts were

  undisputed), all of the authorities agree that the issue requires a fully-developed factual

  record of the type available only at the summary judgment stage or beyond, see Levine,

  555 U.S. at 581 (affirming verdict after trial); Cerveny, 855 F.3d at 1099 (finding no

  disputed issue of fact, affirming, in part, grant of summary judgment); Fosamax, 852




                                               19
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 44 of 160. PageID #: 24560




  F.3d at 302 (vacating grant of summary judgment); Mason, 596 F.3d at 395-96 (reversing

  grant of summary judgment). Indeed, both of the cases cited by Defendants specifically

  on this issue were decided on full records on motions for summary judgment. See

  Rheinfrank v. Abbott Labs., Inc., 680 F. App’x 369, 386 (6th Cir. 2017) (affirming grant

  of summary judgment); Cerveny, 855 F.3d at 1099 (affirming, in part, grant of summary

  judgment).

         This is especially true because numerous cases have, in the end, rejected claims of

  impossibility specifically in the face of FDA’s denial of citizens’ petitions seeking similar

  label changes. See Mason, 596 F.3d at 394-95 (finding “FDA’s rejection of the citizen

  petitions or its call to do more research” insufficient to show by clear evidence that FDA

  would have rejected proposed changes); In re Testosterone Replacement Therapy Prod.

  Liab. Litig. Coordinated Pretrial Proceedings, No. 14 C 1748, 2017 WL 1836435, at *9-

  11 (N.D. Ill. May 8, 2017) (finding rejection of citizens’ petition insufficient to

  demonstrate that FDA would have rejected different label); Hunt v. McNeil Consumer

  Healthcare, 6 F. Supp. 3d 694, 700-01 (E.D. La. 2014) (same); Dorsett v. Sandoz, Inc.,

  699 F. Supp. 2d 1142, 1157-60 (C.D. Cal. 2010) (same). In none of these cases did the

  court find denial of a citizens’ petition sufficient evidence to show what FDA would have

  done, based on detailed factual background placing those events in context. Rather, in

  each case, the court found that upon examination of the full record, including the specific

  phrasing of the citizens’ petition and the specific nature and basis of FDA’s rejection of

  the petition, the manufacturer had failed to carry its burden to show that the change at

  issue in the case would have been rejected. Of greatest significance here, in the

  governmental opioids litigation in New York, where Defendants offered the same




                                               20
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 45 of 160. PageID #: 24561




  argument based on the very same PROP petition at issue here, the court specifically

  found that, at the pleading stage, “the FDA’s ‘less-than-definitive determination’

  concerning PROP’S request for maximum dosage and treatment duration does not meet

  the Wyeth standard of clear evidence.” See In re Opioid Litigation, 2018 WL 3115102, at

  *9.

         This Court should reach the same conclusion. Without a factual record and

  without discovery, the Court cannot determine precisely what the FDA considered and

  rejected in connection with the PROP petition. And because rejection of a citizens’

  petition is not necessarily sufficient, even at the summary judgment stage, to show that

  FDA would have prevented a manufacturer from making a particular change to its label,

  let alone a change to its marketing representations, it is all the less sufficient to make that

  showing by clear evidence on a motion to dismiss.

                 2.      The Tribe’s Claims Involving Generic Drugs Are Not
                         Preempted.

         The Generic Manufacturers’ contention that the Tribe’s fraud- and marketing-

  based claims are preempted as to them because of the separate regulatory obligations of

  generic manufacturers should also be rejected. As do the brand-name Manufacturer

  Defendants, the Generic Manufacturers assert implied “conflict” or “impossibility”

  preemption, pursuant to which state laws that conflict with federal law are preempted.

  Gen. Mem. at 9-13. But, even under the different regulatory scheme for generic drugs,

  the Generic Manufacturers cannot show that the state-law duties that give rise to

  Plaintiff’s claims conflict with any federal statutory or regulatory duties, or that it was

  impossible for them to comply with both. No federal law or regulation required the

  Generic Manufacturers to make false and fraudulent misrepresentations that had not been



                                                21
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 46 of 160. PageID #: 24562




  approved by the FDA and did not appear in the approved drug labels.10 Nor did any

  federal law or regulation prevent the Generic Manufacturers from affirmatively providing

  doctors and patients with adequate and truthful warnings that did not differ in content

  from the approved warnings in the labels, as Plaintiff alleges they ought to have done.

           The Generic Manufacturers rely on Mensing, where the Court found that failure-

  to-warn claims requiring warnings in a generic drug label different from those contained

  in the branded label are preempted because, under the applicable regulatory scheme,

  generic manufacturers (unlike brand-name manufacturers) are not permitted to make

  unilateral changes to the label. Instead, manufacturers of generic drugs are required to

  maintain a label identical to that of the branded equivalent. 564 U.S. at 613-14. Because

  generic manufacturers are specifically prohibited from changing the approved labels, it

  would be impossible for them to comply with state-law obligations that require such

  changes. For that reason, a manufacturer of a branded drug may be held liable for failing

  to add a needed warning to its label, but the manufacturers of the corresponding generic

  drug, who are not permitted to make such changes, may not be.

            The Generic Manufacturers rest their argument on the “duty of sameness”

  recognized in Mensing, arguing that because they were precluded from changing their

  labels for their opioid drugs, it would have been impossible for them to comply with the

  duties Plaintiff seeks to impose on them here.11 But Mensing is of no use to the Generic


  10
    The Generic Manufacturers do not argue that claims relating to fraudulent misrepresentations are
  preempted, but deny that they made any such misrepresentations. As discussed below, for purposes of this
  motion, Plaintiff’s allegations that they did must be accepted as true.
  11
     The Generic Manufacturers also rely on Mutual Pharmaceutical Co. v. Bartlett, 570 U.S. 472 (2013), but
  Bartlett adds little, if anything, to the analysis here. In Bartlett, the Supreme Court held that a manufacturer
  precluded from altering the label for a generic drug to add an adequate warning could not be required by
  state law to stop selling the product altogether. Id. at 488-90. Plaintiff here does not allege that the Generic
  Manufacturers should have stopped selling their products.



                                                        22
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 47 of 160. PageID #: 24563




  Manufacturers because Plaintiff’s claims do not rest on the contention that these

  defendants ought to have changed their labels or to have marketed their drugs with any

  statements in conflict with their approved labels. And the Sixth Circuit has already held

  that only failure-to-warn claims that would require different or additional warnings are

  preempted under Mensing. Fulgenzi v. PLIVA, Inc., 711 F.3d 578, 583-85 (6th Cir.

  2013).

           In Fulgenzi, the plaintiff alleged that the defendant generic drug manufacturer

  failed to provide an adequate warning when it failed to update its label to include

  information that had been added to the label for the brand-name equivalent. 711 F.3d at

  581-82. The defendant argued (and the district court held) that the claims were

  preempted under Mensing on the theory that all claims that sound in failure-to-warn are

  preempted to the extent asserted against manufacturers of generic drugs. See Fulgenzi v.

  PLIVA, Inc., 867 F. Supp. 2d 966, 971 (N.D. Ohio 2012), rev’d, 711 F.3d 578 (6th Cir.

  2013). The Sixth Circuit reversed. In doing so, the Court held that, under Levine and

  Mensing, “the key question is ‘whether the private party could independently’ comply

  with its state duty.” Fulgenzi, 711 F.3d at 584 (quoting Mensing, 564 U.S. at 620).

  Looking at the specific facts of the case before it, the Sixth Circuit found that, in

  Fulgenzi, the defendant could have independently updated its labeling to match that of

  the branded manufacturer (and indeed had a duty to do so). Id. Because it was not

  impossible for the defendant to comply with both its state-law duties to warn and its

  federal duty of sameness, the claim was not preempted. Under Fulgenzi, the court cannot

  simply assume that claims against generic manufacturers that involve warnings are




                                                23
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 48 of 160. PageID #: 24564




  preempted. Rather, the court must analyze the particular facts of the case to determine

  whether compliance with both federal and state law is impossible.

         When Plaintiff’s claims against the Generic Manufacturers are analyzed as

  required under Fulgenzi, it is clear they are not preempted. As pertinent here, Plaintiff

  contends that the Generic Manufacturers were obliged to correct or counter the serious

  and pervasive misrepresentations in the market through “Dear Doctor” letters or other

  forms of communication with doctors. The Generic Manufacturers argue that they are

  precluded from sending such letters because all such communications are considered to

  be part of a drug’s label. This argument is beside the point because the corrective

  disclosures at issue here need not have conflicted with or differed in content from any

  information on the FDA-approved label for any opioid.

         This is so because the Marketing Defendants’ fraudulent promotion neutralized

  the warnings on the label without appearing to contradict them. The labels said these

  drugs are addictive. The Marketing Defendants’ promotion said: but not if you are taking

  them for pain. See FAC ¶ 150 (“Through their marketing efforts, the Marketing

  Defendants advanced the idea that the risk of addiction is low when opioids are taken as

  prescribed by ‘legitimate’ pain patients.”). The defendants’ marketing campaign told

  doctors and patients that the addiction warnings on the labels didn’t apply to them if they

  were genuinely taking the drugs for pain. But, as alleged in the Complaint, this was false.

  There was no research then, or now, that supports the idea that patients taking opioids for

  pain can’t or won’t get addicted. Id. at ¶ 152. And by convincing doctors that addiction

  was only a risk for drug-seekers, for addicts, for people who already had substance abuse

  problems, thus nullifying the warning on the label, the Marketing Defendants persuaded



                                              24
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 49 of 160. PageID #: 24565




  them that the risk-benefit calculation would almost always come out in favor of using

  opioids.

         In addition, Marketing Defendants over-stated the benefits of opioids for long-

  term use. See FAC. ¶¶ 225-236 (defendants falsely claimed that opioid doses could be

  increased without limits), ¶¶ 237-53 (defendants overstated the extent to which long-

  term opioid use improves functioning), ¶¶ 254-263 (defendants falsely claimed that

  opioids are safer than other therapies). Given the addiction risks, given the problems of

  tolerance, dependence, and sedation, especially with escalating doses, the truth was that

  opioids are only rarely the right choice for chronic pain. But doctors couldn’t make that

  assessment, because the Marketing Defendants’ advertising told them that these drugs

  had been shown to be “highly effective” for chronic use, and that these drugs were

  actually safer than non-opioid pain relievers.

         None of this was true – and none of it was on the label, so the duty of “sameness”

  did not apply to these statements. The Generic Manufacturers – who have the same duty

  to warn about the dangers of their products as branded manufacturers do, so long as they

  are able to do without violating federal law – knew that the market had been saturated

  with falsehoods about opioids and that these falsehoods undermined the labels that were

  supposed to warn doctors about the true risks of these drugs. In order to safely and

  carefully market these dangerous products, the Generic Manufacturers were required, to

  the extent possible, to correct these dangerous falsehoods. Such correctives would not

  have needed to contradict or even supplement the label; instead, they would simply have

  reinforced and reinstated the impact of the warnings that were already there. Nor would

  such correctives have implied a therapeutic difference between the branded and generic



                                               25
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 50 of 160. PageID #: 24566




  versions of the drugs because the correctives would merely have reiterated information

  that was already contained in the labels for both branded and generic opioids.

         Unable to show that any particular corrective at issue in this case would have

  contradicted or been in addition to any statement on the label for the opioid products,

  Generic Manufacturers instead suggest that there is a blanket rule prohibiting

  manufacturers of generic drugs from making any “additional disclosures” (e.g., sending

  “Dear Doctor” letters) but this argument makes no sense. As these defendants

  themselves recognize, the only distinct limitations on generic manufacturers relate to

  their duties to maintain labels identical to those of the branded equivalent drug. Where,

  as here, Plaintiff’s claims do not require warnings different from, or in addition to, the

  warnings on the labels, but rather call for reiteration and emphasis of the warnings

  already there, there can be no violation of the duty of sameness and thus no conflict

  between state and federal law. See Fulgenzi, 711 F.3d at 585-86; Teva Pharmaceuticals

  USA, Inc. v. Superior Court, 217 Cal. App. 4th 96, 114-15 (2013), cert. denied, 135 S. Ct.

  1152 (2015).

         Defendants’ argument – that generic manufacturers are precluded from sending

  “Dear Doctor” letters, even when the letters provide information identical to that on the

  branded-drug label – was specifically rejected by the California Court of Appeals in Teva

  v. Superior Court, 217 Cal. App. 4th 96. There, the court held that federal regulations do

  not prohibit a generic drug manufacturer from sending out a “Dear Doctor” letter or other

  communication to doctors about its generic drug products, so long as the information in

  the communication is also contained in the name-brand product label. Id. at 112-15.

  Citing the Sixth Circuit’s Fulgenzi opinion, the Teva court looked at the specifics of what




                                               26
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 51 of 160. PageID #: 24567




  the plaintiff alleged the defendant should have done and determined that, at least with

  respect to providing information that was contained in the brand-name label, the

  plaintiff’s claims were not preempted. Id. at 106-108.

         This is also the position of the United States government (and, therefore, the

  FDA). At the invitation of the United States Supreme Court, the United States submitted

  an amicus brief with regard to Teva’s petition for certiorari to the high Court with

  respect to the decision of the California Court of Appeals. In that amicus brief, the

  government set forth its view that federal drug regulations prohibit “Dear Doctor” letters

  and similar communications from generic manufacturers only to the extent that such

  communications include new or additional safety information not contained within the

  name-brand label. As set forth in the amicus brief, the Mensing decision goes no further

  and does not provide a blanket rule of preemption. See Brief for United States as Amicus

  Curiae, Teva Pharmaceuticals USA, Inc. v. Superior Court of California, Orange

  County, No. 13-956, 2014 WL 7169712, at *20-22 (Dec. 16, 2014). As urged by the

  United States, the Supreme Court denied the petition, and the decision of the California

  Court of Appeals on this issue stands. Because the Teva decision involved

  communications to health-care providers containing information that was on the brand-

  name label, it is on point here where the Generic Manufacturers failed to provide

  corrective disclosures reiterating warnings that were already on the brand-name label.

  Consistent with the holding of Fulgenzi, this Court should follow the California Court of

  Appeals in Teva and the argument set forth by the United States in its amicus brief and

  reach the same conclusion.




                                               27
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 52 of 160. PageID #: 24568




         The authorities cited by the Generic Defendants are not to the contrary. In

  Strayhorn v. Wyeth Pharmaceuticals, Inc., the plaintiffs argued that “the Generic

  Manufacturers, on their own initiative, could have distributed ‘Dear Health Care

  Professional’ or “Dear Doctor” letters to medical professionals to warn them of the

  dangers of metoclopramide that were not adequately communicated on the drug’s label.”

  737 F.3d 378, 391 (6th Cir. 2013) (emphasis added). The court found the claim

  preempted under Mensing because letters such as the ones the Strayhorn plaintiff

  proposed would be different from the warnings in the labelling of the brand-name drug.

  The court had no occasion to consider a claim based on “Dear Doctor” letters that would

  contain only information already found in the label, nor did it have the benefit of the

  amicus brief filed in the Teva litigation one year later.

         In re Darvocet, Darvon, and Propoxyphene Products Liability Litigation, 756

  F.3d 917 (6th Cir. 2014), is no more helpful to the Generic Manufacturers. There, the

  plaintiff made only a “perfunctory” argument, in a footnote, that the defendants should

  have sent “Dear Doctor” letters or similar communications. Id. at 932. The Court held

  that the argument had been forfeited or waived by the plaintiffs’ failure to develop it. Id.

  Moreover, the court grounded its ruling with respect to the “failure to communicate”

  claim on the “duty of sameness.” Id. at 932-33. Because that duty is not violated here,

  Darvocet is inapplicable.

         The Generic Manufacturers also rely on McDaniel v. Upsher-Smith Laboratories,

  Inc., 893 F.3d 941, reh’g en banc denied (6th Cir. 2018), but this case is even more

  inapplicable. In McDaniel, the plaintiff alleged the defendants had violated FDA

  regulations that required them to distribute a medication guide. Id. at 943. The plaintiff




                                                28
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 53 of 160. PageID #: 24569




  did not allege, and was unable to identify, any parallel state-law duty that would have

  required distribution of the guide. Id. The court held that the claim was preempted under

  Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341 (2001), because only the FDA

  could sue to enforce the regulations. Here, by contrast, Plaintiff asserts state-law claims

  sounding in fraud and does not seek to enforce FDA regulations. McDaniel, 893 F.3d at

  944. Nothing in McDaniel addresses the extent to which manufacturers of generic drugs

  may communicate with health-care providers without violating the duty of sameness with

  respect to the labelling of the drugs.12

  II.      DEFENDANTS’ GENERAL DEFENSES SHOULD BE REJECTED
           Defendants assert a series of generalized defenses they contend require dismissal

  of all of Plaintiff’s claims. None of these defenses has merit.

           A.       Plaintiff’s Claims Are Not Barred by the Statute of Limitations.

           The Manufacturers argue that the Plaintiff’s claims are barred by the statute of

  limitations. Mfr. Mem. at 58-66. Plaintiff incorporates Summit County’s response on this

  issue. Summit Opp. Mem. at 122-128.

           First, as a general matter, the Plaintiff is a sovereign authority and possesses the

  common law privilege of nullum tempus – which precludes the statute of limitations

  defense from being raised by a defendant whose conduct is alleged to have injured the

  sovereign. See Pequot Pharm. Network v. Connecticut Hospice, Inc., No. CV-GC-2015-



  12
     The Generic Manufacturers argue, in footnote 5 of their motion to dismiss the Muscogee Nation
  Complaint (adopted by reference in the Blackfeet Tribe’s motion to dismiss at 1, 3-4), that Plaintiff’s RICO
  Opioid Marketing Enterprise claim is precluded by analogy to federal preemption. Because, for the reasons
  stated in the text, there is no federal preemption here, there can be no analogous preclusion. But even if
  that were not so, a decision on whether a federal claim is precluded by the provisions of another federal
  statute requires a statutory analysis that may be informed by concepts of preemption. Pom Wonderful LLC
  v. Coca-Cola Co., 134 S. Ct. 2228, 2236 (2014). Here, the Generic Manufactures have not undertaken the
  statutory analysis required to assert an argument that the FDCA precludes a RICO claim.



                                                      29
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 54 of 160. PageID #: 24570




  104, 2015 WL 9601099, at *6-7 (Mash. Pequot Tribal Ct. Dec. 10, 2015) (“as a general

  matter, this Court holds that the Mashantucket Pequot Tribal Nation possesses the

  common law privilege of nullum tempus.”); and State ex rel. Condon v. City of Columbia,

  528 S.E.2d 408, 412 (S.C. 2000). This alone is sufficient to defeat the statute of

  limitations challenge.

          Second, Plaintiff’s FAC alleges an abatable continuing nuisance. Under Montana

  law the statute of limitations on equitable nuisance claims “is tolled until the source of

  the injury is abated.” Knight v. City of Missoula, 827 P.2d 1270, 1277 (Mont. 1992); see

  also Graveley Ranch v. Scherping, 782 P.2d 371 (Mont. 1989). In this case, the nuisance

  has not been abated. Thus, the Plaintiff’s equitable nuisance claims are not time-barred.

          Third, the statute of limitations is an affirmative defense, such that dismissal at

  this stage is rarely appropriate. See Fed. R. Civ. P. 8(c)(1); United States v. N. Trust Co.,

  372 F.3d 886, 888 (7th Cir. 2004) (“Dismissal under Rule 12(b)(6) was irregular, for the

  statute of limitations is an affirmative defense.”) (citing Rule 8(c)). It is only when the

  “allegations in the complaint affirmatively show that the claim is time-barred” that

  dismissal under Rule 12(b)(6) is appropriate, Cataldo v. US Steel Corp., 676 F.3d 542,

  547 (6th Cir. 2012), especially when, as here, factual disputes exist as to the application

  of the discovery rule. E.g., Akkerman v. Mecta Corp., 72 F. App’x 652 (9th Cir. 2003)

  (reversing dismissal and reasoning that jury could find that the discovery rule tolled

  limitations).

          As set forth below, the Tribe’s allegations in the FAC do not affirmatively show

  that the “vast majority” of its claims are time-barred, even if what Manufacturers describe

  as “publicly available material” (FDA’s regulatory actions, articles related to opioids and




                                                30
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 55 of 160. PageID #: 24571




  opioid addiction, marketing efforts regarding opioids, and previously filed Complaints

  pertaining to opioids) are considered.13 In fact, none of the Tribe’s claims are time-barred

  and Defendants’ motion to dismiss should be denied.

                    1.       The Discovery Rule Applies to Plaintiff’s Claims.

           Montana law controls when the statute of limitations begins to run. Montana

  Section 27-20-102(3) provides the basis for a version of the “discovery rule” through a

  tolling provision and sets forth that:

           The period of limitation does not begin on any claim or cause of action for
           an injury to person or property until the facts constituting the claim have
           been discovered or, in the exercise of due diligence, should have been
           discovered by the injured party if:

           (a) the facts constituting the claim are by their nature concealed or self-
           concealing; or

           (b) before, during, or after the act causing the injury, the defendant has
           taken action which prevents the injured party from discovering the injury
           or its cause.

  Under Montana law, “[a]t what point [plaintiff] discovered or should have discovered

  through due diligence the negligence of [defendant]” is a question that must be submitted

  to a jury for determination. McCormick v. Brevig, 980 P.2d 603, 620 (Mont. 1999).

           Plaintiff has sufficiently pleaded that the Marketing Defendants (as well as the

  other Defendants) have taken actions that prevented the Tribe from discovering the injury

  or its cause. Plaintiff alleges the existence of a coordinated and concealed Opioid

  Marketing Enterprise, which included: (i) payment by manufacturers of rebates and/or




  13
    Moreover, dismissal is not appropriate to the extent that Defendants are seeking to use the statute of
  limitations to limit admissible evidence or claims periods with respect to a claim that is otherwise valid.
  See Charles v. Front Royal Volunteer Fire & Rescue Dep't, Inc., 21 F. Supp. 3d 620, 629 (W.D. Va. 2014)
  (Rule 12(b)(6) motion “may be used only to dismiss a ‘claim’ in its entirety”); Janis v. Nelson, No. CR. 09-
  5019-KES, 2009 WL 4505935, at *7 (D.S.D. Nov. 24, 2009) (same).



                                                      31
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 56 of 160. PageID #: 24572




  chargebacks to the Distributor Defendants, (FAC ¶ 515) (ii) collaboration to ensure that

  the opioid production and procurement quotas set by the DEA remained high, (FAC ¶

  535); (iii) efforts to surreptitiously undermine policies and prescribing recommendations

  that limited opioid use, (FAC ¶¶ 773-775) and (iv) creation and distribution of a body of

  misleading medical literature, advertising, training materials, and CMEs and speaker

  presentations. FAC ¶ 779. The scheme alleged by Plaintiff could not have succeeded

  without the close collaboration of the Marketing Defendants, Distributor Defendants,

  Front Groups, and KOLs, and this close collaboration was concealed from Plaintiff and

  the public. FAC ¶ 768.

          Furthermore, Plaintiff sufficiently alleges that the Marketing Defendants

  disseminated many of their misrepresentations through the guise of objective third

  parties, KOLs and Front Groups, while hiding the fact that the Marketing Defendants

  were funding them and controlling their messaging. FAC ¶ 320-363 (discussing Front

  Groups); FAC ¶ 364-398 (discussing KOLs). Marketing Defendants’ role in directing the

  Front Groups was hidden from the public and intended to stay that way.14

          Additionally, when some information about the dangers of opioids began to filter

  through these defendants’ pervasive misrepresentations, the Marketing Defendants

  responded by (1) blaming a few “bad actor” physicians and patients, see FAC ¶ 560, and

  (2) claiming that their new, patent-protected formulations of opioid medication would

  deter abuse and resist tampering, see FAC ¶¶ 276-317.




  14
    Indeed, one major front group, the American Pain Foundation, disbanded as soon as its financial ties to
  the Manufacturer Defendants became public. FAC ¶ 332.



                                                      32
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 57 of 160. PageID #: 24573




           Finally, Marketing Defendants (along with Distributor Defendants) also hid their

  lack of cooperation with law enforcement, while making public assurances that they were

  committed to working with public authorities to preventing diversion. FAC ¶ 580-585.

  Purdue, for example, asserted a need for secrecy about its supposed anti-diversion

  programs, stating that “[i]mproperly disclosing the workings of these programs is

  irresponsible and only aids those seeking to divert and abuse prescription opioids,

  potentially worsening a national health crisis.” FAC ¶ 581. Based on all these

  allegations, Plaintiff alleges that it did not discover the nature and magnitude of

  Defendants’ misconduct, nor could they have acquired such knowledge earlier through

  the exercise of reasonable diligence. FAC ¶ 726-727. No more is required at the pleading

  stage.

           Indeed, under Montana’s tolling statute, this issue should be submitted to the

  finder of fact to determine whether this information was of such a public nature that a

  reasonable person would have known, or by the exercise of reasonable diligence should

  have known, of the elements of a possible cause of action and at what point a reasonable

  person would have made such a discovery.

           The Defendants cannot escape the application of the discovery rule in this case by

  reference to what they describe as publicly available material (FDA’s regulatory actions,

  articles related to opioids and opioid addiction, and marketing efforts regarding opioids)

  contained within Plaintiff’s Complaint. Manf. Mem. at 62-63. Nor can they escape the

  application of the discovery rule based on the City of Chicago and Santa Clara lawsuits.




                                               33
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 58 of 160. PageID #: 24574




  Manf. Mem. at 64-66. The cases relied on by the Manufacturer Defendants are easily

  distinguishable.15

                    2.       The Continuous Violations Doctrine Applies to Plaintiff’s
                             Claims.

           As noted above, the statute of limitations is tolled with regard to Plaintiff’s claim

  for equitable relief as a result of a continuing, abatable nuisance. Furthermore, the

  continuous violations doctrine extends the statute of limitations for Plaintiff’s other

  claims. For instance, the conduct constituting civil RICO violations is likewise

  continuing. Plaintiff incorporates Summit County’s response on the continuous

  violations doctrine. Summit Opp. Mem. at 126-28.

           Montana has adopted the continuous tort theory for nuisance and negligence

  claims. Christian v. Atlantic Richfield Co., 358 P.3d 131 (Mont. 2015). Montana courts

  have held that where a nuisance is of a continuing nature, a new cause of action accrues

  each time the nuisance causes damage and the statute of limitations period for the last



  15
     Reaves v. Cable One, Inc., No. 1:11-cv-03859-MHH, 2015 WL 12747944, *3 (N.D. Ala. Mar. 16, 2015)
  is distinguishable as the class action cases involved in it were based on public disclosures to Congress in
  August 2008 that the defendant had violated the Electronic Communications Privacy Act (“ECPA”) by
  installing spyware devices on its broadband networks and funneling subscribers’ internet communications
  to a third-party advertisement service company. The action in question was commenced in 2011. The
  district court determined that it need not guess when a reasonably diligent plaintiff would have discovered
  the facts constituting Cable One’s alleged ECPA violation because a group of plaintiffs had brought a class
  action in November 2008 based on the 2008 public disclosure of the violation. In re Wells Fargo Mortg.-
  Backed Certificates Litig., No. 09-cv-013756-LHK, 2010 WL 4117477, at *1-2 (N.D. Cal. Oct. 19, 2010),
  is also distinguishable. Plaintiffs there conceded that their claims were barred unless the statute of
  limitations had been tolled, pursuant to American Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974),
  by the filing of a prior class action. The court found that because the prior putative class plaintiff lacked
  standing to bring the claim, the prior action did not toll the statute for other class members. Plaintiffs’
  concession that their claims were barred absent American Pipe tolling makes the case completely
  inapplicable here. Thieltges v. Royal Alliance Assocs., Inc., 334 P.3d 382, 384 (Mont. 2014) does not
  support the Manufacturer Defendants’ contention that the Tribe could have readily discovered the relevant
  facts through public records regarding the Chicago and Santa Clara lawsuits. Thieltges merely held that a
  public records search of a named defendant, Peterson, whom the Complaint identified as a registered
  securities salesperson in Montana, would have disclosed that Peterson was registered as a salesperson with
  Royal Alliance, thus, no information was concealed with regard to Royal Alliance and the statute of
  limitations was not tolled as to any claims against Royal Alliance.



                                                       34
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 59 of 160. PageID #: 24575




  possible cause of action begins to run from the date the nuisance is removed. See

  Graveley, 782 P.2d at 373; and Shors v. Branch, 720 P.2d 239 (Mont. 1986). Under

  Montana law, “if the injury is of a nature that may be considered continuing, the plaintiff

  may allege an appropriate theory of the defendant’s liability for that injury.” Christian,

  358 P.3d at 150.

          The continuing tortious and unlawful conduct by the Defendants has caused a

  repeated and continuous injury. The tort is not completed and the wrongdoing and

  unlawful activity by Defendants has not ceased. The damages have not occurred all at

  once but continue to occur and indeed have increased as time progresses. Plaintiff’s

  Complaint alleges appropriate theories of liability associated with its ongoing and

  continuous injury such that the continuous violation doctrine applies to those claims and

  tolls the statute of limitations.

          B.      The Free Public Services Doctrine Does Not Bar Plaintiff’s Claims.

          The Manufacturer and Pharmacy Defendants contend that the Tribe cannot

  recover the costs of providing public services under the Free Public Services Doctrine.

  Defendants, however, cite to no Montana law in support of their position. Mfr. Mem. at

  23-25; Pharm. Mem. at 19. Nor could they because Montana has not adopted the

  doctrine. Rather, Pharmacy Defendants merely cite to City of Flagstaff v. Atchison,

  Topeka & Santa Fe Railway Co., 719 F.2d 322, 323 (9th Cir. 1983), and the defense

  briefing filed in the Chicago Opioid litigation. In response, Plaintiff incorporates by

  reference the Chicago Opp. Mem. at 36-37 and the Cabell Opp. Mem. at 36-38, and notes

  that even if it were applicable in Montana, it would not bar the Tribe’s claims. Courts

  have rejected the application of the doctrine in cases where the repeated course of

  conduct by the Defendants required the municipality to expend substantial governmental


                                               35
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 60 of 160. PageID #: 24576




  funds on a continuous basis. See Cabell Opp. Mem. at 38. Thus, the free public services

  doctrine would, nevertheless, not apply to the extraordinary, unanticipated public costs

  associated with the opioid crisis which resulted from the Defendants’ continuous course

  of conduct.

           This Court should decline Defendants’ invitation to create the municipal cost

  recovery rule in Montana, and then expand the rule to apply it in these circumstances. See

  City of Everett v. Purdue Pharma L.P., No. C17-209RSM, 2017 WL 4236062, at *7

  (W.D. Wash. Sept. 25, 2017) (declining to find the Free Public Services Doctrine

  applicable in similar circumstances against some of the same defendants based on the

  same course of conduct); In re Opioid Litigation, No. 400000/2017, 2018 WL 3115102,

  at *22 (N.Y. Sup. Ct. June 18, 2018) (same).

           C.       The Blackfeet Tribe Plausibly Alleges that Defendants Proximately
                    Caused the Tribe’s Injuries.

           The Manufacturers argue that Plaintiff has failed to plead proximate cause for any

  of its claims, but ignore almost entirely the quite different standards applicable to

  proximate cause for a RICO claim and proximate cause for the remainder of the Tribe’s

  claims. For their part, the Distributors purport to recognize that different standards apply,

  but treat the Montana-law standard applicable to Plaintiff’s state-law claims only

  cursorily. Defendants’ arguments fail in any event, because the Tribe has sufficiently

  pleaded that Defendants’ conduct caused Plaintiff’s injury under either the RICO

  standard or the Montana common law standard.16


  16
    Applying the laws of their respective jurisdictions, other courts hearing governmental-plaintiff opioid
  cases have rejected Defendants’ proximate cause argument. See, e.g., State of New Hampshire v. Purdue
  Pharma L.P., et al., No. 217-2017-CV-402, Order (N.H. Sup. Ct. September 18, 2018) (filed as Exhibit 1
  hereto); Commonwealth of Ky. v. Endo Health Solutions, Inc. et al., C.A. No. 17-CI-1147, Order (Franklin,
  Ky. Circuit Court, July 10, 2018) (filed as Exhibit 2 hereto); State of Alaska v. Purdue Pharma, L.P., et al.,
  Case No. 3AN-17-09966CI, Order (Case Motion #8) (3d Jud. Dist. Alaska July 12, 2018) (filed as Exhibit


                                                       36
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 61 of 160. PageID #: 24577




                    1.       Plaintiff Sufficiently Pleads Proximate Cause under Montana
                             Law.

                             a.       Under Montana Law, Proximate Causation Is
                                      Established if Injury Is the Foreseeable Result of
                                      Defendants’ Actions.

           Under Montana law, proximate cause depends on foreseeability. “A defendant is

  liable for his wrongful conduct if it is reasonably foreseeable that plaintiff’s injury may

  be the natural and probable consequence of that conduct.” Thayer v. Hicks, 793 P.2d

  784, 795 (Mont. 1990); see also Oberson v. U.S. Dep’t of Agric., Forest Serv., 514 F.3d

  989, 1000 (9th Cir. 2008) (quoted below) (citing Busta v. Columbus Hosp. Corp., 916

  P.2d 122, 135 (Mont. 1996)). “In other words, if one of the reasons that makes a

  defendant’s act negligent is a greater risk of a particular harmful result occurring, and that

  harmful result does occur, the defendant is generally liable. The test is based on

  foreseeability.” Cusenbary v. Mortensen, 987 P.2d 351, 355 (Mont. 1999). It is

  sufficient that defendants can reasonably foresee some injury as a result of their actions,

  even if not the precise injury a plaintiff suffers. In other words, “the inquiry must be

  whether the defendant could have reasonably foreseen that his or her conduct could have

  resulted in an injury to the plaintiff. The particular resulting injury need not have been


  3 hereto); In re Opioid Litigation, No. 400000/2017 (N.Y. Sup. Ct. July 17, 2018) (filed as Exhibit 4
  hereto); State of Ohio ex rel. Mike DeWine, Ohio Attorney General v. Purdue Pharma L.P., et al., Case No.
  17 CI 261, Decision and Entry (Aug 22, 2018) (filed as Exhibit 5 hereto); City of Everett v. Purdue Pharma
  L.P., supra, 2017 WL 4236062; accord Travelers Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th
  1026 (Cal. Ct. App. 2017). At least one court has held, in public nuisance cases, that “where the welfare
  and safety of an entire community is at stake, the cause need not be so proximate as in individual
  negligence cases.” N.A.A.C.P. v. AcuSport, Inc., 271 F. Supp. 2d 435, 497 (E.D.N.Y. 2003); City of New
  York v. Beretta U.S.A. Corp., 315 F. Supp. 2d 256, 282 (E.D.N.Y. 2004) (“If a defendant’s conduct
  ‘remains the dominant and relevant fact without which the public nuisance would not have resulted where
  and under the circumstances it did,’ it may be held liable for setting in motion or being a force in the
  sequence of events resulting in injury to the public.”) (internal citations omitted). Liability turns on
  whether the harm is a foreseeable result of defendants’ action and “[i]ntervening actions, even multiple or
  criminal actions taken by third parties, do not break the chain of causation if a defendant could reasonably
  have expected their nature and effect.” City of New York, 315 F. Supp. 2d at 282 (internal citations
  omitted).



                                                      37
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 62 of 160. PageID #: 24578




  foreseeable.” Hinkle v. Shepherd Sch. Dist. No. 37, 93 P.3d 1239, 1245 (Mont. 2004);

  Oberson, 514 F.3d at 1000.

          Moreover, under Montana law, the question of proximate cause is a “fact-

  intensive inquiry” that “must be left to the fact-finder for resolution,” except in the rare

  case where “reasonable minds may reach but one conclusion.” Fisher v. Swift Transp.

  Co., Inc., 181 P.3d 601, 610-11 (Mont. 2008) (citing Prindel v. Ravalli Cty., 133 P.3d

  165, 180 (Mont. 2006)); see also Bassett v. Lamantia, 417 P.3d 299, 310 (Mont. 2018)

  (observing that it is the jury’s job to “consider[] foreseeability to determine whether the

  defendant’s conduct caused the plaintiff’s injury”); McNair v. Berger, 15 P.2d 834, 836

  (Mont. 1932) (“Whether the injury sustained is the proximate consequence of defendant’s

  wrongful act is ordinarily a question for the jury . . . .”).

          Thus, the relevant question for proximate cause is not how many sub-steps the

  Defendants can rhetorically divide the causal chain into; it is whether a reasonable fact-

  finder could find that the Defendants could foresee that the Tribe’s “injury may be the

  natural and probable consequence of [their] conduct,” Thayer, 793 P.2d at 795; see also

  City of Everett, 2017 WL 4236062 at *3 (“The Court finds that what Purdue characterizes

  as nine links of causation could just as easily be characterized as four. . . . Although not

  as direct as a car accident or slip-and-fall case, this causal chain is still a ‘direct

  sequence,’ and it is facially plausible that the involvement of third parties, even criminals,

  were reasonably foreseeable given the extensive facts of Purdue’s knowledge in the

  pleadings”); Travelers v. Actavis, 16 Cal. App. 5th at 1030 (“The California Action and

  the Chicago Action do not create potential for liability for an accident because they are

  based, and can only be read as being based, on the deliberate and intentional conduct of




                                                 38
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 63 of 160. PageID #: 24579




  Watson that produced injuries--including a resurgence in heroin use--that were neither

  unexpected nor unforeseen”). And, as described below, the Tribe alleges facts

  evidencing just that.

                            b.       The Tribe Alleges in Detail How Its Injuries Were
                                     Foreseeable to Defendants.

          Here, the Blackfeet Tribe plausibly alleges that but for Defendants’ actions in

  negligently and fraudulently marketing opioids, and failing to report and prevent

  diversion, the Tribe would not have incurred the costs of widespread addiction and

  dependence—all of which was foreseeable to Defendants. See FAC ¶¶ 434-435, 459-68,

  474-76; 478-79; 540-42; 545; 549-63; 586-89; 651, 654-80; 682-90; 694-700; cf. Summit

  Opp. Mem. at § I.C.2.a.

          The likelihood of injury to the Blackfeet Tribe was foreseeable to all Defendants.

  Marketing Defendants misrepresented information they controlled from the time each

  prescription opioid pill was produced to the present, Distributor Defendants failed to

  fulfill their duty to prevent diversion by tracking and reporting suspicious orders, and

  Supply Chain Defendants failed to put proper control systems in place to do so. All

  Defendants had knowledge about the risks and effects of addiction to the powerful

  prescription painkillers they manufactured and distributed, respectively. The Complaint

  details extensive allegations that the Defendants’ breaches “foreseeably and substantially

  caused [their] injur[ies],” and thus the Tribe has properly alleged proximate cause.

  Fisher, 181 P.3d at 609 (internal quotation marks omitted).17


  17
    Montana law applies to all of the Blackfeet Tribe’s state-law claims, while Sixth Circuit law applies to
  the Tribe’s federal RICO claim and its federal nuisance claim. In re Vertrue Mktg. & Sales Practices
  Litig., 712 F. Supp. 2d 703, 712 n.4 (N.D. Ohio 2010) (“In an MDL proceeding, the transferee court applies
  the federal law of the circuit in which it is located.”), aff’d, 719 F.3d 474 (6th Cir. 2013). The Tribe’s
  establishment of proximate cause for its RICO claim is explained in the Summit Opposition and addressed
  below. See supra § IV.C. Regardless, similar to Montana law, RICO proximate cause also considers


                                                     39
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 64 of 160. PageID #: 24580




            The Complaint also describes in detail how all Defendants in the supply-chain

  shared legal responsibility for taking specific steps to prevent diversion, knew of the

  potential consequences of diversion, and nonetheless intentionally marketed and/or

  distributed opioids without regard to these known risks because it profited them

  enormously. See, e.g., FAC ¶¶ 227-47. The Complaint alleges that the Manufacturer and

  Distributor Defendants knew the information that “would have alerted them to potentially

  suspicious orders.” FAC ¶ 540. This includes the volume (¶ 541) and pattern (¶¶ 543,

  561) of opioid orders being placed and filled. Defendants were thus aware of suspicious

  orders that they were obligated to report and act upon. FAC ¶ 549. The DEA repeatedly

  warned Defendants of the risk of “enormous harm” caused by diversion, id. at ¶¶ 502-03,

  and yet multiple Defendants have admitted that their monitoring systems were flawed and

  should have detected certain orders that they shipped as suspicious, id. at ¶¶ 565-572,

  621. 18

            Plaintiff’s allegations are precisely the kind that satisfy Montana’s test for

  proximate causation in a multi-cause case, which hinges entirely on foreseeability.

  Oberson, 514 F.3d at 1000 (“Proximate cause is established when a party could

  reasonably foresee that its conduct would result in injury.”) (citation omitted). In

  Oberson, the Ninth Circuit applied Montana law and found that risks are foreseeable

  when targeted regulations, established risk-prevention processes, and prior incidents



  foreseeability. See Wallace v. Midwest Fin. & Mortg. Servs., Inc., 714 F.3d 414, 419–21 (6th Cir. 2013).
  None of the Defendants clearly challenge the Tribe’s federal nuisance claim on proximate cause grounds.
  See Memorandum in Support of Distributors’ Motion to Dismiss First Amended Complaint, ECF No. 23
  (“Dist. Mem.”) at 18–20; Mfr. Mem. at 34–39; Pharm. Mem. at 4–5. To the extent they do, such arguments
  fail for the same reasons argued in this section.
  18
     Defendants’ arguments about intervening causes (Mfr. Mem. at 10–15; Dist. Mem. at 28; Pharm. Mem.
  at 7–8) are addressed infra in §§ II.C.1.c and III.D.



                                                    40
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 65 of 160. PageID #: 24581




  make defendants aware of those risks. Id. (finding that the risks of snowmobile accidents

  were foreseeable to the U.S. Forest Service because it adopted regulations prohibiting

  operating a snowmobile under certain circumstances, implemented a trail warranting

  process, and was aware of a prior incident).

          Instead of addressing the Tribe’s allegations on foreseeability, the Manufacturing

  Defendants argue that the Tribe’s harms are too remote from their conduct to establish

  proximate cause. Mfr. Mem. at 6-8. But Montana has no body of law barring claims for

  remoteness or indirectness alone. Cf. Busta, 916 P.2d at 133, 139 (rejecting a

  freestanding proximate cause requirement related to attenuation, and instead requiring a

  foreseeability analysis only when the defendant alleges an intervening cause severed the

  chain of causation). The Manufacturing Defendants’ arguments on remoteness and

  indirectness are based on Holmes v. Securities Investor Protection Corp., 503 U.S. 258

  (1992), and other RICO cases, see, e.g., Oregon Laborers-Employers Health & Welfare

  Tr. Fund v. Philip Morris Inc., 185 F.3d 957, 963 (9th Cir. 1999), not Montana law, and

  do not apply to the Tribe’s state-law or federal nuisance claims.19

                           c.       In this Case, Intervening Acts and Criminal Conduct
                                    Are Foreseeable and Do Not Break the Causal Chain.

          Defendants attempt to shield themselves from liability by pointing the finger at

  third-party actors. While Defendants assert that doctors and criminal actors interrupted

  the casual chain, they ignore a basic principle of Montana tort law: foreseeable

  intervening causes do not break the causal chain.




  19
     See, e.g., Cleveland Bakers Opp. Mem. at 5-7 (distinguishing Perry v. American Tobacco Company, 324
  F.3d 845, 848 (6th Cir. 2003)).



                                                    41
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 66 of 160. PageID #: 24582




         In Montana, “if the intervening cause is one that the defendant might reasonably

  foresee as probable, or one that the defendant might reasonably anticipate under the

  circumstances, then the intervening act does not absolve the defendant of liability.” U.S.

  Fidelity and Guar. Co. v. Camp, 831 P.2d 586, 589 (Mont. 1992); see also Cusenbary v.

  Mortensen, 987 P.2d 351, 355-56 (Mont. 1999) (intervening acts by third parties that are

  foreseeable do not break the chain of causation.). The question a court must consider is

  “whether the defendant could have reasonably foreseen that his or her conduct could have

  resulted in an injury to the plaintiff. The specific injury to the plaintiff need not be

  foreseen.” Fisher, 181 P.3d at 609-10 (internal citations and quotation marks omitted).

         The Montana Supreme Court has provided clear guidance for this analysis:

         We have instructed that if one of the reasons that makes a defendant’s act
         negligent is a greater risk of a particular harmful result occurring, and that
         harmful result does occur, the defendant is generally liable. Specifically,
         we consider whether the intervention of the later cause is a significant part
         of the risk involved in the defendant's conduct, or is so reasonably
         connected with it that the responsibility should not be terminated.

  Fisher, 181 P.3d at 610 (internal citations and quotation marks omitted). Thus, under

  Montana law, only unforeseeable intervening causes break the causal chain.

         Defendants argue that the acts of third parties break the causal chain between their

  misconduct and Plaintiff’s injuries. Defendants point both to physicians who wrote

  prescriptions for opioids and third-parties who engaged in criminal diversion of opioids

  as purportedly superseding causes that break the causal chain. Yet, both groups’ actions

  were foreseeable, and indeed, their conduct was specifically triggered by the Defendants’

  malfeasance.

         The Tribe alleges that Manufacturer Defendants developed a massive fraudulent

  scheme to mislead prescribing doctors, patients and the public by misrepresenting the



                                                42
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 67 of 160. PageID #: 24583




  risks and benefits of opioids. See, e.g., FAC ¶¶ 144, 147-317 (describing nine falsehoods

  directed at doctors and the public); ¶¶ 364-96 (describing the use of KOLs to control

  information provided to doctors); ¶¶ 398-409 (describing the use of CMEs to control

  information provided to doctors). Physicians’ decisions to prescribe opioids were not

  independent of the Marketing Defendants’ wrongdoing: those decisions were the

  intended, actual, and foreseeable result of the defendants’ fraudulent conduct.20 Indeed,

  the doctors were the intended instruments of the Marketing Defendants’ fraud. Sales of

  opioids could not be increased without the doctors’ involvement. Defendants knew they

  would be involved, and they relied on their involvement.

           Similarly, illegal drug activity was an entirely foreseeable consequence of

  Defendants’ failure to control the opioid supply chain as required by law. Indeed, the

  entire “closed system” for the distribution of opioids exists precisely because misuse,

  addiction, and an illegal market – along with their concomitant harms to communities –

  are the entirely foreseeable results of diversion and uncontrolled distribution of these

  products. See, e.g., FAC ¶¶ 485-489; see also H.R. Rep. 91-1444 (1970), as reprinted in

  1970 U.S.C.C.A.N. 4566, 4575 [at *4575] (need to protect society from scourge of drug


  20
     Distributor Defendants’ claim that they cannot be a proximate cause of Plaintiff’s harm for a variety of
  reasons including because “No injury to any individual opioid user. . . could possibly be incurred unless—
  sometime after Distributors delivered the medicines to pharmacies—a doctor wrote a prescription that
  should not have been written, a pharmacist dispensed the drug without presentation of a legitimate
  prescription, a patient sought to obtain the drug without a legitimate medical need, or a third party
  improperly obtained the drug from a patient..” Dist. Mem. at 4. This conjecture is both unsupported and
  therefore inappropriate at the pleading stage, and makes no sense: had Distributor Defendants’ fulfilled
  their duty to put appropriate systems in place to monitor suspicious orders as well as to report and not fill
  suspicious orders—instead of abandoning this duty on a colossal, nationwide scale—the pharmacies would
  not have had access to an excessive supply of opioids to continue pumping into the community. Under
  federal and state law, Distributor Defendants were required to act as gatekeepers specifically in order to
  guard against the diversion of the highly addictive, dangerous opioid drugs. FAC ¶ 163. Distributor
  Defendants are a key link in the causal chain, and their actions in continuing to provide pharmaceuticals to
  fill suspicious orders actually enabled the opioid crisis to exist and expand, proximately causing the harms
  alleged. Such illogical speculation does not negate the well-pleaded allegations in the Complaint.



                                                       43
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 68 of 160. PageID #: 24584




  addiction); see also id. at 4574 (balancing the goals of treating the individual user as “a

  sick person” and mitigating “the effects of drug abuse on the community”). The

  Defendants were given privileges and responsibilities with respect to the distribution of

  controlled substances precisely because the effects of diversion – including the acts of

  third-parties, criminals, and addicts – were so well known and required vigilance to

  prevent. See FAC ¶¶ 198, 260, 467, 483, 485-93, 498-99, 501, 503, 512.

            Defendants’ contention that these entirely foreseeable consequences break the

  causal chain between their failure responsibly to carry out their obligations and the exact

  consequences that were the reason for these responsibilities in the first place should be

  rejected.21

                    2.       Plaintiff Satisfies the Proximate Cause Standard for Its RICO
                             Claims.

           The facts alleged in the Complaint also satisfy the proximate cause standard

  applicable to RICO claims as set forth in Holmes v. Securities Investor Protection Corp.,

  503 U.S. 258 (1992). The Manufacturers argue that Plaintiff cannot satisfy the Holmes

  standard because its injuries are: (1) too remote; (2) too indirect; and (3) too difficult to

  apportion. Mfr. Mem. at 7-8. This argument should be rejected for the reasons set forth

  in the Summit Opposition at Points I.B.2b and I.C.2.



  21
    Contrary to Defendants’ argument, the Blackfeet Tribe is not analogous to an insurer who sues the sheriff
  for negligently letting an inmate escape from work release because the inmate became intoxicated, fell
  asleep smoking a cigarette, and then the cigarette started a fire in an insured building. See Kiger v. State,
  802 P.2d 1248, 1251 (Mont. 1990). Here, there is no fortuity, only foreseeability: all of the intervening acts
  were foreseeable and actually foreseen by policymakers and regulators. It is foreseeable that doctors will
  write prescriptions for medication that requires a prescription. It is foreseeable that requirements designed
  to create a “closed system” to prevent the unlawful diversion of opioids, if disregarded and violated, can
  result in the unlawful diversion of opioids. See, e.g., FAC ¶¶ 485, 498-504, 507. It is foreseeable that
  someone who becomes addicted to opioids may become addicted to heroin. FAC ¶¶ 6, 17, 103, 134, 667,
  670, 939, 1005.




                                                       44
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 69 of 160. PageID #: 24585




                         a.     Plaintiff’s Injuries Are the Direct Consequence of
                                Defendants’ Conduct.

         In the context of RICO, proximate cause requires that there be “some direct

  relation between the injury asserted and the injurious conduct alleged.” Bridge v. Phoenix

  Bond & Indem. Co., 553 U.S. 639, 654 (2008). The Sixth Circuit also looks at “whether

  the plaintiff's injury was a foreseeable consequence of the conduct alleged” and whether

  “the causal connection between the injury and the conduct is logical and not speculative.”

  Wallace v. Midwest Fin. & Mortg. Servs., Inc., 714 F.3d 414, 419 (6th Cir. 2013). The

  direct injury requirement ensures that: (1) damages can be properly and efficiently

  apportioned, (2) no party recovers excessively, and (3) the directly injured are able to

  vindicate the law by bringing suit to enforce it. Holmes, 503 U.S. at 269-70.

         As discussed above in connection with Montana law, in this case, there is a direct

  connection between the conduct alleged and the Tribe’s injuries. Those injuries were

  foreseeable consequences of Defendants’ actions, and the causal connection is logical,

  not speculative. As explained more fully in the Summit County briefing, Defendants

  created two association in fact enterprises, an Opioid Marketing Enterprise and an Opioid

  Supply Chain Enterprise. Employing certain Front Groups and KOLs, the Manufacturer

  Defendants concealed the true risks and dangers of opioids from the medical community

  and the public, including the Plaintiff, and made misleading statements and

  misrepresentations about opioids that downplayed the risk of addiction and exaggerated

  the benefits of opioid use. FAC ¶¶ 320-396. This conduct was intended to, and did,

  promote the widespread use of dangerous, addictive opioids, causing an epidemic of

  addiction that injured the Plaintiff “in the form of substantial losses of money and

  property that logically, directly and foreseeably arise from the opioid-addiction



                                               45
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 70 of 160. PageID #: 24586




  epidemic.” Id. at ¶¶ 852-853 (detailing specific costs directly and foreseeably caused by

  the Manufacturer Defendants’ fraudulent activity).

           Similarly, the RICO Supply Chain Defendants concealed and suppressed and/or

  ignored warnings from “third parties, whistleblowers and governmental entities about the

  reality of the suspicious orders that the RICO Supply Chain Defendants were filling on a

  daily basis—leading to the diversion of hundreds of millions of doses of prescriptions

  opioids into the illicit market.” Id. at ¶ 869. This consequence—the creation of a

  widespread opioid epidemic—was foreseeable, and it in turn directly and foreseeably

  caused Plaintiff to suffer substantial losses of money and property as a result of the RICO

  Supply Chain Defendants’ fraudulent scheme. Id. at ¶¶ 881-86.

           The policy considerations set forth in Holmes are also satisfied here. Plaintiff’s

  damages may be properly and efficiently apportioned among the Defendants; Plaintiff’s

  RICO damages cannot be sought or recovered by any other party, because they are

  financial losses suffered directly by the Tribe; and, Plaintiff’s recovery is necessary to

  vindicate the purposes underlying RICO and deter future violations. See Bank of Am. v.

  City of Miami, 137 S. Ct. 1296, 1306 (2017) (relying on Holmes to remand a case

  involving a lengthy causal chain rather than holding that direct causation was absent).

  Moreover, the existence of victims who both suffer direct injuries (i.e. personal injury

  and economic injury) does not bar Plaintiff’s claims because there is a direct causal link

  between the Defendants’ actions and Plaintiff’s injury.22 Additionally, without Plaintiff’s




  22
    Apportionment and approximation of damages may also be addressed through statistical analysis to
  establish the necessary causal link to satisfy the question of apportionment. See Cty. of Cook v. Wells
  Fargo, No. 14 C 9548, 2018 WL 1469003, at *8 (N.D. Ill. Mar. 26, 2018) (acknowledging that statistical
  analysis of aggregative data might establish “the likelihood that a loan modification denied would lead to
  foreclosure,” and sufficiently link Wells Fargo’s conduct to at least part of the county’s harm); see also


                                                      46
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 71 of 160. PageID #: 24587




  suit, few, if any, victims of the RICO conspiracy will be able to “vindicate the law as

  private attorneys general.” Holmes, 503 U.S. at 269-270.

           Plaintiff’s costs are also directly linked to skyrocketing opioid use and addiction:

  the express purpose of Defendants’ criminal RICO activities. This link distinguishes this

  case from City of Cleveland v. Ameriquest Mortgage Securities, 615 F.3d 496, 504 (6th

  Cir. 2010) (holding that defendants’ legal activities in financing the subprime mortgage

  market failed to directly cause a panoply of effects, ranging from neglect of property to

  starting fires, looting, and dealing drugs that were “completely distinct from the asserted

  misconduct (financing subprime loans)”). The “eyesores, fires, drug deals, and looting”

  were caused, respectively, by homeowners, negligent or malicious individuals, shoddy

  construction, independent criminal decisions, and the actions of other companies that

  financed subprime loans and properties. 615 F.3d at 505. Here, in contrast, the illegal

  RICO misconduct the Plaintiff has identified matches the harm it suffered: by engaging

  in a fraudulent scheme to promote the widespread use of addictive opioids, and (as to the

  RICO Supply Chain Defendants) fostering large-scale diversion, Defendants created the

  addiction problem that injures Plaintiff’s money or property.

           Plaintiff’s claims are also not derivative of its residents’ physical injuries. Instead,

  Plaintiff suffered direct injury to its revenue generating functions and, in addition, the

  collective harm imposed on the community. Defendants’ conduct was designed to and

  did create an increased demand for and overabundant supply of their products on a


  City of Miami, 137 S. Ct. at 1302 (noting that “[t]he complaint describes statistical analyses that trace the
  City’s financial losses to the Banks’ discriminatory practices”).
            Anza v. Ideal Steel Supply Corp., 547 U.S. 451 (2006), and Canyon County v. Syngenta Seeds,
  Inc., 519 F.3d 969 (9th Cir. 2008), relied on by Defendants, did not address a situation where there is an
  alleged provable and quantifiable causal link between the defendant’s conduct and plaintiff’s injury despite
  multiple links in the causal chain.



                                                        47
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 72 of 160. PageID #: 24588




  national scale, which generated an opioid crisis in these communities and across the

  country. It is that crisis which has caused the Plaintiff to incur direct costs. Plaintiff

  seeks to recover its own funds, not “stand in the shoes of nonpurchasing customers” or a

  business competitor, see Pik-Coal Co. v. Big Rivers Elec. Corp., 200 F.3d 884, 889 (6th

  Cir. 2000), or recover monies for health insurance plan members required to pay

  increased health insurance premiums as a result of other smokers, Perry, [supra,] 324

  F.3d at 849. No other, more direct plaintiff will vindicate Plaintiff’s important rights.23

           Although not binding on this Court, it is significant that, in City of Cincinnati v.

  Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio 2002), the Ohio Supreme Court applied the

  Holmes analysis to assess proximate cause to a city’s claims against gun manufacturers.

  The Beretta court found the City’s injury flowed sufficiently directly from the actions of

  the gun manufacturers to satisfy Holmes. The claims in Beretta were similar to those

  alleged here. The City of Cincinnati alleged that defendants’ negligent marketing and

  distribution of firearms resulted in creation of an illegal secondary market. The City

  further alleged that, as a direct result of the defendants’ misconduct, plaintiff suffered

  “actual injury and damages including, but not limited to, significant expenses for police,

  emergency, health, prosecution, corrections and other services.” Beretta, 768 N.E.2d at




  23
    Manufacturers’ reliance on Sidney Hillman Health Center of Rochester v. Abbott Laboratories, 873 F.3d
  574 (7th Cir. 2017), is inapposite here for two primary reasons. First, unlike Sidney Hillman, Plaintiff is
  not suing the Manufacturers solely for their promotion of opioids for off-label uses. Rather, Plaintiff
  claims that the Manufacturers utilized unbranded marketing, as part of a larger calculated scheme to
  increase opioid prescriptions and sales, and directly misrepresented the risks and benefits of opioid use.
  Second, unlike Sidney Hillman, Plaintiff is not an insurance company several steps removed from the
  causal sequence seeking to recover for derivative injuries that they reimbursed. Rather, as has already been
  decided in opioid-related litigation, there is a direct causal link between the Manufacturers’ intentional
  marketing and the economic injuries that the Plaintiff received to its commercial and revenue generating
  functions. Cf. Travelers, 16 Cal. App. 5th at 1041 (a nation awash in opioids was neither unexpected nor
  unforeseen) (quoted above).



                                                      48
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 73 of 160. PageID #: 24589




  1148. For the same reasons these claims were found sufficient under Holmes, the RICO

  claims at issue should similarly be found sufficiently direct under that same standard.

          The Manufacturers make a new argument not included in the Summit briefing.

  They cite a host of tobacco litigation decisions that dismissed claims at the pleading stage

  for, among other reasons, lack of causation. However, the Manufacturers’ reliance on

  those cases is misplaced here for two reasons. As the Court is no doubt aware, each of

  the cases cited by the Manufacturers predates the District of Columbia’s 2006 landmark

  decision in U.S. v. Philip Morris USA, Inc., 449 F. Supp. 2d 1 (D.D.C. 2006), aff’d in

  pertinent part, vacated on other grounds in part, 566 F.3d 1095 (D.C. Cir. 2009), which

  found various tobacco companies liable for RICO violations premised on strikingly

  similar allegations, theories, schemes, enterprises and conduct.24

          Besides predating the District of Columbia decision, none of the cases – with the

  exception of Perry (which as discussed above and at Cleveland Bakers Opp. Mem. at 5-7,

  is distinguishable) is binding authority. Moreover, all of the cases reflect a significantly

  different causal chain between the injuries at issue and the Tobacco Companies’

  actions. Specifically, unlike the Tobacco Cases, where there were a host of causes that

  may have led to an increase in smoking and/or cancer, the increase in opioid prescriptions

  and addiction is directly traceable to the Manufacturers’ unlawful and fraudulent



  24
    Compare U.S. v. Philip Morris, 449 F. Supp. 2d 1 (D.D.C. 2006) with Perry v. Am. Tobacco Co., 324
  F.3d 845 (6th Cir. 2003); Ala. Coushatta Tribe v. Am. Tobacco Co., 46 Fed Appx. 225 (5th Cir. 2002);
  Serv. Emps. Int’l Union Health & Welfare Fund v. Philip Morris Inc., 249 F.3d 1068 (D.C. Cir. 2001);
  Association of Washington Public Hosp. Districts v. Philip Morris Inc., 241 F.3d 696 (9th Cir. 2001); Int’l
  Bhd. of Teamsters, Local 734 Health & Welfare Tr. Fund v. Philip Morris Inc., 196 F.3d 818, 825-26 (7th
  Cir. 1999); Laborers Local 17 Health & Benefit Fund v. Philip Morris, Inc., 191 F.3d 229, 239-40 (2d Cir.
  1999); Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, Inc., 171 F.3d 912 (3d Cir. 1999);
  Oregon Laborers-Employers Health & Welfare Tr. Fund v. Philip Morris Inc., 185 F.3d 957, 963 (9th Cir.
  1999); State ex rel. Miller v. Philip Morris Inc., 577 N.W.2d 401 (Iowa 1998) (collectively, and with the
  other Tobacco Company cases cited by the Manufacturers, the “Tobacco Cases”).



                                                      49
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 74 of 160. PageID #: 24590




  marketing. See Travelers, 16 Cal. App. 5th at 1041 (“It is not unexpected or unforeseen

  that a massive marketing campaign to promote the use of opioids for purposes for which

  they are not suited would lead to a nation ‘awash in opioids.’ It is not unexpected or

  unforeseen that this marketing campaign would lead to increased opioid addiction and

  overdoses.”). Moreover, the Tobacco Cases lack another direct causal link between

  Plaintiff’s injuries and the supply chain claims – i.e. the duties that the Manufacturers and

  Distributors intentionally disregarded which were specifically intended by the drafters of

  the Controlled Substances Act (“CSA”) to prevent the kind of harm alleged – registrants

  facilitating and/or allowing the widespread diversion of controlled substances out of the

  legitimate channels into the illicit market. See 1970 U.S.C.C.A.N. at 4566 (“[A] closed

  system should significantly reduce the widespread diversion of these drugs out of

  legitimate channels into the illicit market.”); U.S. v. Moore, 423 U.S. 122, 135 (1975)

  (“Congress was particularly concerned with the diversion of drugs from legitimate

  channels. It was aware that registrants, who have the greatest access to controlled

  substances and therefore the greatest opportunity for diversion, were responsible for a

  large part of the illegal drug traffic.”) (citations omitted). Third, all of the cases represent

  attempts to recover a different category of damages than those sought by the

  Plaintiff. Manufacturers rely particularly on two of the cases, Oregon Laborers, and Ala.

  Coushatta, but unlike the plaintiffs in those cases, the Tribe is not seeking to recover

  merely the “increased costs” of health care (Oregon Laborers) or “injuries to the interest

  in the health and well-being of [their] people” (Ala. Coushatta). Rather, as discussed

  above, Plaintiff seeks to recover for injuries to its commercial and revenue-generating

  functions.




                                                50
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 75 of 160. PageID #: 24591




                         b.      The Actions of Doctors and Criminal Actors Do Not
                                 Interrupt the Causal Chain for Plaintiff’s RICO
                                 Claims.

         Just as the actions of third parties does not break the causal chain in this case

  under Montana law, so, too, under federal RICO standards, neither doctors nor criminal

  actors in the illegal drug market render Plaintiff’s injuries too remote. See, e.g., In re

  Neurontin Mktg. & Sales Pracs. Litig., 712 F.3d 21, 39 (1st Cir. 2013) (“Pfizer now

  argues that because doctors exercise independent medical judgment in making decisions

  about prescriptions, the actions of these doctors are independent intervening causes. But

  Pfizer’s scheme relied on the expectation that physicians would base their prescribing

  decisions in part on Pfizer’s fraudulent marketing.”); see also Restatement (Second) of

  Torts § 447. The Manufacturers re-argue their Summit County position regarding the

  effect that the presence of doctors and criminal actors have on the causal chain between

  the Manufacturers’ wrongdoing and Plaintiff’s injuries. Compare Mfr. Mem. at 11-14

  with Dkt 499-1 at 12-16. Here, Plaintiff’s claims are predicated on the same causal chain

  that exists in Summit County, and the Manufacturers’ arguments regarding the presence

  of doctors, or “learned intermediaries,” and criminal actors is no more persuasive.

  Therefore, Plaintiff incorporates prior arguments from Summit County regarding the

  Manufacturers’ causation arguments in opposition to the currently raised issues which are

  substantially identical. Summit Opp, Mem. at 38-50, 82-85.

         D.      Plaintiff Has Sufficiently Pleaded Its Claims under Rules 8 and 9(b).

         Federal Rule of Civil Procedure 9(b) requires a plaintiff alleging fraud to “state

  with particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). However,

  “[m]alice, intent, knowledge, and other conditions of a person’s mind may be alleged

  generally.” Id. A complaint “should provide fair notice to Defendants and enable them to


                                                51
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 76 of 160. PageID #: 24592




  prepare an informed pleading responsive to the specific allegations of fraud.” Hale v.

  Enerco Grp., Inc., No. 1:10 CV 00867-DAP, 2011 WL 49545, at *5 (N.D. Ohio Jan. 5,

  2011) (Polster, J.) (citation and internal quotation marks omitted).

         “Rule 9(b) does not require omniscience; rather the Rule requires that the

  circumstances of the fraud be pled with enough specificity to put defendants on notice as

  to the nature of the claim.” Williams v. Duke Energy Int’l, Inc., 681 F.3d 788, 803 (6th

  Cir. 2012) (quoting Michaels Bldg. Co. v. Ameritrust Co., 848 F.2d 674, 680 (6th Cir.

  1988)). “Rule 9(b)’s purpose is to ensure fair notice to the defendant, not to test a claim’s

  factual allegations.” Traxler v. PPG Indus., Inc., 158 F. Supp. 3d 607, 630 (N.D. Ohio

  2016) (Polster, J.) (citation omitted). “So long as a [plaintiff] pleads sufficient detail—in

  terms of time, place and content, the nature of a defendant’s fraudulent scheme, and the

  injury resulting from the fraud—to allow the defendant to prepare a responsive pleading,

  the requirements of Rule 9(b) will generally be met.” United States ex rel. SNAPP, Inc. v.

  Ford Motor Co., 532 F.3d 496, 504 (6th Cir. 2008) (emphasis added); see also United

  States ex rel. Bledsoe v. Community Health Systems, Inc., 501 F.3d 493, 509-10 (6th Cir.

  2007); Ferron v. Metareward, Inc., 698 F. Supp. 2d 992, 997 (S.D. Ohio 2010).

  Furthermore, “the Sixth Circuit Court of Appeals has held that Rule 9(b) may be relaxed

  when there has been a lack of discovery and the information needed for a plaintiff to

  achieve particularity is held exclusively by the opposing party.” Ferron, 698 F. Supp. 2d

  at 997 (citing Michaels, 848 F.2d at 680). And, “[i]t is a principle of basic fairness that a

  plaintiff should have an opportunity to flesh out her claim through evidence unturned in

  discovery.” Williams, 681 F.3d at 803 (quoting Michaels, 848 F.2d at 680).




                                                52
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 77 of 160. PageID #: 24593




                   1.       Rule 9(b) Applies Only to Plaintiff’s Montana Common Law
                            Fraud and Statutory Consumer Protection Claims and Its
                            RICO Claims.

          Manufacturer Defendants contend that all of Plaintiff’s claims should be

  dismissed for failure to plead with particularity,25 but the particularity requirement of

  Rule 9(b) applies only to Plaintiff’s fraud-based claims, that is, its Montana common law

  fraud and Consumer Protection Act claims26 and its RICO claims. See Fed. R. Civ. P.

  9(b). For all other claims, the notice-pleading standard under Federal Rule of Civil

  Procedure 8(a)(2), which requires only “a short and plain statement of the claim showing

  that the pleader is entitled to relief[,]” governs. See Fed. R. Civ. P. 8(a)(2).

          The Manufacturers seek to alter this established standard by attempting to recast

  Plaintiff’s nuisance, negligence, unjust enrichment, and civil conspiracy claims into

  causes of action that “sound in fraud.” A claim “sounds in fraud,” however, only if the

  plaintiff “allege[s] a unified course of fraudulent conduct and rel[ies] entirely on that

  course of conduct as the basis of a claim.” In re Daou Sys., Inc., 411 F.3d 1006, 1027

  (9th Cir. 2005) (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103 (9th Cir.

  2003)). By contrast, “[i]n a case where fraud is not an essential element of a claim, only



  25
    Manufacturer Defendants cross-reference their Summit briefing; the Tribe cross-references the Summit
  Opposition accordingly. Further, Manufacturer Defendants advanced similar arguments in the Summit
  County litigation vis-à-vis mail and wire fraud, and the Tribe incorporates Plaintiffs’ response. Summit
  Opp. Mem. at 26-35 [No. 1:18-op-45090-DAP, PageID # 2599-2608]. Manufacturer Defendants’ “group
  pleading” argument (Mfr. Mem. at 54) was rebutted in the Summit Opposition at 34-35 [Page ID # 2607-
  2608], and at § II.D.2.b infra. The Travelers Indem. Co. v. Cephalon, Inc., 32 F. Supp. 3d 538 (E.D. Pa.
  2014), aff'd, 620 F. App'x (3d Cir. 2015), litigation is distinguished at Summit Opp. Mem. at 41, 48
  [PageID # 2614, 2621].
  26
    The Tribe alleges “deceptive” and “unfair” acts or practices within the meaning of the CPA. See FAC
  ¶¶ 1107-1118. The claim is subject to Rule 9(b) only to the extent it is based on “deceptive” acts or
  practices. See Lang v. Ocwen Fin. Servs., Inc., No. CV 10-151-BLG-RFC, 2011 WL 1303749, at *6-8 (D.
  Mont. Mar. 8, 2011), report and recommendation adopted, No. CV-1O-151-BLG-RFC, 2011 WL 1258346
  (D. Mont. Apr. 1, 2011) (malicious and fraudulent conduct count subject to Rule 9(b); in contrast, court’s
  analysis of the MCPA claim references Rule 8 and omits Rule 9(b)).



                                                     53
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 78 of 160. PageID #: 24594




  allegations of fraudulent conduct must satisfy the heightened pleading requirements of

  Rule 9(b).” Id. (quoting Vess, 317 F.3d at 1105). “Allegations of non-fraudulent conduct

  need satisfy only the ordinary notice pleading standards of Rule 8(a).” Id.; see also Lone

  Star Ladies Inv. Club v. Schlotzsky’s Inc., 238 F.3d 363, 368 (5th Cir. 2001) (“Where

  averments of fraud are made in a claim in which fraud is not an element, an inadequate

  averment of fraud does not mean that no claim has been stated.”).

         Fraud is an essential element only for the Tribe’s Montana common law and

  statutory consumer fraud claims, and for its RICO claims. Indeed, Rule 9(b) has been

  found to be inapplicable to nuisance, negligence, negligent misrepresentation, and unjust

  enrichment claims under Montana law. See, e.g., Harmon v. Billings Bench Water Users

  Ass'n, 765 F.2d 1464, 1467 (9th Cir. 1985) (reversing district court’s grant of summary

  judgment for defendant on attractive nuisance and negligence claim under Montana law

  and applying notice standard of Rule 8); Sturgeon v. Carter, 15 F.R.D. 350, 351 (D.

  Mont. 1954) (“It is clear under [Rule 8] that to state a cause of action for negligence,

  detailed pleading is not required.”); Fischer v. Ocwen Loan Servicing, LLC, No. CV-14-

  94-BLG-SPW-CSO, 2014 WL 6685987, at *9 (D. Mont. Nov. 25, 2014), report and

  recommendation adopted, No. CV 14-94-BLG-SPW-CSO, 2014 WL 11498231 (D.

  Mont. Dec. 11, 2014) (applying Rule 8(a)(2)’s requirement of a short and plain statement

  to Count VIII, negligent misrepresentation and negligence); Audit Servs., Inc. v. Nelcon,

  Inc., No. CV 13-92-BU-DWM, 2014 WL 12600452, at *3 (D. Mont. Aug. 7, 2014)

  (unjust enrichment and restitution decided pursuant to “notice pleading standard of Rules

  8(a) and 12(b)(6)”).




                                               54
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 79 of 160. PageID #: 24595




         For the remaining claims – fraud, fraudulent acts under the Montana CPA, and

  RICO – Plaintiff has satisfied the requirements of Rule 9(b).

                 2.      Plaintiff Pleads Its Montana Fraud and RICO Marketing
                         Claims with Sufficient Particularity.

         Manufacturer Defendants argue that Plaintiff has not pleaded its Montana fraud

  and RICO Marketing claims with sufficient particularity. Because the Tribe has identified

  the fraudulent conduct with sufficient particularity to allow defendants to knowledgeably

  respond to the pleadings, Manufacturer Defendants’ motion should be denied.

         The Manufacturers do not seriously contend that they lack sufficient notice of

  what the Tribe is alleging here. Nor could they. The Complaint, which contains

  allegations nearly identical to those in the Summit County complaint, sets out specific

  representations made by specific actors at specific times. In addition to twenty-two

  categories of knowing deceptions and a dozen categories of omitted material facts

  identified in the Seventh Claim for Relief sounding in Common Law Fraud (FAC ¶¶

  1054-55), the Complaint describes nine categories of falsehoods that the Manufacturer

  Defendants employed to advance their multi-pronged scheme to change and sustain

  prescribing habits and public perception, and to increase the demand for opioids (id. at

  ¶¶ 144-317). In addition to specifying the falsehoods, the Complaint explains at length

  the manner in which the misleading messages were disseminated (id. at ¶¶ 318-432).

  Manufacturers had unique material knowledge and a duty not to deceive the Tribe, which

  acted in rightful reliance (id. at ¶¶ 1057-1060). The Tribe further pleads that the

  representations and omissions caused it to proceed under the misapprehension that the

  opioid crisis was simply a result of conduct by persons other than Defendants, which

  prevented the Tribe from a more timely and effective response (id. at ¶ 1062), that the



                                               55
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 80 of 160. PageID #: 24596




  Tribe’s reliance was intended by Defendants (id. at ¶¶ 1059-60), and that the Tribe was

  injured as a result (id. at ¶¶ 1062-66).27

           The Manufacturers argue, however, that Plaintiff is required to identify specific

  doctors who heard the misrepresentations or issued prescriptions because of the

  misrepresentations. This contention should be rejected. It is sufficient that Plaintiff has

  identified the Defendants’ fraudulent conduct in detail. See, e.g., United States ex rel.

  Chorches for Bankr. Estate of Fabula v. Am. Med. Response, Inc., 865 F.3d 71, 81 (2d

  Cir. 2017) (holding that where complaint alleged basis for strong inference that fraud had

  occurred, it was not necessary for plaintiff to identify specific instances, and noting

  “emerging consensus” to that effect); Strom ex rel. United States v. Scios, Inc., 676 F.

  Supp. 2d 884 (N.D. Cal. 2009) (where details of fraudulent conduct are provided,

  plaintiff need not allege specific false claims by specific doctors); United States ex rel.

  Franklin v. Parke-Davis, 147 F. Supp. 2d 39, 49 (D. Mass. 2001) (“[W]here the alleged

  scheme of fraud is complex and far-reaching, pleading every instance of fraud would be

  extremely ungainly, if not impossible.”); United States ex rel. Thompson v.

  Columbia/HCA Healthcare Corp., 20 F. Supp. 2d 1017, 1049 (S.D. Tex. 1998) (relator

  satisfied Rule 9(b) by alleging the “basic framework, procedures, the nature of fraudulent

  scheme, and the financial arrangements and inducements among the parties and

  physicians that give rise to Relator’s belief that fraud has occurred”); United States ex rel.

  Pogue v. Am. Healthcorp., Inc., 977 F. Supp. 1329, 1332-33 (M.D. Tenn. 1997)

  (permitting relator to omit allegations concerning each instance of fraudulent conduct).28


  27
     See, generally, Paatalo v. First Am. Title Co. of Mont., Inc., No. CV-13-128-BLG-SEH-CSO, 2014 WL
  2002839, *5-6 (D. Mont. May 14, 2014) (listing elements of fraud).
  28
    The cited cases involve the federal False Claims Act and situations that are partially, but not entirely,
  analogous to the facts of this case. Defendants cite other False Claims Act cases that do require the kind of


                                                       56
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 81 of 160. PageID #: 24597




           Manufacturers suggest that such detail is necessary because, as a matter of

  “common sense” (based on facts outside the pleading), doctors were unlikely to have

  been misled. This argument cannot succeed at the pleading stage. Plaintiff has alleged

  not only that doctors were misled, but also a scheme of such depth and penetration that

  the Court may properly infer that the entire medical community was misled. See FAC

  ¶¶ 318-432. Marketing Defendants misrepresented the most fundamental characteristic

  of opioids: the degree to which, and the circumstances under which, the drugs are

  addictive. FAC ¶¶ 43-62. They also misrepresented the extent to which these drugs

  improve functioning when taken for chronic pain and their relative merits as compared to

  other treatments for such pain. See id. at ¶¶ 237-238. They used Front Groups and

  KOLs to give their misrepresentations the veneer of scientific objectivity. Id. at ¶¶ 319-

  320. They sponsored Continuing Medical Education programs to present their

  misstatements as medical “truth.” Id. at ¶¶ 327-336. They even succeeded in changing

  the prescribing guidelines for their products to reflect the falsehoods they promulgated.

  Id. at ¶¶ 345-50.

           In this context, it makes no sense to say that Plaintiff must identify specific

  doctors to whom misrepresentations were made and specific prescriptions affected by



  claim-by-claim specific detail held to be unnecessary in the authorities cited above. For the reasons
  described in the text, however, in the extraordinary factual context of this case as compared to cases arising
  under the False Claims Act, the authorities that have found such detail unnecessary are more properly
  applicable. Two of the defendants’ False Claims Act cases, Yuhaz v. Brush Wellman, Inc., 341 F.3d 559,
  564 (6th Cir. 2003) (“Yuhaz”) and U.S. ex rel. Prather v. Brookdale Senior Living Communities, Inc., 892
  F.3d 822, 830 (6th Cir. 2018) (“Prather”) are especially inapplicable here. Yuhaz is inapposite because
  here Plaintiff did not create the complexity that obviates the need to plead the details the Manufacturers
  demand; the complexity of the schemes at issue arise from the Marketing Defendants’ multi-pronged
  marketing scheme using sales detailers, publications, websites, Front Groups, and KOLs. Prather does not
  support dismissal in this case because it recognizes the applicable pleading standard here, related to
  “complex and far-reaching fraudulent scheme[s].” Prather, 892 F.3d at 830.



                                                       57
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 82 of 160. PageID #: 24598




  those misrepresentations. In the climate the Marketing Defendants created, no doctors

  had access to the true facts about opioids and no prescription was unaffected by the

  Marketing Defendants’ falsehoods.29 The Marketing Defendants’ false and fraudulent

  marketing prevented all doctors from engaging in proper risk/benefit analyses when

  prescribing opioids. Their misrepresentations affected not only how many opioid

  prescriptions were written, but the periods of time for which they were written; the extent

  of cautions passed along to the patient; the degree of monitoring for signs of tolerance,

  dependence, and/or addiction; and (e) the early identification of patients showing

  troubling symptoms of tolerance, dependence, and/or addiction. In light of the extensive

  detail the Complaint provides about each of the Marketing Defendants’ falsehoods and

  the pervasive means by which they were disseminated to the entire medical community,

  Plaintiff need not identify particular doctors who heard, and were affected by, those

  messages.

          Moreover, Plaintiff should not be required to allege at the pleading stage facts that

  it may not be required to prove at trial. In In re Neurontin Mktg. & Sales Practices Litig.

  v. Pfizer, Inc., 712 F.3d 21 (1st Cir. 2013), the First Circuit affirmed a jury verdict in

  favor of a third-party payor against a pharmaceutical company for fraudulent off-label

  marketing. Even though not a single physician in the entire multidistrict litigation had

  testified that he or she prescribed Neurontin because of defendants' marketing, the First


  29
     Manufacturers attempt to draw a distinction between physician reliance on misrepresentations and
  physician reliance on true statements, contending that Plaintiff must identify specific instances of the
  former. See Mfg. Mem. at 54, citing United States v. Caronia, 703 F.3d 149, 164-65 (2d Cir. 2012). But
  this distinction is meaningless in the context of this case, because the Marketing Defendants’ false
  statements were intertwined with any true statements they may also have made. In Caronia, by contrast, the
  defendant was criminally prosecuted for off-label marketing; the issue was whether true statements about
  off-label uses may give rise to such prosecution. The case in no way suggests that a plaintiff must parse
  out, at the pleading stage, the extent to which outright and pervasive falsehoods about the most
  fundamental characteristics of a dangerous drug affected any particular doctor’s conduct.



                                                     58
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 83 of 160. PageID #: 24599




  Circuit upheld the jury’s finding of proximate cause, because expert testimony at trial

  established that pharmaceutical marketing does, in fact, have an impact on physicians.

  Indeed, the expert proof at trial established that doctor-by-doctor proof of causation was

  unnecessary in light of “the well-recognized unreliability in the field of healthcare

  economics of asking doctors individually whether they were influenced by the many

  methods of off-label marketing.” 712 F.3d at 30.

           To the extent that the Manufacturers rely on City of Chicago v. Purdue Pharma

  L.P., 2015 WL 2208423 (N.D. Ill. May 8, 2015) (“City of Chicago”) and Travelers

  Indemnity Co. v. Cephalon, Inc., 620 F. App’x 82 (3d Cir. 2015) (“Travelers”), both of

  those cases were previously addressed in the Summit MTD briefing and have no

  relevance to the allegations at issue in this case.30

           Nor are the cases involving the standard of causation cited by the Manufacturers

  applicable to the level of detail that must be provided under Rule 9(b).31 For the reasons

  discussed above, Plaintiff adequately alleges that the Manufacturers’ conduct caused the

  Tribe’s injury. The adequacy of these allegations to satisfy the requirements of


  30
    City of Chicago is notably an early decision in those proceedings that involved a complaint that was later
  superseded by more detailed allegations. The allegations in City of Chicago have also been similarly
  superseded by additional factual detail in the Plaintiff’s current FAC. Likewise, Travelers, is inapplicable
  because there, “the Amended Complaint itself refers to very few specific communications by the
  defendants regarding off-label use of Actiq and Fentora.” Travelers, 32 F. Supp. 3d at 552-53. The stark
  contrast between Travelers’ failure to specifically identify a very few specific communications regarding
  off-label use (whether analyzed by the Eastern District of Pennsylvania or the Third Circuit), and Plaintiff’s
  detailed allegation of a complex fraudulent marketing scheme that began in 1996 prevent any comparison
  between Travelers and Plaintiff’s claims.
  31
    In re Bextra & Celebrex Mktg. Sales Practice and Prod. Liability Litig., MDL No. 1699, 11-CV-00310,
  2012 WL 3154957, at *6 (N.D. Cal. Aug. 2, 2012) (“the mere fact that prescriptions were written does not
  prove causation”) (emphasis added); Cent. Reg’l Emps. Ben. Fund v. Cephalon, No. Civ.A.09-3418
  (MLC), 2010 WL 1257790, at *4 (D.N.J. Mar. 29, 2010) (plaintiffs had not alleged any material
  misrepresentations or omissions by Cephalon – only that Cephalon had engaged in off-label marketing); In
  re Actimmune Mktg. Litig., No. C 08-02376 MHP, 2009 WL 3740648, at *11 (N.D. Cal. Nov. 6, 2009)
  (plaintiffs had “not sufficiently amended their complaint to cure the causation and reliance deficiencies in
  their UCL fraudulent prong claim.”); Sidney Hillman, supra, 873 F.3d at 577 (discussing issues that
  compound the problem of indirect causation, or indirect injuries).



                                                       59
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 84 of 160. PageID #: 24600




  proximate cause, however, is an inquiry entirely distinct from the requirements of Rule

  9(b), which apply only to allegations of fraud.

          For the reasons set forth in the Summit Opposition and above, Plaintiff pleads its

  fraud and RICO Marketing Claims with sufficient particularity to satisfy Rule 9(b).

                   3.       Plaintiff’s RICO Supply Chain Claim is Pleaded with
                            Sufficient Particularity

          Manufacturer and Distributor Defendants argue that Plaintiff fails to plead with

  particularity the mail and wire fraud allegations that support the RICO Supply Chain

  claim. This argument turns on Defendants’ attempt to cast the RICO Supply Chain mail

  and wire fraud claims as claims of affirmative misrepresentation. But, as explained in the

  Summit Opposition, Plaintiff alleges a fundamentally omission-based claim that also

  included misrepresentations made in furtherance of the overall omissions. Specifically,

  Defendants had a duty, under the CSA and its implementing regulations, to identify and

  report suspicious orders of prescription opioids, yet failed to do so in order to increase

  and maintain high quotas for the manufacture and distribution of their drugs, thereby

  unlawfully expanding the market. FAC ¶¶ 799-809. The mail and wire fraud statutes,

  moreover, do not require a misrepresentation or omission; a scheme or artifice to defraud

  will suffice.32 Even so, Plaintiff pleaded misrepresentations and omissions with sufficient

  particularity to notify Defendants of the claims against them.




  32
     Misrepresentation is merely one means by which either crime may be committed. Section 1341 refers to
  “any scheme or artifice to defraud, or for obtaining money or property by means of false or fraudulent
  pretense, representations or promises. 18 U.S.C. § 1341; 18 U.S.C. § 1343. The essence of mail and wire
  fraud is taking money or property belonging to another and using those instrumentalities in furtherance of
  the scheme. A misrepresentation is not required. Carpenter v. United States, 484 U.S. 19, 26-28 (1987);
  McNally v. Gray, 483 U.S. 350, 359 (1987) (mail fraud reaches “false promises and misrepresentations as
  to the future as well as other frauds involving money or property”) (emphasis added); Bridge, supra,
  (describing a classic fraud-by-concealment scheme, with no communications to the victims).



                                                      60
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 85 of 160. PageID #: 24601




           Plaintiff details the specific circumstances constituting the overall fraudulent

  scheme, including instances where the Defendants omitted material information, the

  overall methods they used, and instances in which some Manufacturers and all of the

  Distributors made misrepresentations.33 In addition to the list of false and misleading

  statements (FAC ¶¶ 150-317, 575-578, 580-583, 703, 711-712, 732, 766, 772-776, 779,

  806, 809, 831-832), Plaintiff alleges specific examples of the Defendants’ material

  omissions, including their awareness of specific orders, awareness of competing

  Manufacturer and Distributor Defendants’ orders, and their failure to report them,

  including that the Defendants had a duty to make a full and complete disclosure regarding

  their compliance with the CSA, and failed to do so while allowing hundreds of millions

  of pills to be diverted. FAC ¶¶ 258, 296, 474-476, 485, 497-505, 507-509, 511-516, 528-

  529, 531-572, 586-592, 596-606, 608-619, 621-635, 648, 714-720, 733, 750-763, 801-

  806, 808-810, 817, 825. For example, Mallinckrodt was prosecuted for failing to report

  suspicious orders, including the orders through which “Mallinckrodt supplied

  distributors, and the distributors then supplied various U.S. pharmacies and pain clinics.”

  FAC ¶¶ 499-500, 569. The Complaint details similar enforcement actions against each of

  the Distributor Defendants, all of which confirm that the Distributor Defendants were

  aware of and refused to report suspicious orders. FAC ¶¶ 564-572. Plaintiff also alleges

  that all of the Distributor Defendants, and some of the Manufacturer Defendants, made

  additional affirmative misrepresentations that furthered the common purpose of the


  33
    A “RICO claim does not require any proof of affirmative misrepresentations because the omission of
  material facts suffice to prove the predicate acts of mail or wire fraud.” In re Duramax Diesel Litig., 298 F.
  Supp. 3d 1037, 1083 (E.D. Mich. 2018) (citation omitted); see also In re Whirlpool Corp., 684 F. Supp. 2d
  942, 961 (N.D. Ohio 2009). Plaintiff must only allege their “theory of fraudulent omissions with enough
  specificity to provide Defendants with fair notice of the claims.” Duramax, at 1056 (citing United States v.
  Walgreen Co., 846 F.3d 879, 880-81 (6th Cir. 2017)).



                                                       61
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 86 of 160. PageID #: 24602




  Opioid Supply Chain Enterprise. FAC ¶¶ 564-72, 573-85, 652-700, 726, 729, 806, 808-

  09.

           These allegations are sufficient to satisfy Rule 9(b) as to a scheme to defraud by

  omission. “Rule 9(b) does not require fraud-by-omission claims to specify the time,

  place, and specific content of an omission as precisely as would a . . . false representation

  claim.” Whirlpool, supra, 684 F. Supp. 2d at 961. The allegations described above

  provide the Distributor Defendants with sufficient “who, what, when, and how” to

  distinguish the cases cited in footnote six of Defendants’ brief.34

           The Manufacturers’ argument that Plaintiff must, but has failed to, identify

  specific pharmacies is incorrect and irrelevant to Plaintiff’s mail and wire fraud claims.

  As a preliminary matter, Plaintiff’s Complaint identifies numerous enforcement actions

  taken against the majority of the Manufacturers involving their failure to report

  suspicious orders. FAC ¶¶ 458, 500, 565, 569, 758-762. The Manufacturer and

  Distributor Defendants well know which pharmacies were at issues in the enforcement

  actions against them and which pharmacies that they should have identified to the DEA



  34
     Paatalo v. J.P. Morgan Chase Bank, N.A., No. CV-10-119-BLG-CSO, 2011 WL 13130862, at *10 (D.
  Mont. May 18, 2011) (plaintiff’s complaint “simply echoe[d] the language of the RICO statute,”
  “provide[d] few details as to specific times, places, or roles played by individual defendants in the alleged
  scheme,” and “the list of predicate acts is conclusory and without concrete factual allegations against the
  specific defendants”); Heinrich v. Waiting Angels Adoption Servs., Inc., 668 F.3d 393, 405 (6th Cir. 2012)
  (failure to allege the dates of emails that were sent between 2005 and 2006, specifically addressed to the
  plaintiffs by a single defendant, did not provide sufficient particularity); Prater v. Livingston Ave. Child
  Care, LLC, No. 2:14-CV-490, 2015 WL 1439322, at *5 (S.D. Ohio Mar. 27, 2015) (wire fraud allegations
  based solely on misrepresentation in relation to one agreement were dismissed because the plaintiff could
  not provide any facts to support the claim, failed to identify any fraudulent statements used to induce
  reliance, failed to explain why such statements were fraudulent and failed to provide where and when the
  fraudulent statements were made); Arnold v. Alphatec Spine, Inc., No. 1:13–cv–714, 2014 WL 2896838, at
  *12 (S.D. Ohio June 26, 2014) (dismissal for plaintiffs’ failure to identify which patients had undergone
  medically unnecessary surgery as a result of alleged misrepresentation); Hot-Shot Motorworks v. Falicon
  Crankshaft Components, No. 3:13 CV 1322, 2014 WL 346435, at *5 (N.D. Ohio Jan. 30, 2014) (dismissal
  because “[p]laintiffs fail[ed] to include any required detail in their Amended Complaint with respect to the
  alleged fraud” other than two bare bones allegations). Accord Dist. Mem. 9 n.6 (citing cases).



                                                       62
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 87 of 160. PageID #: 24603




  as suspicious. The Complaint alleges that the Manufacturer and Distributor Defendants

  were in possession of sophisticated prescriber and patient-level data which alerted them

  to prescribing and usage trends and, furthermore, that the Manufacturer and Distributor

  Defendants were actually aware of pill mills and that diverted drugs were traveling along

  drug corridors like the “oxy express” and the “blue highway”, and did nothing to stop it.

  FAC ¶¶ 543-48, 551-53, 556-59, 561-63, 571, 589, 601, 611, 614-618, 621-625, 632,

  636-50, 747-63, 801, 809. Furthermore, the Distributors have put forward no authority

  for their hoped-for requirement that Plaintiff identify pharmacies as part of their Rule

  9(b) obligations. This argument is therefore, meritless.

         Finally, the Distributors cannot plausibly argue that Plaintiff fails to allege a mail

  and wire fraud scheme that was used to deprive someone of money or property. This

  argument is a complete adoption of an identical argument asserted by the Distributors in

  Summit County. Plaintiff therefore incorporates its argument from the Summit

  Opposition at 33-34. The entire purpose of the Opioid Supply Chain Enterprise was to

  deprive people of money or property by refusing to identify, report and reject suspicious

  orders. FAC ¶¶ 476, 498-499, 513-16, 564-85, 799-804, 809-10, 816-17, 820. This

  scheme evidences fundamental dishonesty, unfairness, improper dealings, and an absence

  of moral uprightness, as well as fraudulent misrepresentations and omissions. United

  States v. Van Dyke, 605 F.2d 220, 225 (6th Cir. 1979); United States v. Jamieson, 427

  F.3d 394, 402 (6th Cir. 2005).

                         a.     Plaintiff Does Not Improperly “Group Plead.”

         The Manufacturer and Distributor Defendants both argue that Plaintiff failed to

  satisfy Rule 9(b) because Plaintiff improperly “group plead” the allegations against

  Defendants. This argument is adopted wholesale from the Manufacturer and Distributor


                                               63
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 88 of 160. PageID #: 24604




  Defendants’ briefs in Summit County and Plaintiff incorporates the arguments from the

  Summit Opposition at 34-35. The cases cited by the Manufacturers35 and Distributors36

  involve relatively small numbers of defendants who were charged with making a

  relatively small number of misrepresentations, and situations in which the allegations do

  not support the inference of responsibility for the representations of another. Therefore,

  those cases are distinguishable from the complex far-reaching fraud allegations in this

  case, where Plaintiff also alleged the misrepresentations made by each of the RICO

  Manufacturer and Distributor defendants regarding their respective marketing and supply

  chain activities.

                      4.       Plaintiff Pleads Its Claims against the Generic Manufacturers
                               with Sufficient Particularity.

             The Generic Manufacturers argue that the marketing claims against them should

  be dismissed because their business model does not involve promotion of their products,

  in effect denying that the allegations of the Complaint are true as to them. Such a

  contention is clearly outside the scope of a motion to dismiss, as it relies on facts outside

  the pleading, assumes the falsity of the allegations in the Complaint, and calls upon the

  Court to draw inferences in favor of the movant, rather than the pleader. See Doe v.

  Miami Univ., 882 F.3d 579, 588 (6th Cir. 2018) (on a motion to dismiss, a court “must

  construe the complaint in the light most favorable to the plaintiff and accept all

  allegations as true”); In re Fair Fin. Co., 834 F.3d 651, 656 n.1 (6th Cir. 2016), reh’g

  denied (Sept. 23, 2016) (“As a general rule, matters outside the pleadings may not be


  35
    Hoover v. Langston Equip Assocs., Inc., 958 F.2d 742, 745 (6th Cir. 1992) (dismissing fraud claims
  because, unlike Plaintiff’s allegations, the plaintiffs had articulated general averments of fraud attributed to
  “the defendants” and “the complaint [did] not enable a particular defendant to determine with what it is
  charged”); Cataldo v. U.S. Steel Corp., 676 F.3d 542, 551 (6th Cir. 2012).
  36
       See Dist. Mem. 9 n.7 and 10 (citing cases).



                                                        64
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 89 of 160. PageID #: 24605




  considered in ruling on a 12(b)(6) motion. . . .”). Nor is it obviously the case that generic

  manufacturers lack economic incentives to engage in unbranded promotion, nor that their

  business models necessarily exclude such promotion.

         In order to give their argument the veneer of legal authority, the Generic

  Manufacturers (and, indeed, the Manufacturers as well) cite New York v. Actavis, PLC,

  No. 14 CIV. 7473, 2014 WL 7015198, at *26 (S.D.N.Y. Dec. 11, 2014), aff’d sub nom.

  New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638 (2d Cir. 2015), but the

  Actavis case provides no basis for this Court to disregard the allegations of the

  Complaint. In Actavis, the court held an evidentiary hearing on a motion by the State of

  New York for a preliminary injunction. Following the hearing, based on the evidence

  presented, the court made certain findings of fact on the specific record applicable to the

  specific drug in the case (Namenda IR, used in the treatment of Alzheimer’s disease).

  The Generic Manufacturers may not substitute the findings of fact of a different court, in

  a different case to which the Tribe was not a party, involving a different drug, for proof at

  any stage in this case, but even less may it credit such findings in contradiction to the

  allegations of the Tribe’s Complaint. The Generic Manufacturers will have the

  opportunity to deny, and to attempt to disprove, the allegations of the Complaint with

  respect to their participation in the fraudulent marketing of opioids, but their contention

  that the allegations of the Complaint are untrue cannot be adjudicated on this motion.

         The remainder of the Generic Manufacturers’ argument that the Tribe has not

  pleaded its marketing claims against them with sufficient particularity is a variant of the

  “group pleading” argument raised by other defendants, and is equally without merit. See

  Summit Opp. Mem. at 34-35. In particular, in this instance, the Generic Manufacturers




                                               65
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 90 of 160. PageID #: 24606




  are subsidiaries and sibling companies to name-brand manufacturers. See FAC ¶¶ 45, 47,

  64, 74. Plaintiff alleges that the various corporate entities within the corporate family

  work together and promote opioids. With respect to the Actavis entities, for example,

  Plaintiff alleges that “Each of these defendants and entities is owned by Defendant

  Allergan PLC, which uses them to market and sell its drugs in the United States.” Id. at

  ¶ 45 (emphasis added). Similarly, Plaintiff alleges that “Teva USA and Cephalon, Inc.

  and their DEA registrant subsidiaries and affiliates (collectively, “Cephalon”) work

  together to manufacture, promote, distribute and sell both brand name and generic

  versions of . . . opioids in the United States, the State, and Plaintiff’s Community.” Id. at

  ¶ 49 (emphasis added). And, with respect to Mallinckrodt, Plaintiff alleges

  “Mallinckrodt plc, Mallinckrodt LLC, and SpecGX LLC and their DEA registrant

  subsidiaries and affiliates (together “Mallinckrodt”) manufacture, market, sell and

  distribute pharmaceutical drugs throughout the United States, and in the State, and

  Plaintiff’s Community.” Id. at ¶ 74 (emphasis added). Plaintiff further alleges that

  “Mallinckrodt promoted its branded opioids Exalgo and Xartemis XR, and opioids

  generally, in a campaign that consistently mischaracterized the risk of addiction.” Id. at ¶

  197 (emphasis added).

         Plaintiff also alleges that the Marketing Defendants engaged in unbranded

  advertising and promotion. See FAC ¶¶ 197, 198, 319, 412-413, 701-713. Such

  advertising benefited not only branded opioids, but generic opioids as well, as it

  increased the market for all opioid medications through false and fraudulent

  misrepresentations. See, e.g., id. at ¶ 412 (“Through unbranded materials, the Marketing

  Defendants expanded the overall acceptance of and demand for chronic opioid therapy




                                               66
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 91 of 160. PageID #: 24607




  without the restrictions imposed by regulations on branded advertising.”), id. at ¶ 701

  (marketing defendants engaged in unbranded advertising “to increase sales, revenue, and

  profit from their opioid products.”). Moreover, because each of the Generic

  Manufacturers is affiliated with a branded manufacturer, the Court may infer that

  unbranded advertising and promotion was carried out by the corporate family on behalf

  of the company’s branded and generic products.

         The Generic Manufacturers also argue that the Tribe’s supply-chain and diversion

  claims fail uniquely as to them because, they argue, the Complaint fails to allege specific

  facts about them. This argument, too, should be rejected.

         Plaintiff’s claims concerning the failure to control the supply chain and prevent

  diversion do not sound in fraud and are not subject to the heightened pleading

  requirements of Rule 9(b). Instead, these claims need only comply with the notice-

  pleading standard under Federal Rule of Civil Procedure 8(a)(2), which requires only “a

  short and plain statement of the claim showing that the pleader is entitled to relief[,]”

  governs. See Fed. R. Civ. P. 8(a)(2). To the extent that the Generic Manufacturers seek

  to impose a higher pleading standard with respect to these claims, the Tribe respectfully

  incorporates the argument with respect to pleading standards made by Summit County in

  its omnibus opposition to all defendants’ motions to dismiss.

         In any event, the Tribe adequately alleges its supply-chain claims against these

  defendants. The Tribe alleges that “under the common law, the Defendants had a duty to

  exercise reasonable care in delivering dangerous narcotic substances.” FAC ¶ 481. It

  further alleges that “each of the Defendants was required to register with the DEA to

  manufacture and/or distribute Schedule II controlled substances.” Id. at ¶¶ 483 (emphasis




                                               67
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 92 of 160. PageID #: 24608




  added). Plaintiff alleges that “Defendants failed to report suspicious orders, prevent

  diversion, or otherwise control the supply of opioids following into communities across

  America” and that “[d]espite the notice described above, and in disregard of their duties,

  Defendants continued to pump massive quantities of opioids despite their obligations to

  control the supply, prevent diversion, report and take steps to halt suspicious orders.” Id.

  at ¶ 564; see also ¶¶ 513-516, 539-550. Plaintiff is not required to plead specific evidence

  to support its claims, nor to provide specific examples of enforcement actions against

  each defendant, even where such examples are provided with respect to some. This is

  especially true because the Tribe’s claims are not created by the Defendants’ statutory

  and regulatory duties, but rather arise from their parallel state duties to exercise

  reasonable care in delivering their dangerous products. Thus, Plaintiff need not prove,

  much less allege, that a defendant was the subject of any enforcement action in order to

  establish a defendant’s liability.

                  5.      Plaintiff Adequately Pleads Claims Against the Pharmacy
                          Defendants.

          The Pharmacy Defendants argue that Plaintiff has not adequately pleaded claims

  against them as pharmacies. Pharm. Mem. at 3-4. Plaintiff does not allege violations of

  statutes or regulations applicable specifically to retailers who sell opioids. To the extent

  that Pharmacy Defendants also act as distributors, however, they may be subject to the

  same duties as other distributors (including where applicable to set the standard of care,

  the requirements under the CSA). Plaintiff’s allegations against the Pharmacy Defendants

  are based, in part, on the duties of these defendants as distributors, to control the supply

  chain for the dangerous drugs they distributed and to implement effective procedures to

  guard against diversion.



                                                68
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 93 of 160. PageID #: 24609




         In addition, the Pharmacy Defendants are liable for their role in the supply chain

  as retailers under the same theories as apply to their role as distributors. In both roles, the

  Pharmacy Defendants participate in the supply chain for dangerous opioid medications

  and in both roles, they have duties to act with due care in supplying these drugs. Plaintiff

  clearly alleges that these defendants, like their co-defendants who operate only at the

  wholesale level of the supply-chain, failed to implement a system to detect and prevent

  diversion. That the appropriate systems may have been different for their wholesale

  distribution than for their retail operations does not change the fact that the Pharmacy

  Defendants failed to control the supply chain at either point at which they operate.

  Plaintiff sufficiently alleges these failures. See FAC ¶¶ 494, 541, 591.

  III.   PLAINTIFF HAS PROPERLY PLEADED ITS STATE LAW AND FEDERAL
         COMMON LAW CLAIMS
         A.      Plaintiff Has Adequately Pleaded Its Federal Common-Law Nuisance
                 Claim.

                 1.      Plaintiff Has Pleaded All the Required Elements of Federal
                         Nuisance.

         The Supreme Court has observed that federal nuisance common law “adapts to

  changing scientific and factual circumstances.” Am. Elec. Power Co. v. Connecticut, 564

  U.S. 410, 423 (2011). Federal common law of nuisance reshapes “the old law of public

  nuisance . . . to fit the ‘realities of modern technology.’” United States v. Ira S. Bushey &

  Sons, Inc., 363 F. Supp. 110, 120 (D. Vt.), aff’d, 487 F.2d 1393 (2d Cir. 1973). Other

  Circuit courts have observed that the Supreme Court’s jurisprudence “reflects [a] broad

  understanding” of the public nuisance doctrine and that “[p]ublic nuisance traditionally

  has been understood to cover a tremendous range of subjects.” Michigan v. U.S. Army

  Corps of Engineers, 667 F.3d 765, 771-772 (7th Cir. 2011). Finally, tribes, political



                                                69
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 94 of 160. PageID #: 24610




  subdivisions and private parties have been held to be appropriate plaintiffs under the

  cause of action. See id. (tribe in federal nuisance suit).

          The elements of a federal common law nuisance claim are “simply that the

  defendant is carrying on an activity that is causing an injury or significant threat of injury

  to some cognizable interest of the complainant.” Illinois v. City of Milwaukee, 599 F.2d

  151, 165 (7th Cir. 1979), rev’d on other grounds, City of Milwaukee v. Illinois and

  Michigan, (“Milwaukee II”), 451 U.S. 304 (1981). The Second Restatement, which “has

  been a common reference point for courts considering cases arising under federal

  common law” Michigan v. U.S. Army Corps of Engineers, 758 F.3d 892, 900 (7th Cir.

  2014), defines a public nuisance as “an unreasonable interference with a right common to

  the general public.” Restatement (Second) of Torts § 821B (1) (1979) (explaining that

  common rights include “public health, the public safety, the public peace, the public

  comfort or the public convenience”). Under any kind of public nuisance law – state or

  federal – “unreasonable” refers primarily to the interference, not the defendant’s conduct.

  William L. Prosser and W. Page Keeton, The Law of Torts § 52 (5th ed. 1984). Intent is

  not a required element under federal nuisance law. Bushey, 363 F. Supp. at 120.

          The Tribe has fulsomely described an unreasonable interference to its public

  rights in its FAC, describing in over 180 pages, Defendants’ reckless and unreasonable

  practices. FAC ¶¶ 144-635. These practices have not only led to increased crime,

  addiction, deaths, destruction of public spaces, property crime, and increased tribe

  expenditures, but has also created a public health/safety emergency as well as a palpable

  climate of fear, distress, dysfunction and chaos in the community. FAC ¶¶ 898, 890.




                                                70
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 95 of 160. PageID #: 24611




  Defendants’ actions and the resulting harms are the quintessential embodiment of a

  Second Restatement and/or federal public nuisance.

                 2.      Application of Federal Common Law is Appropriate Here.

         Defendants’ conduct as alleged in the FAC is interstate in nature and creates the

  types of nuisances which require “the need for a uniform rule of decision.” Illinois v. City

  of Milwaukee, 406 U.S. 91, 105 n.6 (1972) (“Milwaukee I”). In these cases, it is

  appropriate to fashion a single federal standard, rather than rely on a patchwork of

  separate state nuisance standards. Additionally, federal nuisance is especially appropriate

  here because Plaintiff’s status as a federally-recognized tribe – a sovereign – implicates

  “uniquely federal interests.” Tex. Industries, Inc. v. Radcliff Materials, Inc., 451 U.S.

  630, 640 (1981). Indeed, “Indian tribes are domestic dependent nations that exercise

  inherent sovereign authority over their members and territories.” Oklahoma Tax

  Commission v. Citizen Band Potawatomi Indian Tribe of Oklahoma, 498 U.S. 505, 509

  (1991). That status significantly heightens the federal nature of this controversy.

         Defendants’ actions and their resulting impacts were, and continue to be,

  inherently transboundary in nature. FAC ¶¶ 636-650, 896-897. Defendants engaged in a

  nation-wide, fraudulent marketing and distribution scheme. FAC ¶¶ 475, 543.

  Defendants’ marketing and distribution of opioids were driven by national policies,

  coordination, plans, and procedures that were carefully crafted and implemented using

  national, regional, state, and local prescriber- and patient-level data. FAC ¶ 475. When

  individual states, counties, cities, or tribal communities implemented stricter measures to

  curb the infiltration of opioids, out-of-state suppliers filled the gaps. FAC ¶¶ 636-650.

  Prescriptions for opioids manufactured and distributed in one jurisdiction were regularly

  transported for sale in another. FAC ¶ 639 (detailing the investigation and arrest of a


                                               71
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 96 of 160. PageID #: 24612




  group transporting over 800-1,200 30 mg oxycodone pills every two weeks from

  California for distribution in Billings, Montana). Prescriptions written in one jurisdiction

  would often be filled in another. FAC ¶¶ 636-650. Defendants were fully aware of the

  transboundary effect of their manufacturing and distribution scheme and profited from it.

  These practices, as well as the unique federalism concerns presented by tribal grievances

  generally, justifies a need for the application of federal common law.

                 3.      Federal Common Law is Not Displaced by the CSA or DEA
                         Regulations.

         Defendants claim that federal common law claims of public nuisance claims are

  displaced by the Controlled Substances Act (“CSA”) and various Drug Enforcement

  Administration (“DEA”) regulations because the statute and regulations purportedly

  “speak[] directly to the question at issue.” Dist. Mem. at 18; Pharm. Mem. at 4. As an

  initial matter, DEA regulations are irrelevant to the inquiry because, as the Ninth Circuit

  in Native Village of Kivalina v. ExxonMobil Corp. has observed, “Congressional action,

  not executive action, is the touchstone of displacement analysis.” 696 F.3d 849, 858 (9th

  Cir. 2012) (emphasis added); see also Shell Offshore, Inc. v. Greenpeace, Inc., 2015 U.S.

  Dist. LEXIS 76306, at *19 (D. Alaska June 12, 2015) (“it is the relevant statutes, and not

  the Coast Guard’s subsequent safety and security zone regulations, that are the focus of

  the displacement analysis”).

         Defendants misrepresent the proper application of the displacement test. Courts

  are clear that while the test for displacement is plainly stated, the “existence of laws

  generally applicable to the question is not sufficient; the applicability of displacement is

  an issue-specific inquiry.” Native Village of Kivalina, 696 F.3d at 856 (emphasis added).

  The salient question then, is “whether Congress has provided a sufficient legislative



                                               72
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 97 of 160. PageID #: 24613




  solution to the particular [issue] to warrant a conclusion that [the] legislation has

  occupied the field to the exclusion of federal common law.” Michigan, 667 F.3d at 777.

         Congress provided no such legislative solution in the CSA. While Defendants are

  correct that the CSA itself “sets forth criteria they must meet to achieve and maintain

  registration,” as well as “packaging and labeling,” “forms” and “records” requirements

  [Dist. Mem. at 18-20] (which Defendants did in fact violate), such criteria hardly amount

  to a complete occupation to the exclusion of a national standard of liability. If it were, we

  would probably not find ourselves where we are now – wrestling with the worst man-

  made public health epidemic in modern medical history. Moreover, the CSA does not at

  all speak to the reckless and national marketing scheme of the type Defendants engaged

  in here, which is one basis for the Tribe’s nuisance claims.

         Also important is that Congress explicitly intended that the CSA would not be the

  end-all for the oversight of illicit drug enterprises. The CSA is clear that it does not

  “occupy the field [of controlled substances] . . . to the exclusion of any State law on the

  same subject matter.” 21 U.S.C. § 903. In finding that the Federal Water Pollution

  Control Act did not displace the state of Illinois’ right to claims federal common-law

  nuisance, the court in People of State of Ill. ex rel. Scott v. City of Milwaukee, Wisc.

  found as persuasive “the express intention of Congress to allow the states to establish

  tougher standards of performance.” 366 F. Supp. 298, 301 (N.D. Ill. 1973).

         The Supreme Court itself has determined that certain federal statutory schemes do

  not displace federal common law public nuisance. For example, in Milwaukee I, Illinois

  sued Milwaukee and other cities to prevent them from dumping sewage into Lake

  Michigan. See 406 U.S. at 93. Writing for a unanimous Court, Justice Douglas ruled that




                                                73
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 98 of 160. PageID #: 24614




  the federal common law of public nuisance had not been displaced, despite the fact that

  Congress had by that time “enacted numerous laws touching interstate waters.” Id. at 101.

  Laws that touched on the issue at hand were not enough, and thus the common law action

  could move forward. Id. at 108.37

           Many lower courts have adopted the reasoning in Milwaukee I, demonstrating that

  the decision still remains vital. For example, In Michigan v. U.S. Army Corps of

  Engineers, the Seventh Circuit denied defendants’ motion to dismiss the federal nuisance

  claims of a Native American tribe and five states. 667 F.3d at 771 (2011). There, the

  plaintiffs claimed that an invasive carp species, if unabated, would pose irreversible

  damage to the Great Lakes. Id. at 768. Citing Milwaukee I, the court addressed multiple

  federal statutes potentially affecting displacement. Id. at 778-780. The court determined

  that while Congress was well aware of the problems posed by invasive carp species and

  had authorized federal agencies to take certain actions, it fell “far short of the mark.” Id.

  at 780. The statutes that defendants claimed were displacing federal common law were

  found to be less comprehensive than Congress’s air or water pollution schemes and also

  did not provide “for any enforcement mechanism or recourse.” Id. at 779-780.

  Emphasizing that federal nuisance “exists to provide a uniform rule for interstate disputes

  that will serve the national interest,” the court rejected defendants’ arguments that the

  claim was displaced. Id. at 773, 800. Like the statutes discussed in Michigan, the CSA is


  37
    To be clear, six months after Milwaukee I, Congress passed sweeping amendments to the Federal Water
  Pollution Control Act. Nine years after that, the Court decided in Milwaukee II that those amendments
  displaced federal common law in the area. 451 U.S. 304 (1981). Critical to Milwaukee II’s analysis, however,
  was that under the new regime “every point source discharge is prohibited unless covered by a permit,” and
  that “there is no room for courts to attempt to improve on that program.” Id. at 318. In contrast, the CSA does
  not govern every distributor or manufacturer transaction or statement and, for reasons articulated in this
  response, there is certainly room for federal common law to improve on controlled substances oversight.
  Even under Milwaukee II Plaintiff’s federal nuisance claim is not displaced.



                                                       74
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 99 of 160. PageID #: 24615




  not as robust as the air or water pollution schemes, and also does not provide an adequate

  enforcement mechanism or adequate recourse for the entities effected by the scourge of

  opioids.

         And, most recently, in In re Ingram Barge Co., a federal district court denied

  summary judgment on plaintiff’s federal nuisance claims which were based on the

  destruction of federal property. No. CV 13 C 3453, 2016 WL 1450027, at *17, 2016 U.S.

  Dist. LEXIS 49319, at *141 (N.D. Ill. Apr. 13, 2016). Addressing displacement, the court

  distinguished the federal regulatory regime involved in the Supreme Court case of Am.

  Elec. Power Co., noting, “[Defendant] fails . . . to establish the RHA’s likeness to the

  Clean Air Act or the Clean Water Act as an ‘all-encompassing regulatory program’

  supervised by one expert agency. . . . Although the RHA touches on the issue at

  hand . . . . laws that ‘touch[] on the issue at hand [are] not enough . . .’” 2016 WL

  1450027, at *17-18, 2016 U.S. Dist. LEXIS 49319, at *142.

         Here, the CSA does not touch at all on many of the FAC’s allegations. See, e.g.,

  FAC ¶¶ 147-317 (detailing Defendants’ multiple falsehoods); FAC ¶¶ 317-436 (detailing

  sophisticated campaign to convince the medical community of falsehoods, including

  payments to key opinion leaders); FAC ¶ 585 (Defendants’ misleading public statements

  of efforts to work with law enforcement to curb infiltration of opioids). Moreover, as In

  re Ingram explains, the Clean Air Act (“CAA”), which was the statutory regime at issue

  in Defendants’ cited case of American Electric Power Co., is a markedly robust and

  complete one with its own private enforcement mechanism. 564 U.S. 410, 423-25 (2011).

  Because the private enforcement mechanisms of the CAA provide “the same relief the

  plaintiffs seek by invoking federal common law,” the American Electric decision saw “no




                                               75
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 100 of 160. PageID #: 24616




   room for a parallel track.” Id. The CSA, however, lacks this feature. It “does not specify

   a private remedy for those aggrieved by violations of the CSA.” Ringo v. Lombardi, No.

   09-4095-CV-C-NKL, 2010 WL 3310240, at *2 (W.D. Mo. Aug. 19, 2010). And, federal

   oversight of opioid diversion is largely dependent on DEA regulations, which (as

   explained above) are irrelevant to the displacement analysis.

            The Supreme Court in Georgia v. Tenn. Copper Co., explains that when the states

   joined the union, and in so doing, abandoned their right to abate foreign nuisances by

   force, “they did not thereby agree to submit to whatever might be done . . .” 206 U.S.

   230, 237 (1907). Therefore, a fortiori, the nation’s Indian tribes, who involuntarily gave

   up such rights and received the federal government’s protection in exchange, must be

   entitled to the same right of action. Defendants’ arguments would essentially consign

   sovereign tribes to dependency upon the whims of federal agents to protect them from

   incursions by reckless manufacturers, promotors and distributors of lethal painkillers.38

   There is no evidence that Congress had that intention through their promulgation of the

   CSA. Defendants’ motion to dismiss the Blackfeet Tribe’s federal nuisance cause of

   action should be rejected.

            B.       Plaintiff Has Adequately Pleaded Its State Law Statutory Public
                     Nuisance Claims.

            Montana statutory law defines a nuisance as “[a]nything that is injurious to

   health . . . . so as to interfere with the comfortable enjoyment of life or property. . . .”

   MONT. CODE ANN. § 27-30-101(1). In turn, “comfortable enjoyment of life” includes the

   safety, health or morals of the public. Restatement (Second) of Torts § 821B (2)(a). The


   38
     Indeed, Defendants themselves argue that tribes are not subject to the protections of state drug laws. [Dist.
   Mem. at 18-20] (citing Montana state drug laws, and stating “Indian tribes have no role in this comprehensive
   scheme . . .”).


                                                        76
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 101 of 160. PageID #: 24617




   Montana Code further explains that public nuisance, as opposed to private nuisance, is

   “one which affects, at the same time, an entire community or neighborhood or any

   considerable number of persons, although the extent of the annoyance or damage

   inflicted upon individuals may be unequal.” MONT. CODE ANN. § 27-30-102(1). Finally,

   “‘public nuisance,’ as defined and construed, requires little if any . . . intent, being

   virtually a crime of absolute liability.” MONT. CODE ANN. § 45-8-111, Editors’ Notes,

   Criminal Law Commission Comments.

          The FAC sets forth in detail Defendants’ actions which led to the public nuisance.

   Specifically, Defendants employed a sophisticated campaign to convince the medical

   community and the public that opioids were safe, when they were not. FAC ¶¶ 917, 924,

   929, 932, 933, 935. Defendants failed to prevent diversion of their opioids to illicit

   channels. FAC ¶¶ 15, 37, 932. Defendants’ misconduct fostered black markets for

   diverted prescription opioids and a concomitant rise in heroin and fentanyl abuse. FAC

   ¶¶ 9, 934. By flooding Montana and the Blackfeet Reservation with more opioids than

   could be used for legitimate medical purposes and by filling and failing to report orders

   that Defendants knew or should have realized were being diverted for illicit purposes,

   Defendants caused this opioid crisis. FAC ¶¶ 481, 542.

          The FAC describes the consequences of this conduct to the Blackfeet Tribe,

   consequences that the Centers for Disease Control has called a “public health epidemic,”

   what the U.S. Surgeon General has deemed an “urgent health crisis,” and what one

   Blackfeet Tribe senior tribal member has described as the Tribe’s “modern-day small

   pox.” FAC ¶¶ 17, 688. Specifically, the First Amended Complaint details severe and far-

   reaching public health, social services, and criminal justice consequences, including the




                                                 77
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 102 of 160. PageID #: 24618




   fueling of addiction and overdose from illicit drugs such as heroin. FAC ¶¶ 19, 928. The

   costs are borne by the Tribe and other similarly situated tribes. FAC ¶ 20. These

   necessary and costly responses to the opioid crisis include the handling of emergency

   responses to overdoses, providing addiction treatment, handling opioid-related

   investigations, arrests, adjudications, and incarceration, treating opioid-addicted

   newborns in neonatal intensive care units, burying the dead, and placing thousands of

   children in foster care placements, among others. FAC ¶¶ 19, 928 674, 945, 1027.

          In short, Defendants have created and maintained a public nuisance, prohibited by

   MONT. CODE ANN. § 27-30-101(1), through their ongoing conduct of marketing,

   promoting, distributing, and selling opioids, which are dangerously addictive drugs, in a

   manner which caused prescriptions and sales of opioids to skyrocket on the Blackfeet

   Reservation, flooded the Blackfeet Reservation with opioids, and facilitated and

   encouraged the flow and diversion of opioids into an illegal, secondary market, resulting

   in devastating consequences to Blackfeet Nation and its residents.

                  1.      Plaintiff Has Alleged an Interference with a Public Right.

          Defendants first attempt to characterize the Blackfeet Tribe’s allegations as

   simply an amalgamation of private, personal injury claims suffered by Plaintiff’s

   residents rather than rights of the public and community of the Blackfeet Tribe. Dist.

   Mem. at 16; Pharm. Mem. at 6. Defendants’ argument fails on two fronts. First, this case

   is not about whether individual residents of the Tribe have a right to be personally and

   individually safe from defective products. Nor is it about whether particular individuals

   in particular circumstances with particular medical conditions abused or misused or were

   improperly prescribed opioids. While it is true that thousands of the Plaintiff’s residents

   have been personally touched by the opioid crisis, the Tribe’s public nuisance claim does


                                                78
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 103 of 160. PageID #: 24619




   not seek recovery based on, or for, the personal injuries of any individual resident.

   Instead, the Tribe alleges that the Defendants engaged in conduct that creates widespread

   harm and widespread costs that are “borne by Plaintiff” itself. FAC ¶ 19.

           Second, Defendants ignore clear statutory language and generally accepted

   principles of law when they claim that the opioid epidemic cannot constitute a public

   nuisance because it does not interfere with a public right. A public right may be – and

   here has been – infringed by conduct that also creates a multitude of private harms and

   tragedies. Public rights and private ones are distinct, but they are not mutually exclusive

   or contradictory. Montana’s public nuisance statute specifically contemplates that

   “[a]nything that is injurious to health” is a public nuisance. MONT. CODE ANN. § 27-30-

   101(1). The Second Restatement provides an even more expansive definition, directing

   the court to consider whether the activity interferes with the “public health, the public

   safety, the public peace, the public comfort or the public convenience.” Restatement

   (Second) of Torts § 821B (2)(a); see also id. at comment b (“public nuisances include[s]

   interference with the public health . . .”).

           The DEA also considers the opioid epidemic to be a public health crisis. In 2006,

   the DEA stated that, “the illegal distribution of controlled substances has a substantial

   and detrimental effect on the health and general welfare of the American people” and that

   “even just one distributor that uses its DEA registration to facilitate diversion can cause

   enormous harm.” FAC ¶ 503 (emphasis added).

           Recently, the New York Supreme Court expressly rejected, on two separate

   occasions, the exact argument put forth by both Distributor and Manufacturer Defendants

   here:




                                                  79
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 104 of 160. PageID #: 24620




            [I]t suffices to note the defendants’ failure to establish why public health is
            not a right common to the general public, nor why such continuing,
            deceptive conduct as alleged would not amount to interference; it can
            scarcely be disputed, moreover, that the conduct at the heart of this
            litigation, alleged to have created or contributed to a crisis of epidemic
            proportions, has affected a considerable number of persons.

   In re Opioid Litigation, No. 400000/2017, 2018 WL 3115102, at *22 (N.Y. Sup. Ct. June

   18, 2018); see also In re Opioid Litigation, 400000/2017, at 13 (N.Y. Sup. Ct. July 17,

   2018) (same) (filed as Exhibit 4 hereto).

            Similarly, in State of West Virginia, ex rel. Morrisey v. AmerisourceBergen Drug

   Corp., the court found that plaintiffs sufficiently pleaded their public nuisance claims,

   because defendants infringed on plaintiffs’ rights:

            . . . to be free from unwarranted injuries, addictions, diseases and
            sicknesses and have caused ongoing damage, hurt or inconvenience to
            WV residents exposed to the risk of addiction to prescription drugs, who
            have become addicted, and/or have suffered other adverse consequences
            from the use of the addictive prescription drugs distributed by
            Defendants . . .

   C.A. No. 12-C-141, 2014 WL 12814021, at *10 (Boone Cty. Cir. Ct., W. Va. Dec. 12,

   2014).

            Defendants argue that the Tribe engages in “cursory allegations” and “never

   identifies any specific act by any of the Moving Defendants that violated any law or

   interfered with any public right.” This argument would require the Court to ignore all the

   factual allegations in Plaintiff’s three hundred page First Amended Complaint detailing

   each Defendant’s violations of a myriad of state and federal laws and regulations. See,

   e.g., FAC ¶¶ 745 (civil and criminal penalties related to Purdue’s OxyContin); FAC ¶ 753

   (record $150 million fines for McKesson distribution practices); FAC ¶ 750 (Cardinal

   Health $44 Million fine for CSA violations); see also FAC ¶¶ 44, 84, 453-54, 456-58,

   500, 565-572, 606, 608-619, 621-29, 737-46, 757, 762.


                                                  80
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 105 of 160. PageID #: 24621




          Defendants also claim that the Tribe does not sufficiently allege that Defendants

   exercise control over the prescribing practices of doctors, or detail how patients use the

   drugs they are prescribed. This argument, however, misconstrues the public nuisance

   instrumentality alleged in the FAC. Plaintiff’s public nuisance claim is not about a

   defective product. Rather, the Tribe seeks redress and abatement of Defendants’ unlawful

   marketing and distribution activities which foreseeably and continually fuel illegal

   secondary markets for opioids on the Blackfeet Reservation. Courts have rejected

   Defendants’ “lack of control” argument in similar circumstances. See James v. Arms

   Tech., Inc., 820 A.2d 27, 52-53 (N.J. 2003); Cincinnati v. Beretta U.S.A. Corp., 768

   N.D.2d 1136, 1142 (2002); see also Monroe Response to Motion to Dismiss § III.E.3

   (rebutting similar argument and citing cases.).

          Plaintiff has adequately alleged an interference with a public right. Defendants

   worked together to create one of the greatest interferences to a public right –“the worst

   man-made epidemic in modern medical history – the misuse, abuse, and over-

   prescription of opioids.” FAC ¶ 2. Such allegations meet the definition of “public right”

   set forth under Montana law. Defendants’ claims to the contrary are disingenuous and

   should be rejected.

                  2.      Plaintiff’s Public Nuisance Claim is Not a Disguised Product-
                          Liability Claim.

          Defendants argue that Plaintiff’s public nuisance claims are “essentially products

   liability claims for economic damages masquerading under the guise of nuisance law.”

   Mfr. Mem. at 34. Defendants fail to cite any Montana authority rejecting a public

   nuisance claim because the claim involved a product. A number of jurisdictions,

   however, have examined Defendants’ argument and rejected it. See, e.g., People v.



                                                81
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 106 of 160. PageID #: 24622




   Conagra Grocery Prods. Co., 17 Cal. App. 5th 51 (2017) (upholding public nuisance

   verdict against lead paint companies based on marketing for residential use more than

   fifty years earlier); Gov’t of the United States V.I. v. Takata Corp., 67 V.I. 316, 410

   (Super. Ct. 2017) (rejecting defendants’ claim that the claim was a “product liability

   claim under the guise of public nuisance” because the “argument ignores the crux of

   Plaintiff’s allegations, which largely pertain to [defendants’] conduct in affirmatively

   misrepresenting and concealing information regarding a known hazardous defect, rather

   than [defendants’] initial manufacture and placement of the defective product in the

   stream of commerce.”); Cty. of Santa Clara v. Atl. Richfield Co., 137 Cal. App. 4th 292,

   309-10 (2006) (holding “[a] public nuisance cause of action is not premised on a defect in

   a product or a failure to warn but on affirmative conduct that assisted in the creation of a

   hazardous condition”); City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136, 1142

   (Ohio 2002) (finding “that under the Restatement’s broad definition, a public-nuisance

   action can be maintained for injuries caused by a product if the facts establish that the

   design, manufacturing, marketing, or sale of the product unreasonably interferes with a

   right common to the general public”).

          In Beretta, the court rejected the gun industry’s arguments that their conduct,

   which the city alleged “ensure[d] the widespread accessibility of the firearms to

   prohibited users . . . [and thereby] fostered the criminal misuse of firearms,” could not

   form the basis of an actionable public nuisance claim, ruling that “the city should be

   permitted to bring suit against the manufacturer of a product under a public nuisance

   theory, when, as here, the product has allegedly resulted in widespread harm and




                                                82
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 107 of 160. PageID #: 24623




   widespread costs to the city as a whole and to its citizens individually.” 768 N.E.2d at

   1140-1143.

           Defendants ignore these cases, and rely instead on distinguishable ones. See, e.g.,

   State v. Lead Indus. Ass’n. Inc., 951 A.2d 428 (R.I. 2008) (overruling trial court’s refusal

   to dismiss the public nuisance count not because the claims sounded in product-liability,

   but because the complaint did not allege all of the elements of public nuisance); Camden

   Cty. Bd. of Chosen Freeholders v. Beretta, U.S.A. Corp., 273 F.3d 536, 540 (3d Cir.

   2001) (rejecting the public nuisance claim because the allegations were that a lawful

   product was being lawfully placed in the stream of commerce); Ashley Cty. v. Pfizer, 552

   F.3d 659 (8th Cir. 2009) (affirming the lower court’s dismissal not because public

   nuisance involved a product, but because the pleadings didn’t sufficiently allege

   proximate cause, and noting that the defendants’ manufacture, sale and distribution

   complied with the law and the intervening criminal acts broke the causal chain); City of

   Perry v. Procter & Gamble Co., 188 F. Supp. 3d 276, 291 (S.D.N.Y. 2016) (declining to

   conclude that a nuisance claim can arise out of the legal sale or use of a product because

   the court had not considered such a claim before); Detroit Bd. Of Educ. v. Celotex Corp.,

   493 N.W.2d 513, 520 (Mich. Ct. App. 1992) (deciding in a private nuisance claim not to

   hold asbestos manufacturers liable under a nuisance theory because they no longer had

   control over the nuisance and thus could not abate it).39 Unlike Defendants’ cases,

   Blackfeet Tribe’s First Amended Complaint alleges all of the necessary elements of




   39
      Defendants also cite to what appears to be a draft version of the Restatement (Third) of Torts for the
   contention that “the common law of public nuisance is an inapt vehicle for addressing the conduct at issue”
   in cases of dangerous products. No Montana case adopts the public nuisance section of the Restatement
   (Third) of Torts, nor of any other section of the Restatement (Third) of Torts.



                                                       83
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 108 of 160. PageID #: 24624




   public nuisance, that the opioid epidemic was caused by Defendants’ unlawful conduct,

   and that the nuisance can be abated by Defendants.

           Plaintiff’s claim is straightforward public nuisance: Defendants’ conduct in

   creating the opioid epidemic has resulted in a public nuisance which the Tribe must now

   pay to abate. Plaintiff’s focus on Defendants’ conduct, rather than the product, falls

   squarely within the line of cases cited above, in which courts have allowed public

   nuisance cases relating to products to go forward. As Defendants say in their brief,

   “[p]ublic nuisance is about the abatement of annoying or bothersome activities.” Mfr.

   Mem. at 36. Plaintiff’s public nuisance claims seek to abate Defendants’ annoying or

   bothersome activities which caused the opioid epidemic.

                   3.      An Interference to Property Rights is Not Required.

           Defendants argue that the Tribe’s public nuisance claim fails because Montana

   law of nuisance is “concerned with the misuse of, or interference with, land or real

   property.” Mfr. Mem. at 35. In Montana, there is no requirement that public nuisance

   must involve an interference with land or property. In Montana, “[a]nything that is

   injurious to health, indecent or offensive to the senses . . . so as to interfere with the

   comfortable enjoyment of life or property” can be a sufficient injury to establish a

   nuisance. MONT. CODE ANN. § 27-30-101 (emphasis added). To suggest that a public

   nuisance must include an interference with property ignores the rest of the statute, which

   specifically states that a public nuisance can be something that interferes with the

   “comfortable enjoyment of life.” In a throwaway footnote, Defendants say that the “tribe

   is not a living being and so cannot claim damages for interference with its ‘life’ or

   ‘personal enjoyment.’” Dist. Mem. at 16, n. 15. No authority is cited for this contention.

   Contrary to Defendants’ suggestion, a public entity can suffer a loss of “personal


                                                  84
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 109 of 160. PageID #: 24625




   enjoyment” and interference with “life.” In fact, in tobacco litigation in the 1990s, a

   Montana District Court found just that, when it refused to dismiss the State’s public

   nuisance claim because “methods utilized by the Defendants in marketing those products

   or suppressing information” resulted in an injury “to health . . . so as to interfere with the

   comfortable enjoyment of life . . . .” State v. Philip Morris, 1998 Mont. Dist. LEXIS 732,

   at *30-31 (1st Jud. Dist. Mont., Lewis and Clark Cty. 1998).

           There is simply no Montana precedent holding otherwise and Defendants’ cases

   are highly distinguishable. For example, Graveley Ranch v. Scherping, 782 P.2d 371

   (Mont. 1989) was cited by Defendants as holding that “the presence of exposed lead

   batteries on defendants’ property . . . sufficiently interfered with plaintiff’s use of

   property for grazing so as to constitute a nuisance.” Mfr. Mem. at 35. Defendants

   conveniently omitted key language from the court’s holding, that the lead batteries were

   “injurious to health.” Graveley Ranch, 782 P.2d at 373. The court did not examine

   whether damage to real property was required to establish a nuisance cause and provides

   no support for Defendants’ argument that a public nuisance must involve interference

   with real property.

           Defendants next cite State ex rel. Dept. of Environmental Quality v. BNSF Ry.

   Co., 246 P.3d 1037 (Mont. 2010) in support of their argument that public nuisance

   requires interference with land or real property. However, nowhere in Environmental

   Quality is the question of interference with real property ever raised, rather the sole issue

   was whether the contaminated groundwater and soil pollution “affect[ed], at the same

   time, an entire community or neighborhood or any considerable number of persons.” Id.

   at 1043.




                                                 85
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 110 of 160. PageID #: 24626




          Defendants similarly come up short when they argue that State ex rel. Fields v.

   Dist. Ct. of First Judicial Dist., 541 P.2d 66 (Mont. 1975) supports the proposition that

   “Montana public nuisance cases . . . focus on the use of real property.” Mfr. Mem. at 35-

   36. In Fields, the court overruled the lower court’s determination that keeping a

   dangerous dog on property was a public nuisance. The dog was the point. Id. at 68. The

   Court in Kasala v. Kalispell Pee Wee Baseball League, 439 P.2d 65, 66-69 (Mont. 1968)

   likewise overruled the lower court’s determination that a Pee Wee baseball league’s use

   of a playground constituted a public nuisance. Because there is no Montana precedent

   requiring an allegation of damage to real property in order for a claim for public nuisance

   to proceed, Defendants’ arguments should be rejected.

          In addition, the “property” argument made by Defendants was argued and rejected

   in another case, State of New Hampshire v. Purdue Pharma. There, the court expressly

   rejected the Defendants’ argument:

          Indeed, numerous other jurisdictions that, like the New Hampshire
          Supreme Court, look to the Restatement (Second) of Torts to guide their
          analysis of public nuisance claims have expressly concluded that “[a]n
          action for public nuisance may lie even though neither the plaintiff nor the
          defendant acts in the exercise of private property rights.”

   State of New Hampshire v. Purdue Pharma, at *27-28 (N.H. Sup. Ct. Sept, 18, 2018)

   (filed as Exhibit 1 hereto).

          C.      Plaintiff Pleads a Montana Common-Law Public Nuisance Claim.

          The Tribe’s second claim for relief under Montana state public nuisance law

   includes absolute public nuisance at common law, and in the alternative, qualified public

   nuisance at common law. An absolute nuisance is a nuisance, “the substance . . . of which

   is not negligence, which obviously exposes another to probable injury.” Barnes v. City of

   Thompson Falls, 979 P.2d 1275, 1278 (Mont. 1999) (internal citation omitted). On the


                                               86
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 111 of 160. PageID #: 24627




   other hand, qualified nuisance is a “nuisance dependent on negligence [that] consists of

   anything lawfully but so negligently or carelessly done or permitted as to create a

   potential and unreasonable risk of harm, which, in due course, results in injury to

   another.” Id. Both have been validly pled.

          As articulated in detail within its FAC and throughout this response, Defendants

   engaged in a nationwide, fraudulent, and reckless manufacturing and distribution scheme.

   FAC ¶¶ 144-635. Specifically, Manufacturer Defendants poured millions of dollars into

   carefully calculated marketing scheme intended to push the use of opioids, when they

   knew for a fact that they were not safe. FAC ¶¶ 144-468. Distributor Defendants

   intentionally and unreasonably distributed and sold opioids that Defendants knew would

   be diverted into the illegal, secondary market and would be obtained by persons with

   criminal purposes. FAC ¶¶ 469-635.

          Defendants assert that they did not engage in negligent conduct, and therefore

   they cannot be liable under the qualified nuisance theory. To be clear – Defendants’

   conduct was beyond negligent – it is best characterized as a reckless disregard for human

   life to achieve maximum profit. But it is sufficient, in this context, that the Tribe alleges

   throughout its Complaint, and particularly with respect to its negligence cause of action,

   that Defendants did engage in negligent conduct, allegations that must be accepted as true

   at this stage. See, e.g., FAC ¶ 982 (Defendants were required to exercise a high degree of

   care and their conduct violated their duties to Plaintiff); FAC ¶ 983 (reasonably prudent

   distributors would have prevented diversion); FAC ¶ 983 (reasonably prudent

   manufacturers would have abstained from reckless marketing activities); FAC ¶ 1022

   (detailing how Distributor Defendants violated federal and state law.).




                                                 87
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 112 of 160. PageID #: 24628




          Defendants erroneously argue that they are immune from absolute public nuisance

   because they engage in activities “subject to express statutory authorization.” Dist. Mem.

   at 14. But Defendants’ own cited case explains that this type of immunity only lies where

   it “can be fairly stated that the legislature contemplated the doing of the very act which

   occasions the injury.” Barnes v. City of Thompson Falls, 979 P.2d 1275, 1279 (Mont.

   1999) (emphasis added) (internal citation and quotation omitted). For example, in Tally

   Bissell Neighbors, Inc. v. Eyrie Shotgun Ranch, LLC, 228 P.3d 1134, 1140 (Mont. 2010),

   the Montana Supreme Court cited Barnes in finding that although a statutory scheme

   provided for the existence of gun ranges, and “protected shooting ranges explicitly from

   planning, zoning, community decay, litter, disorderly conduct, and criminal nuisance . . . .

   [it made] no mention of civil nuisance liability.” The court therefore allowed the

   nuisance claims to proceed. Id. Here, the law does not even come close to authorizing

   Defendants to engage in the alleged conduct, much less authorizing the “very act” that is

   alleged to have created the nuisance.

          Most importantly, a Montana court has previously rejected this exact argument,

   put forth in the analogous tobacco litigation:

          Defendants contend that because Montana law authorizes the sale of
          cigarettes, the State’s nuisance claim must fail. The State’s nuisance
          claim, however, is not based on the sale of tobacco products. Rather, it is
          based on Defendants’ alleged deceitful and misleading conduct in
          promoting tobacco products; the alleged deceptive manipulation of
          nicotine in tobacco products; the alleged targeting of minors; and alleged
          misrepresentation to the public regarding the safety of tobacco products.
          Since the State’s claim is not based on the sale of tobacco products but on
          the methods utilized by the Defendants in marketing those products or
          suppressing information, the Court concludes that the State has adequately
          pled a cause of action for public nuisance and that it should not be
          dismissed.




                                                88
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 113 of 160. PageID #: 24629




   State v. Philip Morris, 1998 Mont. Dist. LEXIS 732, at *30. Therefore, Defendants’

   arguments relating to absolute nuisance are meritless and should be rejected.

            Defendants argue that “Montana does not recognize a cause of action for

   ‘common law public nuisance.’ Rather, Montana has long defined the law of nuisance by

   statute . . .” Mfr. Mem. at 39. However, the Montana Supreme Court has stated that

   “[f]or the written law to effect a repeal of (the common law), the intent of the legislature

   to bring about the change must be clear . . .” Haker v. Sw. Ry. Co., 578 P.2d 724, 727

   (Mont. 1978). There is no such clear intent in Montana’s public nuisance statute to

   dispense of the common law cause of action of public nuisance.

            Defendants support their contention with an isolated quotation from a case from

   1982 which states that the public and private nuisance statutes “are but crystallizations of

   the common law.” Mfr. Mem. at 39. They do not explain why this sentence would serve

   to abrogate over a century’s worth of common law nuisance principles. Nor could they –

   the case itself details the robust history of the common law cause of action within

   Montana. Belue v. State, 649 P.2d 752, 754-55 (Mont. 1982) (reviewing common law

   public nuisance and citing a cases from 1928 and 1957); see also Mugler v. Kansas, 123

   U.S. 623, 672-673 (1887) (for more than a century, courts have recognized the

   applicability of public nuisance claims when the conduct of a defendant interferes with

   the public health and safety of the community). The better explanation is that in Montana,

   statutory and common law public nuisance causes of action both exist and that Plaintiff

   has adequately pleaded both.40




   40
     To the extent they are applicable, the Tribe incorporates all arguments made in its “statutory nuisance”
   section herein.



                                                       89
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 114 of 160. PageID #: 24630




            In that Plaintiff has adequately pled all of its state and federal nuisance claims, all

   of Defendants’ arguments are meritless and should be rejected.

            D.       Plaintiff Has Properly Pleaded Negligence Claims Against All
                     Defendants.

            “A negligence claim requires the plaintiff to establish that the defendant owed a

   legal duty, and there existed a breach of that duty, causation, and damages.” Newman v.

   Lichfield, 272 P.3d 625, 631 (Mont. 2012) (citation omitted). These elements are outlined

   in detail in the FAC. E.g., FAC ¶¶ 975-1050 (Sixth Claim for Relief). Defendants deny

   the existence of any legal duty, complain that statutes and regulations do not create a

   private right of action, infirmly demand Rule 12(b)(6) dismissal based on their version of

   facts, and cross-reference prior briefing.41

            Defendants are wrong at every turn. They misconstrue the facts pled in an attempt

   to apply their legal citations, but even then mischaracterize Montana law. Duty is a legal

   issue, but negligence generally, and foreseeability specifically, are not. Defendants

   misstate Montana law by arguing that they win, at the pleadings stage, merely by

   claiming that an intervening superseding cause overrides their own culpable conduct.

   Defendants also misstate Montana law by suggesting that a specific “relationship” is a

   prerequisite to a legal duty. And, all of these arguments miscast the Tribe’s pleadings.

   The Tribe is not trying to hold Defendants liable for the unforeseeable crimes of rogue

   third parties; rather, the Tribe is pleading Defendants’ liability for Defendants’ conduct.

   Defendants’ private-right-of-action arguments also are straw-men because the Tribe has


   41
     See Pharm. Mem. at 9-10 (heavily relying on prior briefing); Dist. Mem. at 20 (citing prior briefing). In
   response, the Tribe cross-references the plaintiffs’ prior responses. See Summit Opp. Mem., at 69-85 [No.
   1:18-op-45090-DAP, Doc. #59, PageID # 2642-58].
           Defendants also incorporate their proximate causation arguments, to which the Tribe has
   responded here at §II.C.



                                                        90
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 115 of 160. PageID #: 24631




   not pleaded that federal or state laws or regulations create a private right of action. The

   Tribe does contend that these authorities prove the standard of care breached by

   Defendants. There is no authority for dismissing a complaint under Rule 12(b)(6) merely

   because it points to operative standards of care.

                  1.      Plaintiff Has Properly Pleaded the Existence of a Duty.

          Under Montana common law, Defendants owe a duty of care not to deceitfully

   market dangerously addictive drugs nor to deliver them into illicit channels. Plaintiff is

   not seeking to enforce the statutes or regulations breached by Defendants through a

   private cause of action, but rather these authorities are cited by the Tribe to define the

   standard of care applicable under common law negligence.

                          a.      Defendants Owe a Common Law Duty of Reasonable
                                  Care.

          The FAC alleges that the devastation of crippling drug addiction and its injury to

   the Tribe was foreseeable to Defendants. FAC ¶¶ 981, 984, 992, 994, 997, 1020.

   “[U]nder the common law, the Defendants had a duty to exercise reasonable care in

   delivering dangerous narcotic substances.” Id. at ¶ 481. “By flooding Montana and

   Plaintiff’s Community with more opioids than could be used for legitimate medical

   purposes and by filling and failing to report orders that they knew or should have realized

   were likely being diverted for illicit uses, Defendants breached that duty and both created

   and failed to prevent a foreseeable risk of harm.” Id. The FAC further explains that

   Defendants should have known, and indeed acknowledged, their obligations and the

   serious consequences resulting from the abdication of those obligations. Id. at ¶¶ 498-

   512, 586-635. Marketing Defendants designed and implemented a marketing strategy

   built on deception to cover-up the drugs’ dangers. Id. at ¶ 144. Defendants knew how



                                                 91
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 116 of 160. PageID #: 24632




   dangerous these pills were, which is why they had to join together in deceptive schemes

   to artificially inflate the drug quotas. See id. at ¶¶ 764-827 (describing deliberate

   enterprises).

              The FAC thus alleges Defendants’ knowledge at great length, including 32 pages

   describing the Distributor Defendants’ knowledge of the obligations they were breaching,

   their orchestrated inflation of drug quotas, and their pretense of working with law

   enforcement. FAC ¶¶ 498-572. Distributor Defendants nonetheless claim that the harm to

   the Tribe allegedly was not foreseeable. Dist. Mem. at 23. As a matter of Montana law

   and federal procedure, Defendants’ protestations denying foreseeability are an

   insufficient basis for dismissing the Tribe’s complaint.

              Montana follows Justice Cardozo’s frequently quoted statement in Palsgraf v.

   Long Island Rd. Co.,42 that, “[t]he risk reasonably to be perceived defines the duty to be

   obeyed.” Fisher v. Swift Transp. Co., 181 P.3d 601, 607 (Mont. 2008) (cit. & quot. mark

   om.). “Whether a party owes a legal duty depends largely on whether the allegedly

   negligent act was foreseeable.” Gourneau ex rel. Gourneau v. Hamill, 311 P.3d 760, 762

   (Mont. 2013) (citation omitted). “Foreseeability as it relates to the duty element of

   negligence is measured on a scale of reasonableness dependent upon the foreseeability of

   the risk involved with the conduct alleged to be negligent.” Lopez v. Great Falls Pre-

   Release Services, Inc., 986 P.2d 1081, 1086-87 (Mont. 1999).43 “[T]he focus is on what

   the defendant could or could not foresee,” and “[t]he jury in a negligence action is tasked


   42
        162 N.E. 99 (N.Y. 1928).
   43
     Overruled, in part, Samson v. State, 69 P.3d 1154, 1159 (Mont. 2003) (repudiating language in Lopez
   “which would require a jury to determine the foreseeability of a plaintiff's ‘specific injury’” and reaffirming
   a prior decision that “juries must be instructed that the specific injury to the plaintiff need not have been
   foreseen”) (Lopez is cited in Mfr. Mem. at 17-18, omitting disclosure to the Court that the case was
   overruled in part).



                                                         92
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 117 of 160. PageID #: 24633




   with deciding whether the risk in question . . . was foreseeable to the defendants.”

   Newman, 272 P.3d at 631.44

            Defendants relatedly argue that as a matter of law they have no duty to protect

   against the conduct of others. Mfr. Mem. at 17-18; Dist. Mem. at 24; cf. Pharm. Mem. at

   9. As an initial matter, Defendants misstate the issue; here liability is based on their own

   conduct in inter alia misrepresenting dangerously addictive drugs as not being

   dangerously addictive and placing the drugs into illicit distribution channels

   notwithstanding non-delegable duties to guard against diversion. Because the Tribe seeks

   to hold each Defendant liable, in negligence, for Defendants’ own conduct, Defendants’

   protracted discussion of whether the Tribe can hold each Defendant liable for the

   criminal conduct of a third party is inapposite.45

            Independently, Defendants rely on an erroneous version of Montana law. The

   Tribe’s negligence claim cannot be dismissed merely because Defendants contend that

   their conduct is overshadowed by the intervening acts of others. This is because the

   Montana Supreme Court expressly has rejected the argument that the wrongful acts of




   44
      As these cases make clear, under Montana law, foreseeability is implicated in both duty and proximate
   cause in cases like this. See Thayer v. Hicks, 793 P.2d 784, 795-96 (Mont. 1990); see also Fisher, 181 P.3d
   at 609; Busta v. Columbus Hospital Corp., 916 P.2d 122, 133-34 (Mont. 1996).
   45
      Manufacturer Defendants invite this Court to apply plaintiffs’ losses in gun cases here. Mfr. Mem. at 19.
   Plaintiffs’ successes in litigation against gun manufacturers has been previously briefed and the gravamen
   of persuasive jurisprudence addressing Defendants’ arguments has rejected them in well-reasoned opinions.
   See Summit Opp. Mem., 9, 12-14, 71-72, 80-81 [No. 1:18-op-45090-DAP, Doc. # 59, PageID # 2582,
   2585-87, 2644-45, 2653-54]. Manufacturer Defendants misplace reliance on decisions that seek to impose
   liability based on criminal assaults perpetrated by third parties rather than the actions of the defendants
   themselves. See Shadday v. Omni Hotels Mgmt. Corp., 477 F.3d 511, 513 (7th Cir. 2007) (disagreeing with
   District of Columbia v. Beretta, U.S.A., Corp., 872 A.2d 633, 641-42 (D.C. 2005) (cited in Mfr. Mem. at
   19), and characterizing the decision as an example of “plaintiffs who seek to impose liability on a third
   party who failed to prevent a criminal's attack”). Contrast also McCarthy v. Olin Corp., 119 F.3d 148, 156
   (2d Cir. 1997) (plaintiffs’ argument was that ammunitions sales should have been restricted to everyone
   other than law enforcement and that defendant was responsible for attracting “many types of sadistic,
   unstable and criminal personalities”) (McCarthy cited in Mfr. Mem. at 19).



                                                       93
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 118 of 160. PageID #: 24634




   third parties can never form the basis for liability as a matter of law. See Starkenburg v.

   State, 934 P.2d 1018, 1022 (Mont. 1997) (“the intervening criminal act of a third party

   may be foreseeable . . . in such cases, the factfinder should decide causation in the same

   manner as in any other intervening causation case”) (citation & emphasis om.). Liability

   may lie where, as here, the third party’s actions are foreseeable. See id. Further, “in cases

   involving intervening superseding acts of a criminal or noncriminal nature, ‘trial courts

   must continue to carefully review each fact situation . . . on a case-by-case basis.’”

   Samson v. State, 69 P.3d 1154, 1158 (Mont. 2003) (quoting Lopez, 986 P.2d at 1088

   [quoting Estate of Strever, 924 P.2d 666, 674 (Mont. 1996)]). “The causal issue of

   intervening criminal or noncriminal acts normally involves questions of fact which are

   more properly left to the finder of fact for resolution.” Samson, 69 P.3d at 1158-59

   (quoting Lopez, as quoting Strever; internal quotation marks omitted).

          Thus, the Montana Supreme Court repeatedly has recognized that whether the risk

   was foreseeable to the defendant is a question for the trier of fact, even where, as here,

   the defendant claims that the acts of a third party constitute an intervening or superseding

   cause. The Lopez court found that a pre-release center for inmates had a duty to protect

   all persons in the area from an escaped felon. 986 P.2d at 1087-88. Lopez emphasizes that

   in cases involving alleged superseding acts, trial courts must conduct a case-by-case

   review and that these issues are ordinarily properly “left to the finder of fact for

   resolution.” Id. at 1088 (citation omitted). Following Lopez, the Montana Supreme Court

   in Eklund v. Trost, 151 P.3d 870, 881 (Mont. 2006), ruled that defendants’ intervening




                                                 94
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 119 of 160. PageID #: 24635




   superseding acts theory presented factual scenarios requiring resolution by the

   factfinder.46

            Distributor Defendants wrongly contend that Fisher requires a particular

   “relationship” between the parties for the imposition of a duty of care. Dist. Mem. at 24

   (citing Fisher, 181 P.3d 601). In fact, Fisher states that a relationship is only one possible

   basis for imposition of a duty of care. In addition to “duties based upon relationship,”

   “[a]t the most basic level, we all share the common law duty to exercise the level of care

   that a reasonable and prudent person would under the same circumstances.” 181 P.3d at

   606 (citing case example of a railroad having a duty of care). Rather than finding that the

   plaintiff and defendant’s lack of relationship immunized the defendant, the Fisher court

   held that common law and statutory duties were owed by the owner and operator of a

   semi-truck that hit a highway patrol officer after wreckage-removal company employees

   detached the semi from a winch. Id. at 608 (“We hold that as a matter of law, the Swift

   driver owed both common law and statutory duties of care to Fisher.”). Fisher further

   explains that:

            [I]t is well-settled that neither the specific plaintiff nor the specific injury
            need be foreseen. . . . In other words, it is not necessary to foresee that
            [plaintiff] would be injured by the [defendant’s] truck sliding across the
            icy highway as it was being removed from the accident scene, as opposed
            to, for example, being struck by oncoming traffic.

   Id. See also § II.C.1 supra (discussing Fisher). The remainder of the cases cited by

   Defendants are no more helpful to their argument.47



   46
     See also, e.g., Fisher, supra (genuine issue of material fact as to whether injury to plaintiff, from alleged
   intervening cause relating to conduct of wreckage-removal company, was foreseeable to driver of
   defendant's semi-truck trailer, precluded summary judgment for defendant).
   47
    For example, Defendants misplace reliance on Poole v. Poole, 1 P.3d 936, 441 (Mont. 2000) (cited at
   Mfr. Mem. at 17; Dist. Mem. at 23), wherein the court decided that the injury was unforeseeable “[b]ased


                                                         95
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 120 of 160. PageID #: 24636




           A growing body of decisions in opioid litigation, penned by trial courts from coast

   to coast, have rejected these Defendants’ various theories as to why they cannot be sued

   for negligence. Most recently, Purdue lost the argument that New Hampshire’s negligent

   misrepresentation claim must be dismissed because it allegedly did not justifiably rely on

   statements made or attributable to Purdue. New Hampshire v. Purdue Pharma Inc., et al.,

   Order, No. 217-2017-CV-00402 (Sup. Ct. N.H. Sept. 18, 2018), at 29-30 (Exhibit 1,

   attached hereto). This decision explains that the United States Supreme Court and

   Restatement allow plaintiffs directly injured by a misrepresentation to recover even

   though it was a third party who relied on it. Id. Specifically, the Supreme Court identified

   “the long line of cases in which courts have permitted a plaintiff directly injured by a

   fraudulent misrepresentation to recover even though it was a third party, and not the

   plaintiff, who relied on the defendant’s misrepresentation.” Bridge v. Phoenix Bond &

   Indem. Co., 553 U.S. 639, 656 (2008) (citing Restatement (Second) of Torts §§ 435A,

   548A, 870).

           In the In re Opioid Litigation pending in New York, the court rejected the

   manufacturer defendants’ attempts to blame third parties, deny foreseeability, and draw

   an analogy to cases where gun manufacturers prevailed. See In re Opioid Litigation, No.

   400000/2017, 2018 WL 3115102, at *26 (N.Y. Sup. Ct. June 18, 2018). The court found

   that the New York Counties had both alleged facts sufficient to support the existence of a

   duty of care and a duty not to deceive. Id. The opioid defendants had knowledge of the

   addictive nature of their products, which they did not disclose. Id. The pleadings




   on the[] undisputed facts” that had been established in sworn testimony, including several admissions by
   the plaintiff contradicting her breach of duty theory.



                                                       96
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 121 of 160. PageID #: 24637




   adequately illustrated that the expectations of plaintiffs, and of society, would require

   different behavior. Id.

          More recently, the In re Opioid Litigation court rejected similar arguments made

   by distributor defendants. In re Opioid Litigation, No. 400000/2017 (N.Y. Sup. Ct. July

   17, 2018), at 19 (filed as Exhibit 4 hereto). The court rejected the defendants’ argument

   that they owed no duty, finding that the defendants’ arguments that they lack control and

   knowledge were inappropriate for resolution in a motion to dismiss. Id. The court also

   found that the Counties adequately pleaded duties owed, including a duty not to fill

   suspicious orders, a separate duty not to deceive, and a duty under the concerted action

   theory. Id. at 19-20.

          In West Virg. ex rel. Morrisey v. AmerisourceBergen Drug Corp., C.A. No. 12-C-

   141, 2014 WL 12814021 (Boone Cty. Cir. Ct., W. Va. Dec. 12, 2014) [filed in 1:17-md-

   02804-DAP, Doc. # 654-2], the trial court rejected the opioid distributors’ intervening

   cause argument, reasoning that these defendants were unable to show that “any

   ‘intervening cause’ constitutes a new effective cause and operates independently of any

   other act, making it and it only, the proximate cause of the injury.” Id. at 23 ¶ 70 [PageID

   # 15902] (citation omitted). The Court further explained its decision to deny the opioid

   distributors’ motions to dismiss:

          The Court concludes that if it was foreseeable that Defendants’ acts and
          omissions, in failing to provide effective controls against the diversion of
          controlled substances and design, and in failing to operate a system that
          discloses suspicious orders of controlled substances contributes to the
          prescription drug abuse epidemic in West Virginia, then Defendants’
          alleged actions constitute a proximate cause, a jury may conclude from the
          State’s allegations that Defendants’ alleged actions were a substantial
          contributing factor to the harm and damages alleged by the State in this
          case.




                                                97
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 122 of 160. PageID #: 24638




   Id. at 24 ¶ 73 [PageID # 15903]. See also West Virg. ex rel. Morrisey v.

   AmerisourceBergen Drug Corp., Order Denying Motion to Dismiss, No. 12-C-140

   (Boone Cty. Cir. Ct., W. Va. April 17, 2015) [filed in 1:17-md-02804-DAP, Doc. # 580-

   7, PageID ## 14399-14400], at 21-22 ¶¶ 70-73 (also rejecting intervening cause

   arguments as basis for motion to dismiss).

          The United States District Court for the Western District of Washington rejected

   Purdue’s similar arguments attempting to blame third parties, and deny a “relationship.”

   City of Everett v. Purdue Pharma L.P., No. C17-209RSM, 2017 WL 4236062, at *3-4

   (W.D. Wash. Sept. 25, 2017). The court found that the City of Everett had “adequately

   pled that Purdue engaged in an affirmative act which created or exposed Everett to a high

   degree of risk of harm,” and that Everett’s theory of liability was viable according to the

   Restatement (Second) of Torts § 302B. Id. at *4.

          In other litigation in Washington state, the trial court denied Purdue’s motion to

   dismiss the State’s case, finding that, “[r]egarding negligence, the Court finds that the

   State has pled facts from which reasonable inferences can be drawn that Purdue had a

   duty of care and that it violated that duty of care. Likewise, the State has pled sufficient

   facts to establish that Purdue’s violation of the duty of care resulted in foreseeable harm,”

   namely the addiction of many Washingtonians to opioids. Washington v. Purdue Pharma

   L.P. et al., Order, No. 17-2-25505-O SEA (King Cty. Sup. Ct., Wash. May 14, 2018), at

   3-4 ¶ 11 [filed in 1:17-md-02804-DAP, Doc. #654-3, PageID 15922-23].

          The State of Alaska also succeeded in sustaining its negligence pleadings against

   a challenge by Purdue. See State of Alaska v. Purdue Pharma L.P. et al., Order, No.

   3AN-17-09966CI (3d Jud. Dist., Alaska July 12, 2018), at 10 (filed as Exhibit 3 hereto).




                                                 98
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 123 of 160. PageID #: 24639




   Specifically, the court found that Alaska had adequately pleaded that “Purdue had a duty

   to the State and its residents: (1) to exercise due care in the advertising, marketing,

   promotion, and sale of opioid drugs; (2) not to make false, misleading, or deceptive

   statements about opioids and treatment for chronic pain; and (3) to report suspicious

   prescribers.” Id.

                          b.      Plaintiff Does Not Seek To Enforce Statutory Duties.

          Defendants take issue with the fact that the Tribe’s negligence claim includes

   citations to federal and state statutes and regulations relevant to defining the standard of

   care. See Mfr. Mem. at 31-33; Dist. Mem. at 22; Pharm. Mem. at 9-11. Relatedly,

   Defendants contend that the Tribe’s negligence count should be dismissed because the

   Tribe allegedly must establish a private right of action in order to plead negligence. See

   Dist. Mem. at 20-21; Pharm. Mem. at 10. These arguments mistake both the FAC and

   Montana law.

          The Tribe does not contend that the cited enactments and regulations create a

   private cause of action that the Tribe is enforcing here. As discussed above, the duty that

   gives rise to Defendants’ liability exists under Montana common law. The statutes and

   regulations Plaintiff cites are, however, relevant to the standard of care to be applied in

   determining whether Defendants have breached their common law duties. Plaintiff’s

   claims nonetheless exist independently of the statutes and regulations. Defendants have

   failed to cite any apposite decision in which a negligence count was dismissed at the

   pleadings stage because it included citations to statutes and regulations defining the

   standard of care breached by Defendants.

           The Tribe also pleads the elements of negligence per se. “Under Montana law, it

   is well established that a duty may arise from a statutorily imposed obligation.” Prindel v.


                                                 99
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 124 of 160. PageID #: 24640




   Ravalli Cty., 133 P.3d 165, 175 (Mont. 2006) (collecting cases). Here, Plaintiff alleges

   that Defendants violated the public safety statutes and regulations, (FAC ¶¶ 1013, 1016-

   22); the Plaintiff is within the class intended to be protected by the public safety statutes

   and regulations, (id. at ¶¶ 1015, 1021); the Plaintiff’s injuries are of the sort the statute

   was enacted to prevent, (id. at ¶ 1021); and, the public safety statutes and regulations

   were intended to regulate members of Defendants’ class, (id. at ¶ 1016); accord Dist.

   Mem. at 22 (listing elements). Violations of the statutes and regulations thus may operate

   in either one of two ways, either as evidence of breach of the standard of care or, in the

   case of negligence per se, as conclusive evidence of such a breach.

           Directly contrary to Defendants’ argument, a statute may define the standard of

   care in a Montana negligence action without providing for civil liability. See Nehring v.

   LaCounte, 712 P.2d 1329, 1333-34 (Mont. 1986) (“Where the statute does not provide

   for civil liability, the decision to adopt the statute as defining a standard is a judicial

   one.”) (citing Restatement (Second) of Torts § 286 comment d; further citation omitted),

   superseded on other grounds by enactment of Dram Shop Act. A long line of Montana

   authority finds that creating a private right of action is not a sine qua non for imposing a

   duty of care for purposes of negligence. Specifically, the Montana Supreme Court

   repeatedly has recognized that statutes that do not create a private right of action can

   dictate the operative duty in a negligence action. See, e.g., Fisher, 181 P.3d at 607 (“each

   of these three statutes [MONT. CODE ANN. §§ 61-8-302, 61-8-303, 61-8-346] imposed

   duties of care”); Eklund, 151 P.3d at 880 (recognizing that MONT. CODE ANN. § 61-8-107

   creates a duty of care); Prindel, 133 P.3d at 175-76 (collecting cases in support of

   proposition that statutorily imposed obligations may impose a duty under well-




                                                 100
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 125 of 160. PageID #: 24641




   established Montana law and citing MONT. CODE ANN. §§ 7-32-2205, 7-32-2208, neither

   of which expressly creates a private right of action); Jackson v. State, 956 P.2d 35, 49, 51

   (Mont. 1998) (noting that “[i]t is axiomatic that applicable statutes may create a duty in a

   negligence action,” and concluding that adoption statute at issue imposed a duty) (citation

   omitted); Gibby v. Noranda Minerals Corp., 905 P.2d 126, 130-31 (Mont. 1995)

   (defendant owner had “a nondelegable duty under Montana’s Safe Place to Work statute,

   § 50-71-201, MCA, to provide [plaintiff] with a safe working environment”).

              A statute that is enforceable through convictions and government penalties can

   define the duty owed in a negligence action. For example, in Fisher, 181 P.3d at 607, the

   Montana Supreme Court expressly recognized a duty of care based on Montana Code

   Section 61-8-302, which is punishable by misdemeanor convictions and penalty fines.

   See MONT. CODE ANN. § 61-8-302(2) (“A person who is convicted of the offense of

   careless driving is subject to the penalties provided in 61-8-711 or 61-8-716.”); accord

   MONT. CODE ANN. §§ 61-8-711, 61-8-716 (penalties include misdemeanor convictions,

   fines, potential incarceration). In Fisher, as here, the plaintiff was not attempting to stand

   in the shoes of the government and collect a fine.48

              The Manufacturer and Distributor Defendants misplace reliance on Doyle v.

   Clark, 254 P.3d 570 (Mont. 2011), superseded on other grounds, as stated in Peterson-

   Tuell v. First Student Transp., LLC, 339 P.3d 16, 22 (Mont. 2014).49 Doyle found that “a

   private individual” cannot recover on the basis of a statutory violation unless the statute

   “allows a private right of action.” 254 P.3d at 577 (citing case discussed below). But in


   48
      Contrast also Faust v. Utility Solutions, LLC, 173 P.3d 1183, 1187 (Mont. 2007) (private parties not
   allowed to enforce civil penalty provisions of Water Use Act) (case cited at Pharm. Mem. at 10).
   49
        Doyle is cited at the Mfr. Mem. at 31, 33, without a disclosure that the decision is superseded in part.



                                                          101
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 126 of 160. PageID #: 24642




   light of the body of case law cited, this cannot mean what Defendants think it means.

   Indeed, Defendants’ construction is directly contrary to the holding of Wombold v.

   Assoc. Fin. Serv. Co., 104 P.3d 1080, 1085-87 ¶¶ 32-47 (Mont. 2004), overruled on other

   grounds, Essex Ins. Co. v. Moose’s Saloon, Inc., 166 P.3d 451 (Mont. 2007), cited by the

   Doyle court. In Wombold, the court rejected the argument that a statute “does not allow”

   for a private right of action unless it expressly creates one. The statute in Wombold

   specifically provided that “‘[a]ll powers and duties of regulation and supervision

   conferred by this chapter are vested in the department.” 104 P.3d at 1085. Nonetheless,

   the Wombold court found that the statute allowed an implied private right of action for

   borrowers to file suit against lenders, without otherwise establishing the elements of

   negligence.

            A distinguishable example of when a statute does not “allow” an action appears in

   Johnson v. Columbia Falls Aluminum Co., LLC, No. DA 08-0358, 2009 WL 865308

   (Mont. March 31, 2009) (unpublished disposition at 213 P.3d 789; not precedent).50

   There, an employee brought a wrongful discharge action, and the court rejected the

   argument that the employee could bring a negligence per se claim action under the

   Medical Marijuana Act because the Act “specifically provides that it cannot be construed

   to require employers ‘to accommodate the medical use of marijuana in any workplace.’”

   Johnson, 2009 WL 865308 at *2 (quoting MONT. CODE ANN. § 50-46-205(2)(b)

   (repealed)). Thus, the Johnson plaintiff’s negligence per se theory was directly

   contradicted by the statutory language. Together, Wombold and Johnson show that such




   50
     In citing Johnson, Distributor Defendants fail to inform the Court that the decision by its terms “shall not
   be cited as precedent.” 2009 WL 865308 at *1; accord Dist. Mem., 21.



                                                       102
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 127 of 160. PageID #: 24643




   an express contradiction in the statutory language is required before a claim based on

   negligence per se will be prohibited. Of course, there is no such contradiction here.

            Defendants suggest that the statutes and regulations cannot provide the relevant

   standard of care because they do not declare “protection to the Tribes for their asserted

   injuries.” Mfr. Mem. at 32; see also Dist. Mem. at 22 (“enacted to protect an Indian

   tribe”). But it is clear that these laws were intended to protect inter alia the health and

   welfare of the Tribe. The FAC cites a codified section of the federal Controlled

   Substances Act (CSA) and a federal regulation promulgated pursuant to the CSA. FAC

   ¶¶ 1009, 1021. The FAC also cites state law requiring compliance with federal law.51

   The federal CSA was enacted because it was deemed “necessary to maintain the health

   and general welfare of the American people.” 21 U.S.C. § 801. This is sufficient under

   Montana law. Compare, e.g., Prindel, 133 P.3d at 176-77 (“the statutory provisions

   quoted above evidence the existence of the Jail’s duty to take Russell into custody for the

   protection of the surrounding public”). See also West Virg. ex rel. Morrisey v.

   AmerisourceBergen Drug Corp., Order Denying Motions to Dismiss, No. 12-C-140

   (Boone Cty. Cir. Ct., W. Va. April 17, 2015) [filed in No. 1:17-md-02804-DAP, Doc. #

   580-7, PageID # 14392], at 13 ¶ 49 (“the State and its agencies are Plaintiffs in this case

   as representatives of the State and the public, for whose benefit the statute and




   51
     The FAC cites a provision of the CSA, a federal CSA regulation, the Montana statute requiring
   compliance with federal law, and the Montana regulation. See FAC ¶¶ 1009, 1021. The Montana regulation
   broadly incorporates any applicable federal or state requirement; nonetheless, the regulation clearly focuses
   on compliance with the CSA – not the FDCA. See Mont. Admin. R. 24.174.1201(6) (“Wholesale drug
   distributors shall operate in compliance with applicable federal, state, and local laws and regulations.
   Wholesale drug distributors who deal in controlled substances shall register with the board and with the
   DEA, and shall comply with all applicable state, local, and DEA regulations.”). However, Manufacturer
   Defendants cite cases interpreting the FDCA, not the CSA. See Mfr. Mem. at 32. These cases are
   inapposite.



                                                       103
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 128 of 160. PageID #: 24644




   accompanying regulations [requiring effective controls to guard against prescription drug

   diversion were] enacted”).

            The Manufacturer Defendants finally contend that a claim “based on the violation

   of a regulation” allegedly fails as a matter of law. Mfr. Mem. at 33. First, the Sixth Claim

   for Relief does not rely on the regulations cited, but rather expressly cites to the source

   statutes that the regulations are implementing. See FAC ¶¶ 1009-10, 1021. Therefore, the

   regulations serve as relevant interpretations of the statutes rather than a stand-alone basis

   for the standard of care owed. Second, contrary to Defendants’ argument, the Montana

   Supreme Court has explained that duty in a negligence claim can be established by an

   agreement, rules and regulations, statute, or common law. See Rookhuizen v. Blain’s

   Mobile Home Court, Inc., 767 P.2d 1331, 1333 (Mont. 1989). Similarly, the United

   States Supreme Court has observed that, “[t]he violation of federal statutes and

   regulations is commonly given negligence per se effect in state tort proceedings.” Grable

   & Sons Metal Prod., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 318-19 (2005) (quot.

   mark, cit. & not. om.). Consistently, the Restatement does not distinguish between

   legislative enactments or administrative regulations when discussing the duty of care in

   negligence actions.52 Notably, the Montana Supreme Court has cited the Restatement




   52
     See Restatement (Second) of Torts § 286 (1965) (discussing “legislative enactment or an administrative
   regulation” as standard of conduct of a reasonable man); id. at § 288B (1965) (“(1) The unexcused
   violation of a legislative enactment or an administrative regulation which is adopted by the court as
   defining the standard of conduct of a reasonable man, is negligence in itself. (2) The unexcused violation of
   an enactment or regulation which is not so adopted may be relevant evidence bearing on the issue of
   negligent conduct.”); cf. Restatement (Third) of Torts: Phys. & Emot. Harm § 14 cmt. a (2010) (negligence
   per se “most frequently applies to statutes adopted by state legislatures, but equally applies to regulations
   adopted by state administrative bodies, ordinances adopted by local councils, and federal statutes as well as
   regulations promulgated by federal agencies”).



                                                       104
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 129 of 160. PageID #: 24645




   with approval repeatedly,53 including citing the comments to one of the Restatement

   sections that does not distinguish between statutes and regulations.54

                       2.      Defendants Cannot Win Rule 12(b)(6) Dismissal by Denying
                               the Operative Facts.

              “Questions of negligence typically involve questions of fact and are generally not

   suited for summary judgment” – much less for dismissal on the pleadings. See Newman v.

   Lichfield, 272 P.3d 625, at 633 (Mont. 2012) (citation omitted). Questions of negligence

   ordinarily “are better left for jury determination at trial.” Harrington v. Crystal Bar, Inc.,

   306 P.3d 342, 344 (Mont. 2013) (cit. & quot. om.); see also, e.g., Prindel, 133 P.3d 165

   (summary judgment for defendant reversed; court found fact issue existed as to whether

   stabbing was so unforeseeable as to sever chain of causation).

              While the intensely fact-based nature of negligence causes of action undercut all

   Defendants’ negligence arguments, it is particularly fatal to the Distributor Defendants’

   claim that they allegedly did not breach a duty as a matter of law. Distributors’ Mem. at

   24-25. Far from supporting Distributors’ argument, Hatch v. Dept. of Highways, 887 P.2d

   729, 732 (Mont. 1994), was decided at the summary judgment stage based on deposition

   testimony, and even then the court declined to decide whether a duty had been breached.

                       3.      Plaintiff Has Properly Pleaded Negligent Misrepresentation.

              Under Montana law, it is “not necessary that the negligent misrepresentation

   constitute constructive fraud, nor actual fraud.” Bottrell v. American Bank, 773 P.2d 694,

   706 (Mont. 1989). “‘Negligent misrepresentation has a lesser standard of proof than



   53
     See, e.g., Peterson v. Eichhorn, 189 P.3d 615, 620 (Mont. 2008) (cataloguing several specific sections of
   the Restatement that the Montana Supreme Court has adopted); Sunburst Sch. Dist. No. 2 v. Texaco, Inc.,
   165 P.3d 1079, 1087 (Mont. 2007) (citing and adopting Restatement (Second) of Torts § 929 cmt. b).
   54
        See Nehring, supra, 712 P.2d at 1334 (citing Restatement (Second) of Torts § 286 comment d).



                                                       105
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 130 of 160. PageID #: 24646




   fraud. Rather than requiring an intent to misrepresent, it requires a showing of a failure to

   use reasonable care or competence in obtaining or communicating the information.’”

   Hayes v. AMCO Ins. Co., No. CV 11-137-M-DWM, 2012 WL 5354553, at *4 (D. Mont.

   Oct. 29, 2012) (quoting Barrett v. Holland & Hart, 845 P.2d 714, 717 (Mont 1992)).

   Therefore, Montana law recognizes a clear distinction between fraud on the one hand,

   and negligent misrepresentation on the other.

            A Montana cause of action for negligent misrepresentation is subject to the

   pleading standards of Rule 8 rather than Rule 9(b). E.g., W. Sec. Bank v. Eide Bailly LLP,

   249 P.3d 35, 46-47 (Mont. 2010) (analyzing fraudulent misrepresentation claim pursuant

   to M.R.C.P. 9(b), but not applying Rule 9(b) in subsequent discussion of negligent

   misrepresentation claim); Fischer v. Ocwen Loan Servicing, LLC, No. CV-14-94-BLG-

   SPW-CSO, 2014 WL 6685987, at *9 (D. Mont. Nov. 25, 2014), report and

   recommendation adopted, No. CV 14-94-BLG-SPW-CSO, 2014 WL 11498231 (D.

   Mont. Dec. 11, 2014) (applying Rule 8(a)(2)’s requirement of a short and plain statement

   to Count VIII, negligent misrepresentation and negligence); see also Koontz v. Bank of

   Am., N.A., No. CV 15-108-M-DLC, 2016 WL 595290 (D. Mont. Feb. 12, 2016) (the

   fraud count (VI) is analyzed under Rule 9(b), but there is no analysis of the negligent

   misrepresentation count (II) under Rule 9(b)).55 Thus as an initial matter, Manufacturer


   55
      See also CNH Am. LLC v. Int’l Union, United Auto., Aerospace and Agric. Implement Workers of Am.,
   645 F.3d 785, 794 (6th Cir. 2011) (“[s]o long as the [ ] [plaintiff’s] allegations are ‘plausible,’” a negligent-
   misrepresentation claim governed by Wisconsin law could survive under “the modest notice-pleading
   requirements of Civil Rule 8(a).”); Tricontinental Indus., Ltd. v. PricewaterhouseCoopers, LLP, 475 F.3d
   824, 833 (7th Cir. 2007) (negligent misrepresentation under Illinois law was “not governed by the
   heightened pleading standard of Rule 9(b)”); Gen. Elec. Capital Corp. v. Posey, 415 F.3d 391, 394-96 &
   n.2 (5th Cir. 2005) (concluding that negligent representation claim needs only to satisfy notice pleading
   standard of Rule 8(a)) (citing 2 James Wm. Moore et al., Moore’s Federal Practice § 9.03 [1] [d], at 9–21
   (3d ed. 2005)); Baltimore County v. Cigna Healthcare, 238 F. App’x 914, 921 (4th Cir. 2007) (“a claim of
   negligent misrepresentation under Maryland law does not contain an essential showing of fraud and thus
   the heightened pleading requirements of Rule 9(b) do not apply”) (citing Tricontinental Indus. and Gen.


                                                         106
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 131 of 160. PageID #: 24647




   and Pharmacy Defendants err in asserting that the negligent misrepresentation portion of

   the Sixth Claim for Relief must be treated as fraud and pleaded with particularity. See

   Mfr. Mem. at 55; Pharm. Mem. at 11-12. Here, the Complaint’s Sixth Claim for

   Negligence and Negligent Misrepresentation does not include any pleadings that sound in

   fraud. This is not a case in which fraud and negligent misrepresentation have been

   conflated. Specifically, common law fraud is pleaded against the Manufacturer

   Defendants only and not against the Distributor Defendants or Pharmacy Defendants, yet

   all Defendants are named in the Negligence and Negligent Misrepresentation claim. The

   Tribe is not attempting to sneak in fraud allegations against the Distributor or Pharmacy

   Defendants under the guise of negligent misrepresentation. Thus, there is no justification

   for applying Rule 9(b) here.

            Unlike the Manufacturer and Pharmacy Defendants, Distributor Defendants do

   not misstate the pleading standard for negligent misrepresentation. Instead, Distributor

   Defendants argue that the Manufacturers made the misrepresentations, that the Tribe

   allegedly fails to “identify even a single misrepresentation by Distributors” and therefore

   fails to allege untrue statements or reliance, and that the Tribe fails to allege injury

   resulting from reliance. Dist. Mem. at 25-26. Pharmacy Defendants allege that the Tribe

   fails to plead representations, intent to induce reliance, reliance, or damages. Pharm.

   Mem. at 11. These denials overlook the Tribe’s pleadings.




   Elec. Capital Corp.); In re Testosterone Replacement Therapy Prod. Liab. Litig. Coordinated Pretrial
   Proceedings, 159 F. Supp. 3d 898, 927 (N.D. Ill. 2016) (“In contrast to a claim sounding in fraud, Rule
   9(b)'s strictures do not apply to claims of negligent misrepresentation.”) (citing Tricontinental); Carl Kelley
   Const. LLC v. Danco Techs., 656 F. Supp. 2d 1323, 1346 (D. N.M. 2009) (“[U]nlike with fraudulent
   misrepresentation, rule 8’s notice pleading standard governs [negligent misrepresentations].”).



                                                        107
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 132 of 160. PageID #: 24648




          The FAC pleads Defendants’ material misstatements (FAC ¶¶ 1039-1041), intent

   to induce reliance (id. at ¶¶ 1042-1043), rightful, reasonable, and justifiable reliance (id.

   at ¶¶ 1044, 1046), and resulting pecuniary losses and damages (id. at ¶¶ 1045, 1047). The

   misstatements constituted Defendants’ portrayal of themselves as cooperating with law

   enforcement and actively working to combat the opioid epidemic when, in reality,

   Defendants failed to satisfy their minimum, legally-required obligations to report

   suspicious orders (id. at ¶ 1039). The Sixth Claim for relief also incorporated by

   reference the prior pleadings of Defendants’ misrepresentations (see id.).

          Defendants are on notice of the allegations against them. For example, the Tribe

   explains that, “Distributor Defendants made broad promises to change their ways and

   insisted that they sought to be good corporate citizens.” FAC ¶ 574. Twelve paragraphs

   in the FAC describe misrepresentations in this regard, including several quotes of

   Defendants’ untrue representations of fact. Id. at ¶¶ 574-585. See also id. at ¶ 616 (CVS

   acknowledgement of legal obligation); ¶ 726 (explaining Defendants’ concealment of

   “lack of cooperation with law enforcement and affirmatively seeking to convince the

   public that their legal duties to report suspicious sales had been satisfied”); id. (“broad

   promises to change their ways”), ¶¶ 799-827 (description of supply chain enterprise).

   Distributor Defendants, as part of the supply chain enterprise, disseminated the false and

   misleading statements that 1) the quotas for prescription opioids should be increased; 2)

   they were complying with their obligations to maintain effective controls against

   diversion of their prescription opioids; 3) they were complying with their obligations to

   design and operate a system to disclose to the registrant suspicious orders of their

   prescription opioids; 4) they were complying with their obligation to notify the DEA of




                                                108
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 133 of 160. PageID #: 24649




   any suspicious orders or diversion of their prescription opioids; and 5) they did not have

   the capability to identify suspicious orders of controlled substances. Id. at ¶ 806.

          In short, the Sixth Claim for Relief, sounding in Negligence and Negligent

   Misrepresentation, places Defendants on ample notice.

          E.      Plaintiff Has Properly Pleaded an Unjust Enrichment Claim.

          Defendants seek to dismiss Plaintiff’s claim for unjust enrichment for the same

   reasons argued elsewhere, and/or because Plaintiff did not allege the required elements

   under Montana law. Dist. Mem. at 26-27; Mfr. Mem. at 39-42; Pharm. Mem. at 12-13.

   Defendants’ arguments fail for the reasons advanced in prior briefing and under Montana

   law. Summit Opp. Mem. at 95-99; Chicago Opp. Mem. at 41-42.

          The elements of an unjust enrichment claim are “(1) defendant received a benefit;

   (2) defendant knew about or appreciated the benefit; and (3) defendant accepted or

   retained the benefit under circumstances where it was inequitable for defendant to do so.”

   Volk v. Goeser, 367 P.3d 378, 389 (Mont. 2016). Under Montana law, “[u]njust

   enrichment merely requires proof that a party unjustly gained something of value,

   regardless of wrongful conduct.” Associated Management Services, Inc. v. Ruff, 424 P.3d

   571, 595 (Mont. 2018). The Eighth Claim for Relief properly pleads these elements.

          The Defendants received benefits from the Tribes. As the FAC explains,

   Defendants’ wrongful conduct in selling and distributing opioids causes inter alia,

   increased healthcare service and addiction treatment for opioid users. FAC ¶¶ 1074-1075,

   1077, 1985. These costs are part of Defendants’ business, yet Defendants are not paying




                                                109
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 134 of 160. PageID #: 24650




   for them: they have externalized these unavoidable costs and imposed them on others.56

   These costs are “not part of the normal and expected costs of a local government’s

   existence.” Yet Plaintiff, and other tribes, are paying them. FAC ¶ 1084. By using

   Plaintiff to fund Defendants’ negative externalities (the cost of the harms caused by their

   wrongful practices), Defendants knowingly saved on expenses, thereby allowing them to

   sell and distribute more opioids, and make more money, than if they had internalized the

   actual cost of their activities. Id. at ¶¶ 1078-1085. Contrary to Defendants’ contention,

   these economic realities are not conclusory allegations. Defendants have thereby received

   a benefit unjustly financed by the Plaintiff.

            Defendants rely on Montana Petroleum Release Compensation Board v. Capitol

   Indem. Co., 137 P.3d 522, 529 (Mont. 2006) for the tautology that “one cannot be

   unjustly enriched by failing to pay a debt one does not owe.” But this dictum occurs in a

   convoluted subrogation case involving successor and extinct entities in a decades-long

   groundwater remediation case whose facts cannot be stretched to apply to the conduct

   here.

            Defendants’ claim that Montana has rejected efforts to expand unjust enrichment

   claims is likewise incorrect. To the contrary: Montana recognizes that “the concept of

   unjust enrichment plays an important role as a tool of equity” that was “developed to

   remedy injustice when other areas of the law could not,” and, thus, “must remain a

   flexible and workable doctrine.” Northern Cheyenne Tribe v. Roman Catholic Church ex




   56
    Federal and state unjust enrichment jurisprudence recognizes that defendants are unjustly enriched
   where, as here, a plaintiff must bear the cost of negative externalities that defendants caused. See Summit
   Opp. Mem. at 96-98 (collecting cases, including regarding pollution costs).



                                                       110
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 135 of 160. PageID #: 24651




   rel. Dioceses of Great Falls/Billings, 296 P.3d 450, 457 (Mont. 2013) (citation

   omitted).57

            The cases cited by the Defendants do not fit this case. Oregon Laborers-

   Employers Health and Welfare Trust Fund v. Phillip Morris, Inc., 185 F.3d 957 (9th Cir

   1999) involved employee health and welfare benefit plans filing suit against tobacco

   companies seeking to recover expenditures incurred for medical assistance due to

   participants’ and beneficiaries’ tobacco use. The Oregon plaintiffs merely pled that they

   conferred a “benefit” on defendants by paying the medical bills of the smokers. Id. at

   968-69. The court applied Oregon law, finding that because the plaintiffs had an

   independent obligation to pay the smokers’ medical expenses, they could not maintain an

   action against defendants as incidental beneficiaries. In this case, Montana law applies

   and the FAC expressly alleges that the Defendants were more than incidentally

   benefitted. Perry v. Am. Tobacco Co., 324 F.3d 845 (6th Cir. 2003) involved insureds

   under a group health insurance policy who brought a putative class action against tobacco

   manufacturers, alleging that they paid increased insurance premiums due to the presence

   of smokers in the insurance pool. The court found that the payment of smokers’ medical

   costs by a third party did not enrich the defendants. Id. at 851. In this case, Plaintiff has

   clearly pled that the Defendants were enriched. In Ashley County, Ark. v. Pfizer, Inc., 552

   F.3d 659, 665 (8th Cir. 2009), plaintiff claimed defendants were unjustly enriched when

   methamphetamine cooks purchased the Defendants’ products for use in the illegal

   manufacture of methamphetamine. Arkansas law requires that “it is not enough, however,


   57
      Darty v. Grauman, 419 P.3d 116, 120 (Mont. 2018) merely held that the decedent was free to change his
   mind and decide not to transfer the Ameriprise accounts, thus, the plaintiff could not establish that the TOD
   Beneficiaries accepted or retained the proceeds from the Ameriprise accounts under inequitable
   circumstances.



                                                       111
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 136 of 160. PageID #: 24652




   to establish a benefit received by another party. ‘There must also be some operative act,

   intent, or situation to make the enrichment unjust and compensable.’” Id. Under Arkansas

   law, “unjust enrichment is based on an implied contract theory of recovery,” and courts

   “will only imply a promise to pay for services where they were rendered in such

   circumstances as authorized the party performing them to entertain a reasonable

   expectation of their payment by the party beneficiary.” Id. at 666. This is not the law of

   Montana. In City of Miami v. Bank of America Corp., 800 F.3d 1262, 1288, 1289 (11th

   Cir 2015), vacated and remanded by Bank of America Corp. v. City of Miami, 137 S. Ct.

   1296 (2017), based on Florida’s substantive law, the court found that at least one Florida

   case suggested that a municipality could not recover expenditures without express

   statutory authorization, which Miami had never alleged.58

           Distributor Defendants assert that unjust enrichment is entirely derivative of other

   claims that the Distributors contend are deficient, and should be dismissed along with

   them. But here Plaintiff has pleaded valid claims. Even if those claims were to fail, the

   improper conduct underlying them would still support a claim for unjust enrichment

   under Montana law, which deploys the claim as a vital “tool of equity” to remedy

   injustice when other areas of the law cannot. In Montana, unjust enrichment is not

   derivative or disfavored; it is a flexible and workable doctrine that can be applied with

   full force to restore the economic balance that Defendants’ conduct has disrupted.




   58
      See 800 F.3d at 1288, 1289 (citing Penelas v. Arms Tech., Inc., No. 99-1941 CA-06, 1999 WL 1204353,
   at *2 (Fla. Cir. Ct. Dec. 13, 1999), aff’d, 778 So.2d 1042 (Fla. Dist. Ct. App. 2001)).



                                                    112
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 137 of 160. PageID #: 24653




            F.       Plaintiff Has Properly Pleaded a Claim for Civil Conspiracy.

            Defendants contend that Plaintiff has not properly pleaded a claim for civil

   conspiracy. Mfr. Mem. at 67-68; Dist. Mem. at 28-29; Pharm. Mem. at 13-15. Plaintiff

   incorporates the briefing in Summit County and the City of Chicago. Summit Opp. Mem.

   at 99-105; Chicago Opp. Mem. at 39-41; Chicago Consol. Opp. Mem. at 23-25.

   Defendants’ arguments that the underlying tort claims fail and that the Tribe has failed to

   plead any underlying unlawful acts59 (Mfr. Mem. at 67-68; Dist. Mem. at 29, Pharm.

   Mem. at 15) are unfounded for the reasons catalogued above and in the Summit County

   and Chicago briefing. Summit Opp. Mem. at 100; Chicago Consol. Opp. Mem. at 23-25,

   Chicago Opp. Mem. at 39-41.

            Under Montana law, “[a] valid conspiracy claim requires that each of the

   following elements be established: ‘(1) two or more [conspiring] persons …; (2) an

   object to be accomplished; (3) a meeting of the minds on the object or course of action;

   (4) one or more unlawful overt acts; and (5) damages as the proximate result therewith.’”

   Sullivan v. Cherewick, 391 P.3d 62, 68 (Mont. 2017) (quoting Schumacker v. Meridian

   Oil Co., 956 P.2d 1370, 1373 (Mont. 1998)). As noted above, the pleading standards of

   Rule 8 apply to this claim. See above, § II.D.

            Montana law recognizes that, “[b]ecause direct evidence of the meeting of the

   minds is typically in the possession and control of the alleged conspirators and, therefore,


   59
     Manufacturer Defendants cite to three out of jurisdiction cases as support for the unremarkable position
   that Plaintiff must allege that the Defendants had knowledge of the intended harm at the beginning of the
   conspiracy and that parties cannot negligently agree to participate in a conspiracy. The FAC is replete with
   evidence that the closed distribution system was set up to prevent diversion. Defendants do not allege, nor
   can they, that foreseeable harms would result from illegal diversion. The FAC does not allege that the
   Defendants negligently or unknowingly entered into a conspiracy. The FAC sets forth sufficient facts that
   the Defendants knowingly engaged in a civil conspiracy to unlawfully and tortuously market and distribute
   opioids. To the extent that the Defendants acted with negligence in furtherance of such conspiracy, such
   negligence can constitute an unlawful act.



                                                       113
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 138 of 160. PageID #: 24654




   difficult-if not impossible-to obtain, we hold that circumstantial evidence may be used to

   establish the meeting of the minds element of a civil conspiracy.” Schumacker, 956 P.2d

   at 1373-74.60 Agreements may be inferred from circumstantial evidence. Chicago Opp.

   Mem. at 39-41.

            The Defendants contend that the FAC fails to set forth sufficient facts in relation

   to the elements of “meeting of the minds”; “unlawful overt acts”; and “proximate cause.”

   The Defendants are wrong. The FAC contains numerous paragraphs setting forth the

   distribution combination as to all Defendants. FAC ¶¶ 586-635, 714-720, 856-887, 1087-

   1106. Defendants engaged in a civil conspiracy to unlawfully and tortiously market and

   distribute opioids, including through failure to abide by their prevention and monitoring

   duties, misrepresentation, and fraud. FAC ¶¶ 1088-1095. Here, “each Defendant acted

   directly against their commercial interests in not reporting the unlawful distribution

   practices of their competitors to the authorities, which they had a legal duty to do.” FAC

   ¶ 1099. Defendants’ combined efforts to inflate the opioid quotas – in contravention of

   their legal duties – are detailed in the FAC. FAC ¶¶ 489, 513-572. Plaintiff further

   describes how Defendants, through their participation in trade associations, worked

   together to mislead the public regarding Defendants’ commitment to complying with

   their legal obligations and safeguarding against diversion. FAC ¶¶ 578-79, 581. As

   additional examples of the raft of conduct chronicled in the FAC, the Defendant co-

   conspirators deliberately concealed their knowledge of each other’s wrongdoing. FAC ¶¶


   60
     Schumacker noted that “other states have allowed the use of circumstantial evidence to establish the
   meeting of the minds element of a civil conspiracy due to the difficulty in obtaining direct evidence on that
   element.” Id. at 1373 (citing Four R Cattle Co. v. Mullins, 570 N.W.2d 813, 818 (Neb. 1997) (citation
   omitted); Adam v. Mt. Pleasant Bank & Trust Co., 387 N.W.2d 771, 773 (Iowa 1986) (citation omitted);
   Beverly v. McCullick, 505 P.2d 624, 633 (Kan. 1973) (citation omitted); and Shows v. Silver Shield Mining
   and Milling Company, 375 P.2d 522, 524 (Colo. 1962)).



                                                       114
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 139 of 160. PageID #: 24655




   723-25. These detailed allegations exceed far beyond the parallel acts consistent with

   marketplace competition at issue in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

   See also Summit Opp. Mem. at 102-05 (listing additional allegations also contained in

   Blackfeet Tribe’s FAC).

          Finally, the Pharmacy Defendants repeat the inaccurate argument that the FAC

   omits allegations against them and solely pertains to the Marketing Defendants. See

   Pharm. Mem. at 15. This contention ignores allegations specific to the pharmacies and

   their wrongdoing (e.g., inter alia, FAC ¶¶ 494, 578, 586-635), and allegations including

   the pharmacies (e.g., inter alia FAC ¶¶ 477, 480-484, 515-516, 541-544, 578-579, 714-

   720, 1088-1095). Among other things, the pharmacies participated with the other

   Defendants in the financially incentivized, improper exchange of information. FAC ¶¶

   515, 586. The national pharmacy chains “were keenly aware of the oversupply” and in

   breach of mandatory duties “participate[d] in the oversupply” for profit and provided the

   other Defendants with data. FAC ¶¶ 586, 589. The Pharmacy Defendants also failed to

   use data available to them to identify doctors who were writing suspicious orders, even

   while maintaining extensive data on the opioids that they distributed and dispensed. FAC

   ¶¶ 589, 602. In short, the FAC includes descriptions of the pharmacies’ knowing

   participation in the exchange of information with other Defendants, and the abdication of

   mandatory duties, comprising the wrongful distribution of dangerous drugs on a massive

   scale nationally, and specifically within the Blackfeet Geographic Region.

          Defendants’ arguments pertaining to proximate cause fail for all the reasons set

   forth in § II.C., supra, and the Summit County and Chicago briefing. Summit Opp. Mem.

   at 11-16; and Chicago Opp. Mem. at 26-29.




                                              115
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 140 of 160. PageID #: 24656




   IV.      PLAINTIFF PROPERLY PLEADS ITS RICO CLAIMS
            As this Court is aware, the Manufacturer and Distributor Defendants61 previously

   filed motions to dismiss the Complaint in Summit County. That briefing provided the

   Court with well over 100 pages devoted to federal (and state) RICO claims.

   Manufacturer62 and Distributor Defendants move to dismiss the Plaintiff’s RICO claims

   by, with few exceptions, regurgitating the arguments asserted in Summit County.63 As in

   Summit County, the Manufacturer and Distributor Defendants now argue that Plaintiff:

   (1) lacks standing because it lacks injuries to business or property; (2) cannot establish

   the RICO enterprises; (3) has not adequately alleged racketeering activities; and

   (4) cannot bring RICO claims because they are precluded by the Food, Drug, and

   Cosmetic Act (“FDCA”). Despite some (minor) new twists, these old argument remain

   unpersuasive.64




   61
     For purposes of this section only, references to Manufacturer Defendants and Distributor Defendants
   refer to the Manufacturer and Distributor Defendants, including those Manufacturers who manufactured
   generic opioids (also referred to as Generic Manufacturers), named as defendants in the RICO claims in the
   FCA, Claims for Relief 1-2.
   62
      The Manufacturer Defendants’ attempt to argue dismissal by chart is generally a disfavored tactic in
   federal court. See, e.g., In re Chrysler-Dodge-Jeep Ecodiesel Marketing, Sales Practices, and Products
   Liability Litigation, 295 F. Supp. 3d 927, 1015 (N.D. Cal. 2018) (“[T]he Court takes note that Defendants
   have provided a joint appendix . . . and . . . rejects Defendants’ attempt to make argument via the joint
   appendix. This Court, like the court in Counts [v. General Motors, LLC, 237 F. Supp. 3d 572 (E.D. Mich.
   2017)], deems those arguments waived.”); see also, Counts, 237 F. Supp. 3d at 593-94 (rejecting “attempt[]
   to ‘raise’ certain state-specific arguments by referencing appendices attached to their briefing” and pointing
   out that the “scattershot effort to raise arguments and defenses by simply citing to dozens, if not hundreds,
   of state court cases will not be addressed,” particularly as the court permitted expanded briefing and a court
   is not “responsible for combing through appendices in an attempt to sua sponte raise and resolve legal
   arguments which the parties have not briefed”).
   63
     Much of the Manufacturer and Distributor Defendants’ arguments re-argue aspects of their earlier briefs
   and both defendant groups incorporate their arguments from the earlier Summit County briefing by
   reference. Plaintiff similarly incorporates all arguments related to the RICO claims at issue in Summit
   County and incorporate, by reference, the sections of the Summit Opposition filed therein, including but not
   limed to, Sections I.B., I.C.2., and II.B.1-2.
   64
     Defendants also argue that Plaintiff has not pleaded its RICO claim with sufficient particularity and fails
   to allege proximate cause. Those arguments are addressed above, See supra Sections II.C-II.D.



                                                       116
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 141 of 160. PageID #: 24657




          Plaintiff has pleaded strong cognizable RICO claims based on its own injuries that

   it sustained as a commercial participant and to its revenue generating functions.

   Plaintiff’s injuries are premised on a direct causal relationship to the RICO Defendants’

   racketeering activities. Moreover, Plaintiff has pleaded the formation of the Opioid

   Marketing and Supply Chain Enterprises, as well as each RICO Defendant’s control of

   and participation in either enterprise. Plaintiff pleaded its RICO claims with the

   necessary particularity, and established a valid basis for holding the RICO Defendants’

   liable for their respective conduct of and participation in the Opioid Marketing and/or

   Supply Chain Enterprises. And, finally, Plaintiff’s RICO Marketing claims are not

   precluded by the FDCA.

          A.      RICO Provides the Appropriate Civil Remedy Under the
                  Circumstances of this Case.

          Defendants argue, as they did in their Summit County motions, that Plaintiff’s

   claims are not properly cognizable under RICO. These arguments rest on an

   unreasonably restrictive reading of RICO that contradicts decades of Supreme Court

   authority and instruction. As argued more fully in the Summit Opposition:

          RICO is to be read broadly. This is the lesson not only of Congress’ self-
          consciously expansive language and overall approach, . . . but also of its
          express admonition that RICO is to “be liberally construed to effectuate its
          remedial purposes,” Pub.L. 91-452, § 904(a), 84 Stat. 947. The statute’s
          “remedial purposes” are nowhere more evident than in the provision of a
          private action for those injured by racketeering activity.

   Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497-98 (1985) (quoting United States v.

   Turkette, 452 U.S. 576, 586-587 (1981) and Organized Crime Control Act of 1970, Pub.

   L. No. 91-452, § 904(a), 84 Stat. 922, 947).

          Congress chose “self-consciously expansive language” for RICO, broadly defined

   the predicate racketeering acts, and mandated a liberal construction. Jackson v. Sedgwick


                                               117
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 142 of 160. PageID #: 24658




   Claims Mgmt. Servs., Inc., 731 F.3d 556, 563 (6th Cir. 2013) (quoting Sedima, 473 U.S.

   at 498). “[T]he fact that RICO has been applied in situations not expressly anticipated by

   Congress does not demonstrate ambiguity. It demonstrates breadth.” Id. (quoting Sedima,

   473 U.S. at 499 (quoting Haroco, Inc. v. Am. Nat’l Bank & Trust Co. of Chi., 747 F.2d

   384, 398 (7th Circ. 1984))). The Supreme Court has consistently applied Civil RICO to

   new scenarios and a broad array of enterprises, recognizing that “respected” businesses

   can nonetheless combine and act to violate RICO. In Sedima, the Court stated that

   “Congress wanted to reach both ‘legitimate’ and ‘illegitimate’ enterprises,” because

   “[t]he former enjoy neither an inherent incapacity for criminal activity nor immunity

   from its consequences.” Sedima, 473 U.S. at 499.

          This principle reaches its zenith with respect to RICO’s private right of action,

   which is intentionally broad and provides flexible concepts of causation. See, e.g., Bridge

   v. Phoenix Bond & Indem. Co., 553 U.S. 639, 652, 654 (2008). RICO has been

   employed to hold corporations accountable when they participate in vast illegal

   enterprises that inflict unprecedented—and disastrous—consequences on society. See

   United States v. Philip Morris USA, Inc., 449 F. Supp. 2d 1 (D.D.C. 2006), aff’d in part

   and vacated in part, 566 F.3d 1095 (D.C. Cir. 2009). It is, therefore, unsurprising that

   RICO has been employed to hold pharmaceutical manufacturers liable for using a web of

   entities to market a dangerous prescription drug for off-label use, deceiving doctors into

   prescribing it widely and causing insurers to pay for off-label prescriptions. See In re

   Neurontin Mktg. & Sales Practices Litig., 712 F.3d 21 (1st Cir. 2013). In Neurontin, the

   First Circuit upheld a RICO award of $140 million, finding that the defendants’




                                               118
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 143 of 160. PageID #: 24659




   fraudulent marketing enterprise caused excessive prescriptions, damaging the insurer

   plaintiff. Id. at 33-50.

           Plaintiff’s RICO claims are equally appropriate and necessary in this litigation.

   The Manufacturer and Distributor Defendants are businesses engaged in sophisticated,

   complex, and decades-long fraudulent schemes for economic gain designed to create a

   captive market of addicted individuals in order to unlawfully profit from opioids sales,

   and then open the distribution flood gates and knowingly profit from the diversion of

   suspicious orders. They knowingly externalized foreseeable and inevitable economic

   losses from this conduct. Defendants created and profited from a mess they knew and

   intended that Plaintiff and other public entities would be left to clean up.

           The widespread scope and pervasiveness of the RICO Defendants’ conduct

   cannot be overstated. And the injuries sustained by Plaintiff as a sovereign nation are

   similarly pervasive and widespread. Here, the Opioid Marketing Enterprise—which

   relied on front groups and key opinion leaders to spread pseudo-science that fostered

   opioid addiction—rivals the tobacco defendants’ enterprise consisting of “formal and

   informal entities, many with overlapping participants and purposes” in “the largest piece

   of civil litigation ever brought.” Philip Morris, 449 F. Supp. 2d at 34, 870. Plaintiff’s

   claim that the Manufacturers created a fraudulent enterprise to get thousands of unwitting

   physicians to foster widespread dependence on prescription pharmaceuticals is even

   stronger than the Neurontin plaintiff’s RICO claims, which were proved by statistical

   evidence at trial and upheld by the First Circuit on appeal. In the wake of the widespread

   dependence created by the RICO Marketing Defendants, the RICO Supply Chain

   Defendants formed the Opioid Supply Chain Enterprise whose members systematically




                                                119
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 144 of 160. PageID #: 24660




   concealed, and refused to report, suspicious orders of prescription opioids so that the

   flood-gates of unlawful opioids would remain wide open, and annual quotas would

   increase. Plaintiff’s claims are consistent with the purpose and spirit of RICO, and

   specifically the economic losses civil RICO compensates, punishes and deters. In this

   equally important case, the RICO claims should proceed.

           B.       Plaintiff’s Injuries Establish RICO Standing.

           Both the Manufacturer and Distributor Defendants attempt to dismiss the entirety

   of Plaintiff’s RICO Marketing and Supply Chain claims by arguing that Plaintiff has not

   sufficiently alleged an injury to its business or property in order to establish standing as a

   person. Because the arguments asserted by the Manufacturer and Distributor Defendants

   largely duplicate their arguments from the Summit Motions to Dismiss,65 those arguments

   are already well-briefed as they relate to the categories of damages that Plaintiff seeks.

   To the extent that the Manufacturer and Distributor Defendants assert new arguments, or

   new authority in support of old positions, those arguments lack merit as more fully

   explained below.

           First, contrary to the Distributors’ position, Plaintiff may sue under RICO as a

   sovereign and as a “person.” The term “person,” within the RICO context is broad,

   encompassing “any individual or entity capable of holding a legal or beneficial interest in

   property.” 18 U.S.C. § 1961(3). As argued in Summit, cities, counties, states, and

   governmental entities – like Plaintiff – have a legal and beneficial interest in multiple

   kinds of property that fall within the definition of commercial interests. Wellborn v. Bank




   65
     Plaintiff incorporates and adopts the arguments regarding standing from the Summit Opposition at
   Section I.B.2.a.



                                                     120
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 145 of 160. PageID #: 24661




   of N.Y. Mellon Corp., 557 F. App’x 383, 387 (5th Cir. 2014) (recognizing that a

   governmental entity may sue under RICO for injuries to commercial activity which were

   not satisfied when injury was to recording system that was “not created to serve a

   “revenue-generating function”); City of New York v. Smokes-Sprites.com, Inc., 541 F.3d

   425, 445 (2d Cir. 2008) (expressly rejecting dicta from Town of W. Hartford v. Operation

   Rescue, 915 F.2d 92, 103-04 (2d Cir. 1990), and holding that “lost taxes can constitute

   injury to ‘business or property’ for purposes of RICO . . . notwithstanding that [the

   City’s] injury did not arise from its participation in a commercial transaction ”), rev’d on

   other grounds, Hemi Group, LLC v. City of N.Y., 559 U.S. 1 (2010); Ill. Dep’t of Revenue

   v. Phillips, 771 F.2d 312, 314-16 (7th Cir. 1986). The Distributors have provided this

   Court with no authority for the proposition that the Plaintiff does not qualify as a person

   because it is a sovereign other than irrelevant cases analyzing FCA and § 1983 claims

   that have no application in the RICO context.66 Furthermore, as discussed below,

   multiple courts have recognized that governmental entities are persons within the RICO

   context and upheld claims by those governmental entities for the kinds of damages that

   Plaintiff seeks. For their part, the Manufacturers cite multiple cases for the general

   proposition that Plaintiff cannot recover as a sovereign nation for generalized harm to its

   economy. Mfr. Mem. at 25-26. However, these cases are inapplicable because Plaintiff

   does not seek recovery for generalized harm to the economy or their ability to carry out




   66
     Vermont Agency of Nat. Res. v. U.S. ex. rel. Stevens, 529 U.S. 765, 766 (2000) (analyzing whether a state
   agency qualified as a person subject to qui tam liability under the FCA); Inyo Cty., Cal. v Paiute Sho-Shone
   Indians of the Bishop Cmty. of the Bishop Colony, 538 U.S. 701, 711-12 (2003) (determining that the Sho-
   Shone Tribe were not “citizen[s]” or “other person[s]” who could utilize § 1983 claims as a means for
   withholding evidence relevant to a criminal investigation).



                                                      121
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 146 of 160. PageID #: 24662




   governmental functions. The cases cited by the Manufacturer and Distributor Defendants

   are inapposite.67

              Second, the RICO Defendants’ argument ignores recent and relevant decisions,

   argued in Summit County, including Wellborn, 557 F. App’x at 387 (holding that plaintiff

   could not sue because the injury did not affect an interest that was “created to serve a

   revenue-generating function for the states.”); City of New York, 541 F.3d at 445 (allowing

   city to sue under RICO for lost tax revenue); Ill. Dep’t of Revenue, 771 F.2d at 314-16

   (rejecting the notion that a government unit suing under RICO is limited to competitive

   or commercial injuries). Here, Plaintiff pleads the kinds of injuries to revenue-generating

   functions that were recognized in Wellborn.

              Third, Plaintiff’s lost tax revenue satisfies the requirement of an injury to business

   or property, and the Manufacturer and Distributor Defendants provide the Court with no

   cases holding otherwise. See City of New York, 541 F.3d at 445. The Manufacturers rely

   on Town of W. Hartford, despite the fact that it was “expressly rejected [as] dicta” by the

   Second Circuit,68 and Canyon County,69 which relies on Town of W. Hartford. The

   remainder of the Manufacturers’ cases are no more persuasive. In Arias v. DynCorp, 752


   67
      In Canyon Cty. v. Syngenta Seeds, Inc., the plaintiff alleged no concrete financial loss caused by the
   alleged scheme and was not suing to abate a public nuisance (a recognized exception to the application of
   the municipal recovery rule which plaintiff conceded applied). 519 F.3d 969 (9th Cir. 2008). In Cty. of
   Oakland v. City of Detroit, the Sixth Circuit upheld Oakland’s RICO claim against Detroit’s challenge even
   where Oakland had arguably passed on its damages to consumers and was purportedly without an injury.
   866 F.2d 839, 848-51 (6th Cir. 1989). The Court noted the importance of a “case by case” standing analysis
   “in deciding whether the law affords a remedy in specific circumstances,” and recognized not only that
   recovery “would, presumably, redound to the benefit of the counties’ residents” but also that the defendants
   had an alleged improper motive. Id at 850. Here, Plaintiff’s damages include direct injuries to Plaintiff’s
   revenue generating function resulting in unreplaced lost revenue and reduced tax income. FAC ¶¶ 852, 883.
   68
    City of New York, 541 F.3d at 445 (“We see no reason to import an additional standing requirement on
   municipalities for RICO claims, and thus expressly reject our dicta to the contrary in Town of West
   Hartford.”). The Second Circuit noted, in expressly rejecting Town of West Hartford, that the Canyon
   County decision relied on the dicta in Town of West Hartford. Id.
   69
        519 F.3d at 978-79.



                                                      122
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 147 of 160. PageID #: 24663




   F.3d 1011, 1015 (D.D.C. 2014), the plaintiff alleged that aerial spraying “caused health

   problems and [drove] large numbers of people away from the affected areas, which in

   turn forced the provinces to invest in additional schools, health centers, and other

   infrastructure along the border,” and “allegedly cost [the plaintiff] tax revenue.” But the

   plaintiff could not connect its alleged financial injuries and the defendants’ spraying. Id.

   (holding that the plaintiff “failed to show that these injuries were ‘fairly traceable’ to the

   defendants’ actions”). Here, unlike Arias, Plaintiff does more than merely allege that

   people left the area because of health problems. Rather, Plaintiff alleges that the opioid

   epidemic, created by the Manufacturer and Distributor Defendants, is killing citizens

   within Plaintiff’s jurisdiction, driving down the cost of property, and decreasing business

   investment. There is a direct causal link between the RICO Defendant’s actions and the

   injury to Plaintiff’s revenue generating function – taxation. And, unlike Cleveland v.

   U.S., 531 U.S. 12 (2016), the receipt of tax revenue is not something that “may” occur, it

   is a concrete reality that “must” occur. Therefore, neither Arias nor Cleveland require

   dismissal of Plaintiff’s claims.

          Finally, Plaintiff pleads categories of damages that are direct and not derivative of

   personal injuries. Plaintiff alleges that it was directly injured in its business and property

   by the opioid epidemic that was created by the Manufacturer Defendants’ fraudulent

   marketing, and the Manufacturer and Distributor Defendants’ failure to identify and

   report suspicious orders, all of which fostered and sustained the opioid epidemic—i.e.,

   the exact harm that the CSA was designed to prevent. FAC ¶¶ 850-03, 878-86, 880-87;

   see also H.R. Rep. 91-1444 (1970), as reprinted in U.S.C.C.A.N. 4566, 4571-72 (“[A]

   closed system should significantly reduce the widespread diversion of these drugs out of




                                                123
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 148 of 160. PageID #: 24664




   legitimate channels into the illicit market, while at the same time providing the legitimate

   drug industry with a unified approach to narcotics and dangerous drug control.”); United

   States v. Moore, 423 U.S. 122, 135 (1975) (“Congress was particularly concerned with

   the diversion of drugs from legitimate channels. It was aware that registrants, who have

   the greatest access to controlled substances and therefore the greatest opportunity for

   diversion, were responsible for a large part of the illegal drug traffic.”) (citations

   omitted).

             On this point, again, the Manufacturer and Distributor Defendants copy their prior

   argument. But Plaintiff’s damages arise directly, foreseeably, and traceably from

   Defendants’ misrepresentations and omissions. FAC ¶¶ 852-53, 883, subparagraphs a, h-

   i, k-m.

             The Distributor Defendants’ reliance on the decisions in Hawaii Health &

   Welfare Tr. Fund for Operating Engineers v. Philip Morris, 52 F. Supp. 2d 1196 (D.

   Haw. 1999) and Gucwa v. Lawley, 731 F. App’x 408 (6th Cir 2018), are similarly

   unavailing. In Hawaii Health the plaintiff sought to recover for the increased cost of

   medical care and the court dismissed that claim, finding that it was too remote and

   founded, in all material respects, on personal injury to smokers. 52 F. Supp. 2d at 1200.

   And, in Gucwa, the court merely followed the logic of Jackson to dismiss RICO claims

   for lost workers’ compensation. Gucwa, 731 F. App’x at 412 (citing Jackson, 731 F.3d at

   566). Neither case warrants dismissal because, here, the Tribe pleaded direct injuries to

   its revenue generating function that are not derivative of personal injuries.




                                                 124
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 149 of 160. PageID #: 24665




          C.      Plaintiff Pleads a Cognizable RICO Claim Pertaining to the Opioid
                  Marketing Enterprise.

          The Manufacturers raise no arguments for dismissal specific to Plaintiff’s RICO

   claim pertaining from the Opioid Marketing Enterprise. Instead, they rely on their

   generalized arguments about proximate cause and pleading with particularity. To the

   extent that the Manufacturers also rely on their arguments from Summit County, Plaintiff

   incorporates Section I.B.3. of the Summit Opp. Mem. by reference.

          D.      Plaintiff Pleads a Cognizable RICO Claim Pertaining to the Opioid
                  Supply Chain Enterprise.

                  1.      The Distributor Defendants Controlled and Participated in the
                          Opioid Supply Chain Enterprise.

          The Distributor Defendants argue that Plaintiff’s RICO Supply Chain claim must

   be dismissed because Plaintiff has not pleaded the existence of an enterprise or the RICO

   Distributor’ participation therein. Distributors raise four arguments, all themes on prior

   arguments that were addressed at length in the Summit County Omnibus Opposition.

   Each of these arguments fails as a matter of law.

          First, the RICO Distributor Defendants argue that allegations of parallel profit-

   seeking activities are insufficient to establish a RICO enterprise. However, as argued in

   the Summit Opposition, the statement that parallel profit-seeking activities do not create a

   RICO enterprise is not true. Here, Plaintiff provided the context within which parallel

   activity may become evidence of a RICO enterprise. Robins v. Global Fitness Holdings,

   LLC, 838 F. Supp. 2d 631, 652 (N.D. Ohio 2012). And, Plaintiff alleges that the

   Distributors, at a minimum, refrained from competitive activities like reporting their

   competitors’ suspicious orders and, incredibly, struck the exact same balance of

   identifying and reporting suspicious orders, including the decision to completely ignore



                                               125
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 150 of 160. PageID #: 24666




   their obligations. See FAC ¶¶ 799-803. These practices are anything but routine business

   relationships. Also ignored are the allegations that “suggest[] the agreement necessary” to

   demonstrate that the Distributor Defendants formed an association in fact enterprise and,

   at a minimum, participated in the conduct of that enterprise. See FAC ¶¶ 497-585, 799-

   803. These allegations demonstrate that the Distributors closely interacted in

   organizations that encouraged personal relationships, and used those organizations to

   form agreements about subjects like the duty to identify and report suspicious orders.

   FAC ¶¶ 530-32. Moreover, these allegations demonstrate that the organizations in which

   the Manufacturers and Distributors participated were actually used to form agreements on

   coordinated approaches to the issues in this case. Id.

          Distributors also cite inapposite, out-of-Circuit cases that allegedly stand for the

   proposition that RICO enterprises are not formed by profit-seeking motives or

   participation in trade associations. For example, in American Dental Ass’n v. Cigna

   Corp, the court clarified that “[it was] not convinced that Plaintiffs actually allege parallel

   conduct.” 605 F.3d 1283, 1294 n.4 (11th Cir. 2010). Unlike American Dental, Plaintiff

   has alleged substantially identical conduct – the failure to identify, report and halt

   suspicious orders of controlled substances with examples of that conduct, ways in which

   participation in the PCF and HDA encouraged the formation of relationships among the

   members of the Opioid Supply Chain Enterprise and the ways in which the RICO Supply

   Defendants utilized their membership in those associations to further the interest of the

   Opioid Supply Chain Enterprise. See FAC ¶¶ 497-585, 530-32, 799-803.

          Plaintiff alleges a common illicit purpose shared by all RICO Supply Chain

   Defendants that goes beyond merely making more money. Ray v. Spirit Airlines, Inc.,




                                                126
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 151 of 160. PageID #: 24667




   836 F.3d 1340, 1352 (11th Cir. 2016) (holding that plaintiff did not allege facts to support

   a plausible inference that technology vendors participated or were involved in decisions

   about how to portray Spirit Airlines’ fees). Furthermore, Bible v. United Student Aid

   Funds, Inc., 799 F.3d 633, 656 (7th Cir. 2015), does not support Distributor Defendants’

   argument because there, like here, the plaintiff pleaded more than a run-of-the-mill

   commercial relationship. Here, Plaintiff alleges that each member of the Opioids Supply

   Chain Enterprise participated in the conduct of the enterprise by failing to identify, report

   and halt suspicious orders of controlled substances in order to increase and maintain

   artificially high quotas and thereby increase profits from the sale of a higher volume of

   opioids. FAC ¶¶ 474-585, 799-827. Plaintiff further alleges how this was more than

   merely parallel conduct with each RICO Supply Chain Defendant acting in its own self-

   interest. Id. Thus, as in Bible, the Plaintiff has stated a claim under RICO.

          Second, the Distributor Defendants argue that Plaintiff fails to plead that they

   conducted or participated in the conduct of the Opioid Supply Chain Enterprise and failed

   to demonstrate that any of the Distributors made decisions on behalf of the enterprise.

   Plaintiff incorporates the law cited in the Summit Opp. Mem. at 55-59.

          Here, Plaintiff alleges facts showing that each of the Distributor Defendants

   participated in making decisions about the formation and conduct of the Opioid Supply

   Chain Enterprise. FAC ¶¶ 513-35, 564-85. And the Distributor Defendants participated

   by carrying out the decisions of the Opioid Supply Chain Enterprise, including: refusing

   to report and reject suspicious orders of controlled substances (including their

   competitors’ suspicious orders); publicly misrepresenting their compliance with the duty

   to identify and report suspicious orders; and applying for ever increasing quotas




                                               127
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 152 of 160. PageID #: 24668




   governing prescription opioids. FAC ¶¶ 476, 498-504, 513-38, 564-85, 799-803, 805,

   806-07, 809. Unquestionably, the Distributor Defendants were aware of the Opioid

   Supply Chain Enterprise’s common purpose, made decisions that conducted the

   enterprise, and participated in the conduct of the enterprise by implementing them.

                  2.      Felony Violation of § 843(a)(4)(A) of the CSA is an Actionable
                          Racketeering Activity Pursuant to RICO § 1961(1)(D).

          Manufacturer and Distributor Defendants named in Plaintiff’s Second Claim for

   Relief both argue, in identical fashion to their Summit County motions to dismiss and

   reply briefs, that violation of 21 U.S.C. § 843(a)(4)(A) is not a racketeering activity

   (either by incorporating their Summit County arguments or by re-arguing them). In

   addition to their older arguments, the Manufacturers raise the new argument that a felony

   violation of § 843(a)(4)(A) sounds in fraud and must, therefore, be pleaded with

   particularity. The Manufacturer and Distributor Defendants’ arguments are no more

   persuasive now than they were before. As discussed below, the new argument regarding

   particularity lacks merit.

   1.     In Summit County, the Manufacturers admitted that “certain conduct involving the

   manufacture and distribution of controlled substances may constitute a predicate act if it

   is “punishable by imprisonment for more than one year,” but argued that the conduct

   alleged in Plaintiff’s Complaint is not racketeering activity because failing to identify,

   report and halt suspicious orders is, at most, a violation of CSA § 842(a)(5) rather than a

   violation of CSA § 843(a)(4)(A). Here, as in Summit County, the argument is

   unpersuasive because Plaintiff pleaded a felony violation of the CSA that is punishable

   for more than one year, i.e. a violation of CSA § 843(a)(4)(A). See Summit Opp. Mem. at

   59-64; FAC ¶¶ 864, 866.



                                                128
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 153 of 160. PageID #: 24669




   2.     The Manufacturers continue to argue that they do not have a duty to report

   downstream orders. However, the Manufacturers’ argument, identical to that asserted in

   Summit County, ignores the fact that all registrants have a duty to prevent diversion by

   identifying and reporting suspicious orders. 21 U.S.C. § 823(a); 21 C.F.R. § 1301.74; see

   also Summit Opp. Mem. at 60-61. Here, again, the Manufacturers are attempting to limit

   their liability by reading words into the statute and regulations at issue. And, although

   they argued that Plaintiff failed to meaningfully respond to this argument in Summit

   County, there can be no more argument than the fact that the Manufacturers wholly

   fabricated their theory from language that is not included in the statute and regulations.

   Plaintiff therefore incorporates the arguments from the Summit Opposition. See Summit

   Opp. Mem. at 60-61. Without any new support for this argument, the Manufacturers’

   position is similarly unpersuasive when applied to this Plaintiff.

   3.     The Manufacturers continue to argue that they had no duty to stop shipment of

   suspicious orders. And, while the Manufacturers argued in their Summit County reply

   that Plaintiffs had not supplied any authority for a requirement to stop shipment, the

   authority cited in the Summit Opposition, and discussed in detail in Masters Pharm., Inc.

   v. Drug Enf’t Admin., 861 F.3d 206, 212-13 (D.C. Cir. 2017), begs a contrary conclusion.

   See Summit Opp. Mem. at pp. 61-62; see also Masters Pharm., 861 F.3d at 212-13 (citing

   21 C.F.R. § 1301.74; Southwood Pharm., Inc. Revocation of Registration, 72 Fed. Reg.

   36,487, 36,501 (Drug Enf’t Admin. July 3, 2007)). Here, the Manufacturers argue that

   Masters Pharmaceutical is inapplicable because it dealt only with distributors and that

   the DEA’s interpretation of § 1301.74 is not entitled to Chevron deference because the

   “stop shipment” requirement was allegedly first introduced in the “Dear Registrant”




                                               129
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 154 of 160. PageID #: 24670




   letters issued by the DEA beginning in 2006. Both conclusions lack merit. Although

   Masters Pharmaceutical dealt with a registrant that happened to be a distributor, the

   regulations cited by the Masters Pharmaceutical court apply with equal force to

   manufacturers and distributors because they apply with equal force to all “registrants,”

   including manufacturer registrants. The Masters Pharmaceutical court recognized that

   the “Shipping Requirement” “mandates that pharmaceutical companies exercise ‘due

   diligence’ before shipping any suspicious order. 72 Fed. Reg. at 36,500. DEA first

   articulated that requirement in Southwood, 72 Fed. Reg. at 36,501.” Masters Pharm., 861

   F.3d at 221-22. Here, contrary to the Manufacturers’ argument, the “Shipping

   Requirement” applies to all pharmaceutical companies and has been firmly entrenched as

   a part of the DEA’s interpretation of the CSA and regulations since at least Southwood.

   Moreover, decisions like Southwood, the action against Mallinckrodt, and the “Dear

   Registrant” letters are all DEA interpretations that are entitled to Chevron deference.

   Summit Opp. Mem. at 61-62.

   4.     The Manufacturer and Distributor Defendants argue that a felony violation of

   CSA § 843(a)(4)(A) does not satisfy the definition of racketeering activity in RICO

   § 1961(1)(D) because a violation of that provision is nothing more than a record-keeping

   violation. However, as explained at length in the Summit County Opposition, none of the

   RICO Defendants presented this Court with any authority for their interpretation of this

   newfound category of crimes (i.e. record-keeping felonies versus drug felonies), and their

   position is contradicted by the history of the CSA which specifically documents that the

   record keeping and reporting requirements in the CSA were designed to prevent the




                                               130
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 155 of 160. PageID #: 24671




   illegal diversion of controlled substances. Plaintiff incorporates the law and argument

   from the Summit Opposition. See Summit Opp. Mem. at 62-64.

   5.       The Distributors have previously argued that there is no private right of

   enforcement of the CSA. However, the Distributors have provided no new authority for

   that proposition.

   6.       The Manufacturers raise a new argument by attempting to place a felony violation

   of the § 843 of the CSA under the rubric of fraud and argue that felony violation of the

   CSA must be pleaded with particularity. Manufacturers have provided the Court with no

   authority for the proposition that a violation of § 843(a)(4)(A) sounds in fraud or that it

   needs to be pleaded with particularity, and the sufficiency of the pleadings under Rule

   9(b) is independently well-established here. See supra Section II.D). Without more, this

   argument fails as a matter of law.

                     3.       Distributor Defendants’ Role in Setting Opioid Quotas Is a
                              Proper Component of Plaintiff’s RICO Claim.

            Distributor Defendants argue that their role in setting opioid quotas cannot

   provide a basis for liability under RICO. The paragraphs cited by the Distributor

   Defendants discuss the ways in which RICO Manufacturer and Distributor Defendants

   surreptitiously attempted to avoid DEA enforcement, undermine the CSA, and

   misrepresent, through their Front Groups and trade associations, that they were

   complying with their obligations under the CSA. This is not protected lobbying

   activity.70 And, the RICO Distributor Defendants’ conclusion that failure to report


   70
     Moreover, the first two points raised in page 10 of the Distributor Defendants’ brief are based on a
   misunderstanding of Plaintiff’s allegations. The omissions and misrepresentations that form the basis of
   the mail and wire fraud claims are the failure to identify and report suspicious orders. Increased quotas and
   lobbying efforts are also actions that were taken as part of the overall scheme, but they are not the
   omissions and misrepresentations themselves.



                                                       131
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 156 of 160. PageID #: 24672




   suspicious orders cannot form the basis of RICO liability is unsupported by any relevant

   cases. To the contrary, Ayres v. General Motors Corp., 234 F.3d 514, 521-25 (11th Cir.

   2000), relied on by the RICO Distributor Defendants, supports a finding of mail and wire

   fraud for failure to report suspicious orders. As a preliminary matter, the Eleventh

   Circuit began its analysis in Ayres begins by acknowledging that “[a]mple case law

   supports [the] legal theory” that “nondisclosure of material information can constitute a

   violation of the mail and wire fraud statutes where a defendant had a duty to disclose.”

   Id. at 521. Despite this authority, the Ayres court held that no mail or wire fraud occurred

   because the National Traffic and Motor Vehicle Safety Act, 49 U.S.C. § 30118 et seq.

   [hereinafter “Safety Act”], which was at issue in Ayers, maintains “its own extensive

   array of administrative remedies for violation of its notification obligations.” 234 F.3d at

   522. Unlike the CSA, the Safety Act allowed “any interested person” to “file a petition

   with the Secretary of Transportation requesting the Secretary to begin a proceeding to

   decide whether to issue an order requiring a manufacturer to give notice” under the

   Safety Act. Id. “Furthermore, the Attorney General is authorized to bring a civil action to

   enforce the Safety Act and the notification obligations.” Id. “A person found in violation

   of [the Safety Act]’s notification requirement in this civil action is liable to the United

   States Government for a civil penalty of not more than $1000 for each violation and not

   more than $800,000 for a related series of violations.” Id. “Lastly, the Safety Act does not

   make violation of the notification requirements criminal.” Id. These many differences

   distinguishing the Safety Act from the CSA, coupled with Ayres’ acknowledgment that

   ample case law supports nondisclosure as a basis for mail and wire fraud, compel the




                                                132
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 157 of 160. PageID #: 24673




   conclusion that Ayres, to the degree it is apposite here, supports the Tribe’s RICO

   pleadings.

   V.      CONCLUSION
           The Blackfeet Tribe has adequately stated claims upon which relief can be

   granted. Defendants’ dismissal demands misstate the operate substantive laws and

   fundamentally mistake the purpose of Rule 12(b)(6) by trying to shoehorn fact-based

   arguments into motions to dismiss on the pleadings. Defendants’ motions to dismiss the

   Tribe’s case, without consideration of the evidence of the calamity that Defendants’

   misconduct has caused, are unfounded. The Tribe prays that Defendants’ motions be

   denied in their entirety.




                                              133
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 158 of 160. PageID #: 24674




   Dated: September 29, 2018                        Respectfully submitted:

                                                    BLACKFEET TRIBE OF THE BLACKFEET
                                                    INDIAN RESERVATION, Plaintiff

                                               By: /s/ Archie C. Lamb, Jr.
   Russell W. Budd                                 Archie C. Lamb, Jr.
   J. Burton LeBlanc, IV                           Peter J. Mougey
   Laura J. Baughman                               Troy Rafferty
   S. Ann Saucer                                   Page A. Poerschke
   Christine C. Mansour                            Laura S. Dunning
   BARON & BUDD, P.C.                              Neil E. “Ned” McWilliams
   3102 Oak Lawn Avenue, Suite 1100                Jeffrey Gaddy
   Dallas, TX 752 9                                LEVIN, PAPANTONIO, THOMAS,
   Tel.: 214-521-3605                                  MITCHELL, RAFFERTY &
   Fax: 214-520-1181                                   PROCTOR, P.A.
   rbudd@baronbudd.com                             316 S. Baylen Street, Suite 600
   bleblanc@baronbudd.com                          Pensacola, FL 32502-5996
   lbaughman@baronbudd.com                         Tel.: 850-435-7068
   asaucer@baronbudd.com                           Fax: 850-436-6068
   cmansour@baronbudd.com                          alamb@levinlaw.com
                                                   pmougey@levinlaw.com
   Roland K. Tellis                                trafferty@levinlaw.com
   Mark P. Pifko                                   ppoerschke@levinlaw.com
   BARON & BUDD, P.C.                              ldunning@levinlaw.com
   15910 Ventura Boulevard, Suite 1600             nmcwilliams@levinlaw.com
   Los Angeles, CA 91436                           jgaddy@levinlaw.com
   Tel.: 818-839-2333
   Fax: 818-986-9698
   rtellis@baronbudd.com
   mpifko@baronbudd.com

   Paul T. Farrell, Jr.                             Michael J. Fuller, Jr. (Ohio Bar No. 0090250)
   Bert Ketchum                                     Amy J. Quezon (Ohio Bar No. 0091798)
   GREENE, KETCHUM, FARRELL,                        McHUGH FULLER LAW GROUP, PLLC
       BAILEY & TWEEL, LLP                          97 Elias Whiddon Rd.
   419 - 11th Street (25701)/ P.O. Box 2389         Hattiesburg, MS 39402
   Huntington, West Virginia 25724-2389             Tel.: 601-261-2220
   Tel.: 800-479-0053 or 304-525-9115               Fax: 601-261-2481
   Fax: 304-529-3284                                mike@mchughfuller.com
   paul@greeneketchum.com                           amy@mchughfuller.com
   bert@greeneketchum.com




                                              134
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 159 of 160. PageID #: 24675




   Anthony J. Majestro                      James C. Peterson
   POWELL & MAJESTRO, PLLC                  HILL, PETERSON, CARPER, BEE&
   405 Capitol Street, Suite P-1200         DEITZLER, PLLC
   Charleston, WV 25301                     NorthGate Business Park
   Tel.: 304-346-2889                       500 Tracy Way
   Fax: 304-346-2895                        Charleston, WV 25311
   amajestro@powellmajestro.com             304-345-5667
                                            304-345-1519 fax
                                            jcpeterson@hpcdb.com

   Steven J. Skikos                         Tara D. Sutton
   Jane E. Joseph, Esq.                     ROBINS KAPLAN LLP
   Autumn D. Monteau                        800 LaSalle Avenue
   SKIKOS, CRAWFORD, SKIKOS &               Suite 2800
   JOSEPH LLP                               Minneapolis, MN 55402
   One Sansome Street, Suite 2830           T: 612 349 8500
   San Francisco, CA 94104                  F: 612 339 4181
   Telephone: (415) 546-7300                TSutton@RobinsKaplan.com
   Facsimile: (415) 546-7301
   sskikos@skikos.com
   jjoseph@skikos.com
   amonteau@skikos.com

   Timothy Q. Purdon                        Brendan V. Johnson
   ROBINS KAPLAN LLP                        ROBINS KAPLAN LLP
   1207 West Divide Avenue                  101 S. Main Avenue
   Suite 200                                Suite 100
   Bismarck, ND 58503                       Sioux Falls, SD 57104
   T: (701) 255-3000                        T: (605) 335-1300
   F: (612) 339-4181                        F: (612) 339-4181
   TPurdon@RobinsKaplan.com                 BJohnson@RobinsKaplan.com




                                      135
Case: 1:17-md-02804-DAP Doc #: 1017 Filed: 10/02/18 160 of 160. PageID #: 24676




                              CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 29th day of September 2018, I electronically

   filed the foregoing with the Clerk of Court by using the CM/ECF System. The foregoing

   will be served on counsel of record via the CM/ECF system.

                                              /s/ Archie C. Lamb, Jr.
                                              Archie C. Lamb, Jr.




                                            136
